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                            EXHIBIT B
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1                   UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF KENTUCKY
2                  NORTHERN DIVISION AT COVINGTON
3                         REDACTED VERSION
4     -------------------------------X
5     NICHOLAS SANDMANN, by and       :
      Through his parents and natural
6     Guardians, TED SANDMANN and     :
      JULIE SANDMANN,
7                     Plaintiff,      : Case No.
                V                       19-CV-00056-WOB-CJS
8                                     :
      NBCUNIVERSAL MEDIA, LLC,
9                     Defendant.      :
10    -------------------------------X
11    NICHOLAS SANDMANN, by and       :
      Through his parents and natural
12    Guardians, TED SANDMANN and     :
      JULIE SANDMANN,
13                    Plaintiff,      : Case No.
                V                       20-CV-00023-WOB-CJS
14                                    :
      THE NEW YORK TIMES COMPANY
15    D/B/A THE NEW YORK TIMES,       :
                      Defendant.
16
      -------------------------------X
17
      NICHOLAS SANDMANN, by and       :
18    Through his parents and natural
      Guardians, TED SANDMANN and     :
19    JULIE SANDMANN,
                      Plaintiff,      : Case No.
20              V                       20-CV-00024-WOB-CJS
                                      :
21    CBS NEWS, INC., et al.,
                      Defendants.     :
22
      -------------------------------X
23    Job Nos.: 396015 and 396018
24    Pages 1 - 466
25    Reported by:    Dianna C. Kilgalen
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                         Transcript of Nicholas Sandmann
                        Conducted on 9/13/2021 & 9/14/2021               2

1     -------------------------------X
2     NICHOLAS SANDMANN, by and       :
      Through his parents and natural
3     Guardians, TED SANDMANN and     :
      JULIE SANDMANN,
4                     Plaintiff,      : Case No.
                V                       2:20-CV-00025-WOB-CJS
5                                     :
      ABC NEWS, INC., et al.,
6                     Defendants.     :
7     -------------------------------X
8     NICHOLAS SANDMANN, by and       :
      Through his parents and natural
9     Guardians, TED SANDMANN and     :
      JULIE SANDMANN,
10                    Plaintiff,      : Case No.
                V                       2:20-CV-00026-WOB-CJS
11                                    :
      GANNETT CO.,INC. AND GANNETT
12    SATELLITE INFORMATION NETWORK, :
      LLC,
13
                         Defendants.      :
14
      -------------------------------X
15
      NICHOLAS SANDMANN, by and       :
16    Through his parents and natural
      Guardians, TED SANDMANN and     :
17    JULIE SANDMANN,
                      Plaintiff       : Case No.
18              V                       2:20-CV-00027-WOB-CJS
                                      :
19    ROLLING STONE, LLC, et al.,
                      Defendants.     :
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                         Transcript of Nicholas Sandmann
                        Conducted on 9/13/2021 & 9/14/2021               3

1     Deposition of NICHOLAS SANDMANN
2            Conducted Virtually
3         Monday September 13, 2021
4                  9:16 a.m.
5                     and
6       Tuesday, September 14, 2021
7                  9:16 a.m.
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                         Transcript of Nicholas Sandmann
                        Conducted on 9/13/2021 & 9/14/2021               4

1                 Deposition of NICHOLAS SANDMANN,
2     conducted virtually.
3
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9                 Pursuant to Notice, before Dianna C.
10    Kilgalen, Notary Public for the State of
11    Maryland.
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                         Transcript of Nicholas Sandmann
                        Conducted on 9/13/2021 & 9/14/2021               5

1                     A P P E A R A N C E S
2     Monday, September 13, 2021:
3     ON BEHALF OF THE PLAINTIFF:
4                 TODD V. McMURTRY, ESQUIRE
5                 WILL HUBER, ESQUIRE
6                 HEMMER DEFRANK WESSELS, PLLA
7                 250 Grandview Drive, Suite 500
8                 Ft. Mitchell, Kentucky 41017
9                 859.344.1188
10    ON BEHALF OF THE DEFENDANTS ABC NEWS, INC., ABC
11    NEWS INTERACTIVE, INC. AND THE WALT DISNEY
12    COMPANY:
13               NATHAN SIEGEL, ESQUIRE
14               MEENAKSHI KRISHNAN, ESQUIRE
15               DAVIS WRIGHT TREMAINE, LLP
16               1301 K Street, Northwest, Suite 500
17               Washington, DC 20005
18               202.973.4499
19    ON BEHALF OF THE DEFENDANTS CBS NEWS, INC.,
20    VIACOMCBS, INC., AND CBS INTERACTIVE, INC.:
21                JESSICA LAURIN MEEK, ESQUIRE
22                DENTONS BINGHAM GREENBAUM, LLP
23                10 West Market Street, Suite 2700
24                Indianapolis, Indiana 46204
25                317.635.8900


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                         Transcript of Nicholas Sandmann
                        Conducted on 9/13/2021 & 9/14/2021               6

1           A P P E A R A N C E S       C O N T I N U E D
2     Monday, September 13, 2021:
3     ON BEHALF OF THE DEFENDANTS CBS NEWS, INC.,
4     VIACOMCBS, INC., AND CBS INTERACTIVE, INC.:
5                 NATALIE J. SPEARS, ESQUIRE
6                 DENTONS US, LLP
7                 233 South Wacker Drive
8                 Suite 5900
9                 Chicago, Illinois 60606
10                312.876.8000
11    ON BEHALF OF THE DEFENDANT ROLLING STONE, LLC AND
12    PENSKE MEDIA CORPORATION:
13                KEVIN T. SHOOK, ESQUIRE
14                FROST BROWN TODD, LLC
15                10 West Broad Street
16                Columbus, Ohio 43215
17                615.565.1222
18    ON BEHALF OF THE DEFENDANTS GANNETT CO., INC. AND
19    GANNETT SATELLITE INFORMATION NETWORK, LLC:
20                MICHAEL P. ABATE, ESQUIRE
21                KAPLAN JOHNSON ABATE & BIRD, LLP
22                710 West Main Street
23                4th Floor
24                Louisville, Kentucky 40202
25                502.540.8280


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                         Transcript of Nicholas Sandmann
                        Conducted on 9/13/2021 & 9/14/2021               7

1           A P P E A R A N C E S       C O N T I N U E D
2     Monday, September 13, 2021:
3     ON BEHALF OF THE DEFENDANTS GANNETT CO., INC. AND
4     GANNETT SATELLITE INFORMATION NETWORK, LLC:
5                 MICHAEL J. GRYGIEL, ESQUIRE
6                 GREENBERG TRAURIG, LLP
7                 54 State Street
8                 6th Floor
9                 Albany, New York 12207
10                518.689.1400
11    ON BEHALF OF THE DEFENDANTS NBCUNIVERSAL MEDIA,
12    LLC AND THE NEW YORK TIMES COMPANY D/B/A THE NEW
13    YORK TIMES:
14                DARREN W. FORD, ESQUIRE
15                GRAYDON HEAD & RITCHEY, LLP
16                2400 Chamber Center Drive, Suite 300
17                Ft. Mitchell, Kentucky 41017
18                859.578.3071
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                         Transcript of Nicholas Sandmann
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1     Also present:
2           John Parkman, Videographer
3           Ted Sandmann
4           Justine Beyda
5           Marie Jones
6           Matthew Schafer
7           Daniel Kummer
8           Austin Costello, Planet Depos AV Technician
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                            Transcript of Nicholas Sandmann
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1                         A P P E A R A N C E S
2       Tuesday, September 14, 2021:
3       ON BEHALF OF THE PLAINTIFF:
4                   TODD V. McMURTRY, ESQUIRE
5                   WILL HUBER, ESQUIRE
6                   HEMMER DEFRANK WESSELS, PLLA
7                   250 Grandview Drive, Suite 500
8                   Ft. Mitchell, Kentucky 41017
9                   859.344.1188
10      ON BEHALF OF THE DEFENDANTS ABC NEWS, INC., ABC
11      NEWS INTERACTIVE, INC. AND THE WALT DISNEY
12      COMPANY:
13                 NATHAN SIEGEL, ESQUIRE
14                 MEENAKSHI KRISHNAN, ESQUIRE
15                 DAVIS WRIGHT TREMAINE, LLP
16                 1301 K Street, Northwest, Suite 500
17                 Washington, DC 20005
18                 202.973.4499
19                   - and-
20                 ROBERT B. CRAIG, ESQUIRE
21                 TAFT STETTINIUS & HOLLISTER, LLP
22                 50 East River Center Boulevard
23                 Suite 850
24                 Covington, Kentucky 41011-1683
25                 859.547.4300


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                            Transcript of Nicholas Sandmann
                           Conducted on 9/13/2021 & 9/14/2021              10

1             A P P E A R A N C E S        C O N T I N U E D
2       Tuesday, September 14, 2021:
3       ON BEHALF OF THE DEFENDANTS CBS NEWS, INC.,
4       VIACOMCBS, INC., AND CBS INTERACTIVE, INC.:
5                   JESSICA LAURIN MEEK, ESQUIRE
6                   DENTONS BINGHAM GREENBAUM, LLP
7                   10 West Market Street, Suite 2700
8                   Indianapolis, Indiana 46204
9                   317.635.8900
10      ON BEHALF OF THE DEFENDANTS CBS NEWS, INC.,
11      VIACOMCBS, INC., AND CBS INTERACTIVE, INC.:
12                  NATALIE J. SPEARS, ESQUIRE
13                  DENTONS US, LLP
14                  233 South Wacker Drive
15                  Suite 5900
16                  Chicago, Illinois 60606
17                  312.876.8000
18      ON BEHALF OF THE DEFENDANT ROLLING STONE, LLC AND
19      PENSKE MEDIA CORPORATION:
20                  KEVIN T. SHOOK, ESQUIRE
21                  FROST BROWN TODD, LLC
22                  10 West Broad Street
23                  Columbus, Ohio 43215
24                  615.565.1222
25


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                            Transcript of Nicholas Sandmann
                           Conducted on 9/13/2021 & 9/14/2021              11

1             A P P E A R A N C E S        C O N T I N U E D
2       Tuesday, September 14, 2021:
3       ON BEHALF OF THE DEFENDANTS GANNETT CO., INC. AND
4       GANNETT SATELLITE INFORMATION NETWORK, LLC:
5                   MICHAEL P. ABATE, ESQUIRE
6                   KAPLAN JOHNSON ABATE & BIRD, LLP
7                   710 West Main Street
8                   4th Floor
9                   Louisville, Kentucky 40202
10                  502.540.8280
11      ON BEHALF OF THE DEFENDANTS GANNETT CO., INC. AND
12      GANNETT SATELLITE INFORMATION NETWORK, LLC:
13                  MICHAEL J. GRYGIEL, ESQUIRE
14                  GREENBERG TRAURIG, LLP
15                  54 State Street, 6th Floor
16                  Albany, New York 12207
17                  518.689.1400
18      ON BEHALF OF THE DEFENDANTS NBCUNIVERSAL MEDIA,
19      LLC AND THE NEW YORK TIMES COMPANY D/B/A THE NEW
20      YORK TIMES:
21                  DARREN W. FORD, ESQUIRE
22                  GRAYDON HEAD & RITCHEY, LLP
23                  2400 Chamber Center Drive, Suite 300
24                  Ft. Mitchell, Kentucky 41017
25                  859.578.3071


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                            Transcript of Nicholas Sandmann
                           Conducted on 9/13/2021 & 9/14/2021              12

1       Also present:
2             John Parkman, Videographer
3             Ted Sandmann
4             Justine Beyda
5             Marie Jones
6             Matthew Schafer
7             Daniel Kummer
8             Sara Loiler, Planet Depos AV Technician
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                            Transcript of Nicholas Sandmann
                           Conducted on 9/13/2021 & 9/14/2021              13

1                         C O N T E N T S
2       EXAMINATION OF NICHOLAS SANDMANN                        PAGE
3       By MR. SIEGEL:                                  16, 252
4
5
6                            E X H I B I T S
7                    (Previously marked and submitted.)
8
9
10      Confidential portions:
11      Page 183, Line 12 to Page 187, Line 15
12      Page 195, Line 11 to Page 199, Line 17
13      Page 306, Line 2 to Page 307, Line 5
14      Page 308, Line 25 to Page 309, Line 13
15      Page 427, Line 19 to Page 463, Line 16
16
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                            Transcript of Nicholas Sandmann
                           Conducted on 9/13/2021 & 9/14/2021              14

1                  THE VIDEOGRAPHER:     This begins the                        09:14:40
2       video-recorded deposition of Nicholas Sandmann in                       09:14:45
3       the matter of Nicholas Sandmann, et al. versus                          09:14:48
4       NBCUniversal Media, LLC, Case Number                                    09:14:51
5       19-CV-00056-WOB-CJS, and Nicholas Sandmann versus                       09:14:56
6       The New York Times Company, dba The New York                            09:15:06
7       Times, Case Number 20-CV-00023-WOB-CJS, and                             09:15:08
8       Nicholas Sandmann, et al. versus CBS News,                              09:15:19
9       Incorporated, et al., Case Number                                       09:15:22
10      20-CV-00024-WOB-CJS, and Nicholas Sandmann, et                          09:15:25
11      al. versus ABC News, Incorporated, et al., Case                         09:15:33
12      Number 2:20-CV-00025-WOB-CJS, and Nicholas                              09:15:38
13      Sandmann, et al. versus Gannett Company,                                09:15:50
14      Incorporated, et al., Case Number                                       09:15:53
15      2:20-CV-00026-WOB-CJS, and Nicholas Sandmann, et                        09:15:55
16      al. versus Rolling Stone, LLC, et al., Case                             09:16:05
17      Number 2:20-CV-00027-WOB-CJS, each case filed in                        09:16:09
18      the United States District Court Eastern District                       09:16:21
19      of Kentucky Northern Division at Covington.                             09:16:24
20                 Today's date is Monday September 13th,                       09:16:28
21      2021.   The time on the video monitor is now                            09:16:31
22      9:16 a.m. eastern daylight time.                                        09:16:35
23                 The videographer today is John Parkman                       09:16:38
24      representing Planet Depos.       This video deposition                  09:16:41
25      is taking place remotely via Zoom video                                 09:16:43


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                            Transcript of Nicholas Sandmann
                           Conducted on 9/13/2021 & 9/14/2021              15

1       conference.                                                             09:16:44
2                   Would counsel please voice identify                         09:16:45
3       themselves and state whom they represent?                               09:16:47
4                   MR. SIEGEL:     This is Nathan Siegel.                      09:16:51
5       Sorry.                                                                  09:16:55
6                   MR. McMURTRY:     Go ahead.                                 09:16:55
7                   MR. SIEGEL:     Nathan Siegel.     I represent              09:16:55
8       ABC News.                                                               09:16:56
9                   MR. McMURTRY:     Todd McMurtry                             09:16:59
10      representing Nicholas Sandmann.                                         09:17:01
11                  MS. MEEK:     Jessica Meek representing                     09:17:05
12      CBS.                                                                    09:17:08
13                  MR. FORD:     Darren Ford representing                      09:17:08
14      NCBUniversal, LLC and The New York Times Company.                       09:17:09
15                  MS. KRISHNAN:     Meenu Krishnan                            09:17:11
16      representing ABC.                                                       09:17:14
17                  MR. ABATE:     This is Michael Abate on                     09:17:16
18      behalf of Gannett Company.                                              09:17:19
19                  MR. GRYGIEL:     And also Michael Grygiel,                  09:17:21
20      Greenberg Traurig, representing Gannett Company                         09:17:24
21      and Gannett Satellite Information Network.                              09:17:26
22                  MS. SPEARS:     Natalie Spears representing                 09:17:29
23      CBS News, Inc., Viacom, CBS, Inc. and CBS                               09:17:32
24      Interactive, Inc.                                                       09:17:38
25                  MR. SHOOK:     Kevin Shook representing                     09:17:42


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                              Transcript of Nicholas Sandmann
                             Conducted on 9/13/2021 & 9/14/2021            16

1       Rolling Stone.                                                          09:17:44
2                   MR. HUBER:     Will Huber representing Nick                 09:17:46
3       Sandmann.                                                               09:17:53
4                   MR. SIEGEL:     I think that is everybody.                  09:17:57
5                   THE VIDEOGRAPHER:      All right.     The court             09:17:58
6       reporter today is Dianna Kilgalen also                                  09:17:59
7       representing Planet Depos.                                              09:18:02
8                   Will the reporter please swear in the                       09:18:16
9       witness?                                                                09:18:19
10                          P R O C E E D I N G S                               09:18:22
11                  NICHOLAS SANDMANN, having been duly                         09:18:22
12      sworn, testified as follows:                                            09:18:22
13                  MR. SIEGEL:     Are we ready to begin?                      09:18:22
14                  MR. McMURTRY:      We are ready.                            09:18:28
15          EXAMINATION BY COUNSEL FOR THE DEFENDANTS                           09:18:29
16        ABC NEWS, INC., ABC NEWS INTERACTIVE, INC. AND                        09:18:29
17                     THE WALT DISNEY COMPANY                                  09:18:29
18      BY MR. SIEGEL:                                                          09:18:29
19          Q.      Okay.    Good morning.     Nick, is it okay                 09:18:29
20      if I call you Nick?                                                     09:18:32
21          A.      Yes.                                                        09:18:34
22          Q.      Okay.    Have you ever had a deposition                     09:18:34
23      taken before?                                                           09:18:36
24          A.      No, I have not.                                             09:18:37
25          Q.      Okay.    So I'm sure you have been told, I                  09:18:39


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                              Transcript of Nicholas Sandmann
                             Conducted on 9/13/2021 & 9/14/2021            23

1           A.      To me, a conservative believes in small                     09:25:46
2       government and a small and limited government                           09:25:51
3       that's able to protect the rights of its                                09:25:55
4       citizens.                                                               09:25:58
5           Q.      Up -- up to the time of the incident                        09:26:07
6       that brings us all here today, have you taken any                       09:26:08
7       classes about Native American history?                                  09:26:11
8           A.      Yes.    Currently, I was taking advanced                    09:26:13
9       placement U.S. history which covered Native                             09:26:17
10      Americans.                                                              09:26:22
11          Q.      So as -- were you a junior at the time?                     09:26:23
12          A.      Yes.                                                        09:26:26
13          Q.      So you were in AP U.S. history as a                         09:26:26
14      junior?                                                                 09:26:32
15          A.      Yes.                                                        09:26:32
16          Q.      Did it have any particular focus on                         09:26:32
17      Native Americans as the curriculum?                                     09:26:35
18          A.      It -- whatever the curriculum was.            I             09:26:39
19      mean, they were definitely covered.                                     09:26:42
20          Q.      Okay.    Have you ever taken any -- well,                   09:26:44
21      up to the point of this incident, had you taken                         09:26:47
22      any classes on Native American culture?                                 09:26:49
23          A.      I had never taken a class specifically                      09:26:52
24      focused on Native American culture.                                     09:26:54
25          Q.      Since then, have you taken any classes                      09:26:57


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                              Transcript of Nicholas Sandmann
                             Conducted on 9/13/2021 & 9/14/2021            24

1       that specifically focused on Native Americans in                        09:27:00
2       any way?                                                                09:27:02
3           A.      No.                                                         09:27:03
4           Q.      Have you just on your own done any                          09:27:05
5       reading or studying about Native Americans                              09:27:09
6       specifically?                                                           09:27:13
7           A.      I would say yes.      The reason I took AP                  09:27:13
8       U.S. history and then AP modern European history                        09:27:18
9       the next year, is I like studying history and                           09:27:22
10      stuff.     So I like reading around and knew a ton                      09:27:24
11      of topics, including Native Americans.                                  09:27:29
12          Q.      So what -- do you recall anything in                        09:27:33
13      particular that you have read relating                                  09:27:35
14      specifically to Native Americans?                                       09:27:37
15          A.      Not particularly.                                           09:27:40
16          Q.      Okay.     So just have you read any books                   09:27:41
17      that were specifically about Native American                            09:27:45
18      history or culture?                                                     09:27:49
19          A.      The only book relating to the Native                        09:27:50
20      Americans that I can recall, I actually read back                       09:27:52
21      in the seventh grade.        I read the Last of the                     09:27:56
22      Mohicans.                                                               09:28:00
23          Q.      And I may have asked this, so I do                          09:28:05
24      apologize.        But since this incident, have you                     09:28:11
25      taken any classes on -- specific to Native                              09:28:14


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                             Transcript of Nicholas Sandmann
                            Conducted on 9/13/2021 & 9/14/2021             27

1           Q.     Are you a sports fan?                                        09:30:52
2           A.     I am.                                                        09:30:54
3           Q.     So who do you root for?                                      09:30:55
4           A.     If we are talking football, then                             09:31:01
5       Cincinnati.                                                             09:31:03
6           Q.     The Bengals?                                                 09:31:05
7           A.     Yes.    And then I like UK as well.                          09:31:07
8           Q.     Do you have a baseball team?                                 09:31:12
9           A.     I like the Reds, but --                                      09:31:14
10          Q.     The Reds?                                                    09:31:16
11          A.     They are here and there, so.                                 09:31:18
12          Q.     Fair enough.     I'm an Orioles fan, so                      09:31:20
13      they are just there.                                                    09:31:23
14                 Would it be fair to say that part of the                     09:31:31
15      purpose of the cheers that you guys do is to make                       09:31:33
16      Covington a tougher place for your opponents to                         09:31:36
17      play, your sports opponents?                                            09:31:39
18          A.     I would say so.                                              09:31:42
19          Q.     One cheer that you guys do is called the                     09:31:43
20      sumo cheer?                                                             09:31:47
21          A.     Yes.                                                         09:31:49
22          Q.     When is that done?                                           09:31:49
23          A.     Honestly, usually there's four senior                        09:31:50
24      students that are directing the order of the                            09:31:56
25      chants, and I was never involved in that.            So I               09:32:00


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                             Transcript of Nicholas Sandmann
                            Conducted on 9/13/2021 & 9/14/2021             28

1       have no idea when which ones come.          They kind of                09:32:03
2       just read them up to me and then you follow.                            09:32:06
3           Q.     So they kind of call them out?                               09:32:09
4           A.     Yes.                                                         09:32:11
5           Q.     And is that cheer usually led by someone                     09:32:12
6       who takes off their shirt?                                              09:32:16
7           A.     Yes.                                                         09:32:17
8           Q.     Like -- how is -- like how does the                          09:32:18
9       shirtless guy get designated?         Like is -- is that                09:32:21
10      like a thing or --                                                      09:32:24
11          A.     It's kind of just like someone with --                       09:32:25
12      someone gets picked out of the crowd by the kids                        09:32:27
13      around them, and then he goes down and does it.                         09:32:30
14          Q.     Is it usually somebody -- is it somebody                     09:32:33
15      different every time, or is it like a person each                       09:32:37
16      class year or --                                                        09:32:38
17          A.     There was like a group of people that                        09:32:39
18      would always do it.       It wasn't the same person                     09:32:41
19      every game.       But there was a certain group of                      09:32:45
20      kids that usually got picked.                                           09:32:48
21          Q.     And why is it called the sumo cheer?                         09:32:50
22          A.     I think because they kind of act like                        09:32:53
23      sumo wrestlers.                                                         09:32:56
24          Q.     Are there -- are there any words that                        09:32:58
25      are being articulated during that cheer?                                09:33:02


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                             Transcript of Nicholas Sandmann
                            Conducted on 9/13/2021 & 9/14/2021             29

1           A.     I don't think so.      I think it's just                     09:33:04
2       yelling.                                                                09:33:07
3           Q.     Okay.    And at the end of the cheer, does                   09:33:07
4       the leader usually turn around, face the field or                       09:33:15
5       the court or whatever it would be?                                      09:33:18
6           A.     Yes.                                                         09:33:19
7           Q.     And why is that?      Do you know?                           09:33:20
8           A.     I think to kind of like show off our                         09:33:21
9       strength towards the other team.                                        09:33:26
10          Q.     Okay.    And I saw, actually you just did,                   09:33:27
11      sometimes kids like at the end, you clench your                         09:33:32
12      fists?                                                                  09:33:34
13          A.     Yes.                                                         09:33:35
14          Q.     And why?     For the same reason?                            09:33:35
15          A.     Just to like flex your muscles, I guess.                     09:33:39
16          Q.     Okay.    Do you remember that a few days,                    09:33:43
17      I think it was, after this incident, there was a                        09:33:51
18      video circulating on social media showing cheers                        09:33:55
19      of -- I think kind of a collage of different                            09:34:00
20      cheers from Covington in the past?                                      09:34:03
21          A.     I think I recall it.                                         09:34:04
22          Q.     Okay.    So I'm going to play a couple of                    09:34:06
23      excerpts from it briefly.        You can tell me if                     09:34:11
24      it's the one you recognize.         I will play the                     09:34:14
25      first ten seconds to see if --                                          09:34:17


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                             Transcript of Nicholas Sandmann
                            Conducted on 9/13/2021 & 9/14/2021             32

1       were you told anything about what you should do?                        09:37:18
2           A.     No.                                                          09:37:21
3           Q.     Okay.    Were you ever told to like avoid                    09:37:23
4       contact, you know, any physical contact with                            09:37:26
5       someone who was an outsider coming into your                            09:37:29
6       section?                                                                09:37:33
7           A.     Yes.    I mean, the general rule was, and                    09:37:33
8       our principal used to always tell us, that at all                       09:37:35
9       times, even at sports games or at church or                             09:37:39
10      wherever you are, that you might not be at Cov                          09:37:43
11      Cath but you are still representing Cov Cath.            So             09:37:45
12      I think that would apply.                                               09:37:52
13          Q.     Okay.    Have you ever heard of something                    09:37:55
14      called a haka dance?                                                    09:37:59
15          A.     I think.                                                     09:38:01
16          Q.     Do you -- what do you know -- what do                        09:38:02
17      you know about that?                                                    09:38:04
18          A.     My general impression is that it's a                         09:38:06
19      tribal dance from -- I think from around New                            09:38:10
20      Zealand or in that oceanic area.                                        09:38:15
21          Q.     Have you ever seen that done?                                09:38:20
22          A.     I think once or twice.                                       09:38:22
23          Q.     Once or twice.      Do you think there are                   09:38:23
24      any similarities to the sumo cheer?                                     09:38:28
25          A.     I wouldn't say -- I don't know who                           09:38:31


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                                 Transcript of Nicholas Sandmann
                                Conducted on 9/13/2021 & 9/14/2021         33

1       created the sumo and what they were going for.                          09:38:34
2       So it's . . .                                                           09:38:37
3             Q.       I don't mean that.       I don't mean                    09:38:38
4       intentional similarities, but I'm just asking the                       09:38:42
5       way it looks.                                                           09:38:45
6             A.       I can't completely recall what the haka                  09:38:46
7       is.        So maybe.                                                    09:38:51
8             Q.       Okay.     Another cheer that you guys did                09:38:51
9       is called Victory is our Battle Cry.               Is that              09:38:53
10      right, or Victory?                                                      09:38:57
11            A.       Yes.                                                     09:39:00
12            Q.       And when is that done?                                   09:39:01
13            A.       If I can remember, I think we did that                   09:39:02
14      at halftime usually.           But it definitely could                  09:39:05
15      have been done just throughout the game.                                09:39:08
16            Q.       And how does that go?                                    09:39:10
17            A.       The soph -- or the senior leaders call                   09:39:14
18      out, they spell out victory and say that's our                          09:39:20
19      battle cry.           And then the freshmen stand up and                09:39:25
20      say victory, that's the freshman battle cry.                 The        09:39:28
21      leaders then repeat.           Then the sophomores go --                09:39:31
22      they spell it out, and they go that's the                               09:39:34
23      sophomore battle cry.           They do it for the                      09:39:38
24      juniors, the seniors.           And then they do it one                 09:39:40
25      last time.        We all stand up, spell it out and go                  09:39:44


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                              Transcript of Nicholas Sandmann
                             Conducted on 9/13/2021 & 9/14/2021            34

1       that is the Colonel battle cry.                                         09:39:47
2           Q.      And is there something that's called the                    09:39:50
3       Braveheart March?                                                       09:39:53
4           A.      Yes.                                                        09:39:54
5           Q.      What is that?                                               09:39:54
6           A.      This occurs during the game against                         09:39:55
7       Beechwood.     If it's at Beechwood, we will all get                    09:40:01
8       dropped off somewhere and march to Beechwood.                           09:40:05
9       And if it's at Cov Cath, we usually march down                          09:40:08
10      from the Notre Dame parking lot.           And you wear --              09:40:12
11      be it skirts or whatever, and you try to look                           09:40:19
12      like the cast of Braveheart.                                            09:40:22
13          Q.      And do you have any understanding, like,                    09:40:23
14      well, why has that become a tradition?                                  09:40:25
15          A.      I have no idea why.                                         09:40:27
16          Q.      What does it symbolize to you or                            09:40:29
17      signify?                                                                09:40:32
18          A.      I know that Beechwood is a very big                         09:40:32
19      rivalry.     And usually at once, on the day of the                     09:40:35
20      game, they would play the speech that Mel Gibson                        09:40:38
21      gives about we will never -- they may take our                          09:40:44
22      lives, they will never take our freedom, or                             09:40:47
23      whatever.     I think it's a way to get people                          09:40:51
24      really excited about playing Beechwood.                                 09:40:53
25          Q.      Okay.    So now we will move on to the                      09:40:58


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                                Transcript of Nicholas Sandmann
                               Conducted on 9/13/2021 & 9/14/2021          35

1       trip to the Lincoln Memorial in 2019.              What was             09:41:01
2       the purpose of that trip?                                               09:41:04
3             A.       So I had not gone on the trip.        And to             09:41:06
4       the best of my knowledge, it was a trip that was                        09:41:11
5       taken every year, which was kind of advertised as                       09:41:14
6       like a spiritual journey in defense of the unborn                       09:41:20
7       but also halfway kind of a field trip.                                  09:41:25
8             Q.       And how do you -- how did students sign                  09:41:28
9       up for it?                                                              09:41:35
10            A.       If I can remember, they -- we just                       09:41:36
11      signed a piece -- we got a piece of paper, and we                       09:41:40
12      signed it and our parents signed it and just                            09:41:44
13      turned it in.                                                           09:41:46
14            Q.       So does everybody who -- anyone who                      09:41:47
15      wants to go have the opportunity to go?                                 09:41:51
16            A.       Yes.    I think there's a fee attached to                09:41:53
17      it.        But if you wanted to pay for it and go, you                  09:41:56
18      could.                                                                  09:42:00
19            Q.       I think you mentioned it was the first                   09:42:01
20      time that you had gone on the trip?                                     09:42:03
21            A.       Yes.                                                     09:42:04
22            Q.       Was there any reason you didn't go as a                  09:42:05
23      freshman or sophomore?                                                  09:42:08
24            A.       No.    I just had never decided that, you                09:42:09
25      know, I should probably do it.            But this year, I              09:42:13


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                             Transcript of Nicholas Sandmann
                            Conducted on 9/13/2021 & 9/14/2021             36

1       really wanted to go.       I had heard things about,                    09:42:17
2       you know, all the things they saw in DC and how                         09:42:20
3       cool of an experience it was.                                           09:42:24
4           Q.     In the 2019 trip, do you know about how                      09:42:25
5       many students went?                                                     09:42:31
6           A.     I would say over a hundred, but I don't                      09:42:32
7       know.                                                                   09:42:34
8           Q.     Okay.    And do you -- did you -- do you                     09:42:34
9       go -- and you mentioned Notre Dame, right?               Is             09:42:41
10      Notre Dame a girls school?                                              09:42:46
11          A.     An all-girls school.                                         09:42:48
12          Q.     An all-girls school.                                         09:42:49
13                 Do you go in coordination with any of                        09:42:52
14      the other Catholic schools in the area?                                 09:42:54
15          A.     It's mostly coordinated.        All of the                   09:42:56
16      diocese schools are supposed to meet up for mass                        09:42:59
17      led by the Bishop in DC, and then they all go out                       09:43:04
18      and march.                                                              09:43:07
19          Q.     Okay.    Do you remember about how many                      09:43:11
20      busses there were, just for Covington students?                         09:43:15
21          A.     I think there were three.                                    09:43:18
22          Q.     Okay.    Do you guys mix it up on the                        09:43:19
23      busses in terms of the different schools going,                         09:43:21
24      or is it all your school?                                               09:43:23
25          A.     Our school was the only one on our                           09:43:25


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                              Transcript of Nicholas Sandmann
                             Conducted on 9/13/2021 & 9/14/2021            38

1                   So we probably got into DC around 9:30                      09:45:01
2       or 10 o'clock, somewhere early in the morning.                          09:45:05
3       And we parked outside the church just as all the                        09:45:09
4       kids from the other schools were coming out.                            09:45:14
5           Q.      Did you sleep at all on the bus?                            09:45:18
6           A.      No, I did not sleep well at all.                            09:45:20
7           Q.      Okay.    So you all arrived in DC that                      09:45:25
8       morning.                                                                09:45:28
9                   What happens at that point?         You get off             09:45:32
10      the busses.     What happens?                                           09:45:35
11          A.      We get off the bus.       We go inside this                 09:45:36
12      building.     And they kind of talk to us and                           09:45:39
13      whatever about what -- some -- like reiterating                         09:45:43
14      some of the expectations that they had told us                          09:45:48
15      before.     And then after that, we were kind of                        09:45:50
16      just free to do whatever we wanted to.                                  09:45:53
17          Q.      What expectations had they told you?                        09:45:58
18          A.      There was like the previous expectations                    09:46:01
19      about what to do if someone approaches you.               But           09:46:04
20      they also mentioned the story that a couple years                       09:46:08
21      ago some kids had ended up in like Baltimore or                         09:46:14
22      something because they got screwed around on the                        09:46:17
23      public transit or whatever and ended up in the                          09:46:21
24      complete wrong area.        And some kids ended up                      09:46:25
25      going to Arlington.        So it was kind of like, you                  09:46:29


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                            Transcript of Nicholas Sandmann
                           Conducted on 9/13/2021 & 9/14/2021              39

1       know, if you are going to like go out, like                             09:46:32
2       budget your time correctly to get back.                                 09:46:34
3                  So it was mostly that.       And they told us                09:46:37
4       we are meeting back at the Lincoln at 5.                                09:46:43
5           Q.     And what was the expectation about --                        09:46:45
6       that was articulated about what to do if somebody                       09:46:47
7       approaches you?                                                         09:46:51
8           A.     It was that you don't say anything, you                      09:46:52
9       walk away, you are always representing Cov Cath.                        09:46:54
10          Q.     So you get off the busses.       When was the                09:47:02
11      march itself?                                                           09:47:05
12          A.     I don't recall what time the actual                          09:47:08
13      march started.     I know we got into the area where                    09:47:11
14      people like speak from the stage.         And I think we                09:47:15
15      heard a couple people.       But all the main speakers                  09:47:19
16      had already finished and packed up.                                     09:47:22
17          Q.     Because you guys got there late?                             09:47:24
18          A.     Yes.                                                         09:47:27
19          Q.     All right.    So just tell us what you                       09:47:27
20      did.                                                                    09:47:30
21                 You got off the bus.      You mentioned that                 09:47:30
22      you had that meeting and those things were --                           09:47:33
23      were reiterated to you.       And then what -- what                     09:47:37
24      did you do next?                                                        09:47:40
25          A.     Well, I was with my group of friends.                        09:47:41


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                             Transcript of Nicholas Sandmann
                            Conducted on 9/13/2021 & 9/14/2021             47

1           Q.     So when you get -- when you get to the                       09:57:27
2       Lincoln Memorial, did you at any time see that                          09:57:35
3       there was a -- some kind of rally or gathering of                       09:57:39
4       indigenous peoples?                                                     09:57:46
5           A.     Yes.                                                         09:57:48
6           Q.     So what did you see?                                         09:57:48
7           A.     So when I got to the memorial, I went to                     09:57:50
8       the bathroom.      And I went up and I looked at                        09:57:53
9       Lincoln, and then I came down.         And the first                    09:57:55
10      thing I noticed was Black Hebrew Israelites were                        09:57:58
11      kind of set up with posters or whatever and                             09:58:03
12      stuff.                                                                  09:58:06
13                 And then I think after a while, I                            09:58:07
14      started to notice that there was another like                           09:58:10
15      organized group there, which was the Native                             09:58:12
16      Americans who were congregating for --                                  09:58:14
17          Q.     And -- and what were they doing?          What               09:58:21
18      did you see?                                                            09:58:23
19          A.     I saw them -- they were all holding                          09:58:24
20      hands in like a large circle and dancing around.                        09:58:30
21                 I wasn't paying too much attention to                        09:58:32
22      them because there was a group way more                                 09:58:34
23      aggressive kind of in front of us that took up                          09:58:37
24      most of my focus.                                                       09:58:40
25          Q.     Okay.    Was this your first time at                         09:58:42


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                              Transcript of Nicholas Sandmann
                             Conducted on 9/13/2021 & 9/14/2021            48

1       the -- was this your first time in DC?                                  09:58:52
2           A.      Yes.                                                        09:58:55
3           Q.      And you said that you had -- you had                        09:58:56
4       been told to meet up at 5 o'clock at the Lincoln                        09:58:58
5       Memorial?                                                               09:59:01
6           A.      Uh-huh.                                                     09:59:02
7           Q.      Were you told any particular area around                    09:59:03
8       the memorial to meet up at?                                             09:59:06
9           A.      No.     It was just kind of like on the                     09:59:08
10      steps in front of it.                                                   09:59:11
11          Q.      Okay.     And do you recall, was there a                    09:59:13
12      time that the busses were supposed to leave?                            09:59:17
13          A.      At 5, or around 5.                                          09:59:21
14          Q.      Okay.     So what was your understanding of                 09:59:23
15      what you were supposed to do once you got there?                        09:59:25
16          A.      My understanding was that we were all                       09:59:28
17      going to meet there, wait, and then the                                 09:59:31
18      chaperones or whatever were going to do                                 09:59:35
19      attendance, count everyone, and then we were                            09:59:38
20      going to walk to them, get on and leave.                                09:59:41
21          Q.      And do you recall about how long before                     09:59:46
22      the encounter with Nathan Phillips that you                             09:59:58
23      arrived at the Lincoln Memorial?                                        10:00:01
24          A.      I would say that I arrived at the                           10:00:03
25      Lincoln Memorial at like 4:20 or 4:30, like                             10:00:11


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                              Transcript of Nicholas Sandmann
                             Conducted on 9/13/2021 & 9/14/2021            49

1       somewhere way before what I thought the actual                          10:00:16
2       time was.     I didn't have my phone, really, to                        10:00:18
3       gauge what time it was.                                                 10:00:20
4           Q.      Okay.     Did you ever -- again, prior to                   10:00:22
5       this incident, did you interact at all with any                         10:00:28
6       of the Native Americans?                                                10:00:31
7           A.      No.                                                         10:00:33
8           Q.      Did you see any other Covington students                    10:00:33
9       interacting with any of the Native Americans?                           10:00:37
10          A.      No, I did not.                                              10:00:39
11          Q.      Now, you have mentioned before that you                     10:00:40
12      saw the African American men who were set up                            10:00:44
13      there.                                                                  10:00:50
14                  Did you later come to know that they                        10:00:53
15      called themselves the Black Hebrew Israelites?                          10:00:57
16          A.      Yes.     I think -- I'm not sure if I knew                  10:01:02
17      at the time.        They could have had something on                    10:01:04
18      one of their signs.                                                     10:01:06
19                  MR. SIEGEL:     Okay.                                       10:01:07
20          A.      I don't think I did, though.                                10:01:08
21          Q.      And what did you see and hear?                              10:01:11
22          A.      I saw and heard them berate a bunch of                      10:01:15
23      my classmates.                                                          10:01:20
24                  Obviously, there was more than me                           10:01:23
25      that -- I was not the only one that had Donald                          10:01:28


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                            Transcript of Nicholas Sandmann
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1       Trump campaign attire on.       And so they said                        10:01:32
2       negative things about the president that I really                       10:01:36
3       can't repeat.      And they said things about one of                    10:01:40
4       the freshmen who was on the trip who was an                             10:01:45
5       African American and called him, you know, a                            10:01:49
6       bunch of things I also won't repeat.          And they                  10:01:52
7       just kind of, you know, said a bunch of things                          10:01:57
8       that, you know, were not nice.                                          10:02:01
9           Q.     And some of those things were directed                       10:02:03
10      at the group of students.       Is that fair?                           10:02:07
11          A.     I would say most of them were, yeah.                         10:02:10
12          Q.     Most of them were.      Okay.   Including                    10:02:12
13      when you were a part of that group?                                     10:02:15
14          A.     Yes.                                                         10:02:17
15          Q.     And what was your reaction to what they                      10:02:18
16      were saying?                                                            10:02:22
17          A.     I -- I was kind of uneasy or whatever.                       10:02:24
18      And that was because I had seen protestors                              10:02:31
19      earlier throughout the day, especially around the                       10:02:36
20      White House.      But mainly, they were all just                        10:02:43
21      saying whatever they felt like or however they                          10:02:47
22      felt, and I would have assumed that to kind of                          10:02:51
23      get their attention you needed to do something to                       10:02:55
24      them.    But we were kind of just standing there.                       10:02:57
25      And then they locked onto us without us doing                           10:03:00


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1       anything before that.       So it bothered me a little                  10:03:06
2       bit that they were kind of targeting us for no                          10:03:09
3       reason.                                                                 10:03:14
4           Q.     Had you ever seen anything like this                         10:03:18
5       before?                                                                 10:03:22
6           A.     No.     No.                                                  10:03:22
7           Q.     Okay.     Do you know or did you know                        10:03:23
8       another Covington student named Robert McGrane,                         10:03:25
9       is the name?                                                            10:03:31
10          A.     I don't think so.                                            10:03:41
11                 MR. SIEGEL:     This is Exhibit 2, which is                  10:03:41
12      an audio recording that was produced by GCI, the                        10:03:42
13      investigative firm that did the investigation.                          10:03:48
14      Number 218.      Is that right, Jessica?                                10:03:51
15                 MS. MEEK:     Yes, that is right.                            10:03:55
16                 MR. SIEGEL:     Okay.    I'm just going to                   10:03:56
17      play you an excerpt of Mr. McGrane's recorded                           10:03:58
18      interview.                                                              10:04:04
19                 MS. MEEK:     For the record, I'm starting                   10:04:21
20      Exhibit 2 at 5 minutes and 54 seconds.                                  10:04:23
21                 (Thereupon, an audio recording of                            10:04:27
22      Exhibit 2 was played.)                                                  10:04:31
23                 MS. MEEK:     I just stopped -- I just                       10:05:03
24      stopped Exhibit 2 at 6 minutes and 30 seconds.                          10:05:04
25      BY MR. SIEGEL:                                                          10:05:08


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                             Transcript of Nicholas Sandmann
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1           Q.     He called it a culture shock.         Do you --              10:05:08
2       did you feel that way?                                                  10:05:13
3           A.     I would agree.      I would best describe DC                 10:05:14
4       as kind of a war zone compared to what I was                            10:05:18
5       compared to -- or what I'm used to seeing.               Just           10:05:22
6       because there was almost a protest around every                         10:05:25
7       corner, and it was -- it couldn't -- it wouldn't                        10:05:28
8       have even been related to the March For Life.                           10:05:31
9       Everyone was just protesting something.                                 10:05:38
10          Q.     Did the -- the African American men stay                     10:05:41
11      in the same place the whole time you were there?                        10:05:44
12          A.     For the most part, except when Nathan                        10:05:48
13      Phillips moved in.       Then they kind of shifted                      10:05:51
14      closer.                                                                 10:05:57
15          Q.     Okay.    Did you hear any of them                            10:05:58
16      insulting any of the -- any Native Americans?                           10:06:02
17          A.     Not at the time.      I know they did now.                   10:06:06
18          Q.     And you know that from seeing videos of                      10:06:09
19      the event?                                                              10:06:13
20          A.     Yes.                                                         10:06:13
21          Q.     Okay.    So I take it at the time also you                   10:06:14
22      didn't -- you didn't see how the Native Americans                       10:06:18
23      responded to them?                                                      10:06:23
24          A.     No.                                                          10:06:24
25          Q.     Okay.    Did you see them insulting any                      10:06:24


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                              Transcript of Nicholas Sandmann
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1       African Americans?                                                      10:06:28
2           A.      I saw them insult the one a part of our                     10:06:30
3       group.    I didn't see -- I don't ever recall                           10:06:34
4       seeing them insult another African American                             10:06:38
5       outside of our group.                                                   10:06:42
6           Q.      Okay.     Did you see them insulting people                 10:06:43
7       other than in your group?                                               10:06:46
8           A.      Yes.                                                        10:06:47
9           Q.      From what you recall, what do you                           10:06:49
10      remember about that?                                                    10:06:52
11          A.      I remember that there was one guy who                       10:06:53
12      was on one of -- kind of like a motorized                               10:06:56
13      skateboard.        I don't know what it is.      And he had             10:07:01
14      like a ski helmet and goggles on.           He had like a               10:07:04
15      boom box or something.         And he kept riding around                10:07:09
16      them and playing music.                                                 10:07:13
17          Q.      Okay.     Did they make any negative                        10:07:17
18      remarks about other peoples or groups or police?                        10:07:21
19          A.      I would assume that they did.         I just                10:07:26
20      can't -- I don't think I witnessed any of it.                           10:07:29
21          Q.      What about just, for example, those who                     10:07:34
22      were gay?                                                               10:07:37
23          A.      I know that when they were insulting us,                    10:07:37
24      they made -- they insulted gays.                                        10:07:45
25                  MR. SIEGEL:     Let's go to Exhibit 3,                      10:07:57


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                             Transcript of Nicholas Sandmann
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1       which I will state for the record is video 4 on                         10:07:59
2       the stipulation, and I will just identify videos                        10:08:01
3       that way because I think it will be easier for                          10:08:05
4       the record.       That's the -- I think what your                       10:08:07
5       Complaint calls the Banyamyan video.           And I will               10:08:13
6       show some excerpts from that.                                           10:08:16
7                  MS. MEEK:     I'm starting at Exhibit 3,                     10:08:18
8       which is video 4, at 11 minutes and 19 seconds.                         10:08:22
9                  (Thereupon, a video recording from                           10:08:26
10      Exhibit 3 was played.)                                                  10:08:31
11      BY MR. SIEGEL:                                                          10:09:14
12          Q.     So do you see there was a group of                           10:09:14
13      students off to the side?        Did those -- do those                  10:09:17
14      include some Covington students?                                        10:09:22
15          A.     Yes.                                                         10:09:25
16          Q.     Okay.     And do you know where the girls                    10:09:25
17      were from?                                                              10:09:28
18          A.     I do not.     I would assume Notre Dame.                     10:09:30
19          Q.     But did you see any of that at the time?                     10:09:36
20          A.     I don't think I did.                                         10:09:38
21          Q.     Okay.     You heard one of the Black Hebrew                  10:09:40
22      Israelites who was talking, saying:          Don't stand                10:09:47
23      there and mock us?                                                      10:09:49
24          A.     Yeah.                                                        10:09:50
25          Q.     Do you think they were mocking them?                         10:09:51


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                              Transcript of Nicholas Sandmann
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1                   MR. McMURTRY:       Objection.    During the                10:09:53
2       video clip?                                                             10:09:54
3                   MR. SIEGEL:     Yes.                                        10:09:55
4                   MR. McMURTRY:       Okay.    Go ahead and                   10:09:56
5       answer.                                                                 10:09:57
6                   MR. SIEGEL:     Yes.    I will rephrase that                10:09:57
7       for the record.        Sorry.                                           10:09:59
8       BY MR. SIEGEL:                                                          10:10:00
9           Q.      On the video, did you hear one of the                       10:10:00
10      Black Hebrew Israelites say:            Don't stand there               10:10:04
11      and mock us?                                                            10:10:10
12          A.      I heard it.                                                 10:10:11
13          Q.      Okay.    Do you think the students were                     10:10:12
14      mocking them?                                                           10:10:13
15          A.      I don't think so.       I mean, because at                  10:10:14
16      the time that the video turns, the kids had their                       10:10:16
17      backs to the -- to the Black Hebrew Israelites,                         10:10:20
18      and I can't even hear any of the kids saying                            10:10:23
19      anything.                                                               10:10:27
20          Q.      Okay.    And they are walking away, right?                  10:10:27
21          A.      Correct.                                                    10:10:30
22          Q.      Okay.    Would it be fair to say that is                    10:10:30
23      your interpretation of what you are seeing from                         10:10:33
24      the video as to whether or not they seem to you                         10:10:35
25      to be mocking them?                                                     10:10:37


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1           A.      I would say yes.                                            10:10:38
2           Q.      Okay.    Can you identify any of those                      10:10:39
3       students?                                                               10:10:42
4           A.      I cannot.                                                   10:10:42
5                   MR. SIEGEL:     Let's jump to 38 minutes.                   10:10:46
6                   MS. MEEK:     For the record, a moment ago                  10:10:49
7       I stopped Exhibit 3 at 12 minutes and 8 seconds.                        10:10:50
8       Now I'm restarting at 38 minutes.                                       10:10:54
9                   (Thereupon, a video recording of Exhibit                    10:10:58
10      3 was played.)                                                          10:11:04
11      BY MR. SIEGEL:                                                          10:11:36
12          Q.      The person in the blue coat, do you                         10:11:36
13      recognize who that person is?                                           10:11:43
14          A.      I mean, I have a guess who he is, but                       10:11:45
15      not really from that clip.                                              10:11:48
16          Q.      What is your best guess?                                    10:11:50
17          A.      I think that is Billy Smith, but I have                     10:11:52
18      no idea.                                                                10:11:55
19          Q.      Okay.    And do you recognize any of the                    10:11:56
20      other students standing I guess to his left as                          10:11:58
21      Covington students?                                                     10:12:02
22          A.      I think the one on his -- from this                         10:12:03
23      point of view, from our right, the next one is                          10:12:06
24      Luke Keninso (phonetically spelled), but I                              10:12:09
25      don't -- I can't recognize him for sure.                                10:12:13


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                             Transcript of Nicholas Sandmann
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1           Q.     Okay.    Did you see any of this at the                      10:12:16
2       time?                                                                   10:12:20
3           A.     I can't say for sure.       There were                       10:12:22
4       several times when some of the students were                            10:12:26
5       standing somewhat close.        I can't say if I saw                    10:12:29
6       this one for sure and not another one.                                  10:12:34
7                  MR. SIEGEL:     Okay.    Keep going.                         10:12:36
8                  MS. MEEK:     For the record, a moment ago                   10:12:41
9       I paused at 38 minutes and 25 seconds.            And now               10:12:42
10      I'm continuing on from that point in Exhibit 3.                         10:12:46
11                 (Thereupon, a video recording from                           10:12:50
12      Exhibit 3 was played.)                                                  10:12:53
13                 MS. MEEK:     I just paused at 38 minutes                    10:12:58
14      and 33 seconds.                                                         10:13:01
15      BY MR. SIEGEL:                                                          10:13:03
16          Q.     Do you know what the water bottle says?                      10:13:03
17          A.     I can't remember.       It said something --                 10:13:07
18      I think it might have said Voss or something, or                        10:13:14
19      maybe it had -- like someone had removed the logo                       10:13:18
20      and put something on it.        I don't remember what                   10:13:22
21      the logo was.                                                           10:13:29
22          Q.     And do you think that the way he sort of                     10:13:31
23      picked up the water bottle and smiles, is he                            10:13:36
24      mocking the Black Hebrew Israelites?                                    10:13:41
25                 MR. McMURTRY:      Objection.    Go ahead.                   10:13:42


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                              Transcript of Nicholas Sandmann
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1           A.      No.     I don't see any reason why he would                 10:13:43
2       be or what kind of -- the smile and the water                           10:13:45
3       bottle mock, at least in my view of it.                                 10:13:49
4                   MR. SIEGEL:     Okay.    Play a few more                    10:13:55
5       seconds.                                                                10:13:58
6                   (Thereupon, a video recording of Exhibit                    10:13:59
7       3 was played.)                                                          10:14:02
8                   MS. MEEK:     I just paused at 38 minutes                   10:14:04
9       and 36 seconds in Exhibit 3.                                            10:14:06
10      BY MR. SIEGEL:                                                          10:14:09
11          Q.      Do you think that looks like a -- do you                    10:14:09
12      see him smiling?                                                        10:14:10
13          A.      Yeah, I see him smiling.                                    10:14:11
14          Q.      Does that look like a smirk to you?                         10:14:13
15                  MR. McMURTRY:      Objection.                               10:14:17
16          A.      No.     At this point, he hasn't even said                  10:14:17
17      anything.     And the guy on this thing just called                     10:14:20
18      him -- and whatever you want to call it, insulted                       10:14:24
19      him.                                                                    10:14:26
20      BY MR. SIEGEL:                                                          10:14:27
21          Q.      Okay.     Do you think someone else looking                 10:14:27
22      at this video could disagree with you about                             10:14:30
23      whether he is smirking at them?                                         10:14:34
24                  MR. McMURTRY:      Objection.    Go ahead.                  10:14:36
25          A.      If they wanted to, I guess they could,                      10:14:37


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                            Transcript of Nicholas Sandmann
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1       right.                                                                  10:14:40
2       BY MR. SIEGEL:                                                          10:14:40
3           Q.     Would you -- would you say that's an                         10:14:40
4       honest opinion that they could have, to look at                         10:14:48
5       that and say I think that -- what's his name                            10:14:50
6       again?                                                                  10:14:54
7           A.     Charlie.                                                     10:14:55
8           Q.     -- I think Charlie is smirking at him?                       10:14:56
9           A.     I would -- I would -- I don't -- I                           10:14:59
10      wouldn't accuse them of being dishonest, but I                          10:15:02
11      would certainly tell them that that's not the                           10:15:05
12      right opinion.                                                          10:15:09
13                 MR. McMURTRY:     We are at an hour.         I'm             10:15:13
14      going to want to stop at some point.                                    10:15:15
15                 MR. SIEGEL:     We can do that now.                          10:15:17
16                 MR. McMURTRY:     Whatever is convenient.                    10:15:19
17      Okay.                                                                   10:15:21
18                 MR. SIEGEL:     Sure.    Yes.                                10:15:21
19                 THE VIDEOGRAPHER:       We are going off the                 10:15:22
20      record.    The time is 10:15 a.m.                                       10:15:23
21                 (Thereupon, there was a recess taken at                      10:15:28
22      10:15 a.m.)                                                             10:15:28
23                 (Thereupon, the proceedings were resumed                     10:26:42
24      at 10:26 a.m.)                                                          10:26:42
25                 THE VIDEOGRAPHER:       We are back on the                   10:26:48


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1       record.    The time is 10:26 a.m.                                       10:26:49
2       BY MR. SIEGEL:                                                          10:26:53
3           Q.     Nick, one of the words that you hear the                     10:26:53
4       Black Hebrew Israelite man saying was -- on                             10:27:03
5       approach to the students was cracker or crackers?                       10:27:06
6           A.     Yeah.                                                        10:27:09
7           Q.     Did you hear that?                                           10:27:10
8           A.     I did.                                                       10:27:10
9           Q.     Is that something you also heard them                        10:27:11
10      say when you were there?                                                10:27:14
11          A.     Yes.                                                         10:27:15
12          Q.     What did -- did you know what that was                       10:27:16
13      at the time?                                                            10:27:17
14          A.     I just knew it was an epithet used to                        10:27:17
15      describe white people.                                                  10:27:25
16                 MR. SIEGEL:     Okay.    Let's go to -- on                   10:27:29
17      Exhibit 3, 43 minutes and 56 seconds.                                   10:27:31
18                 (Thereupon, a video recording of Exhibit                     10:27:36
19      3 was played.)                                                          10:27:43
20                 MS. MEEK:     I just paused Exhibit 3 at 44                  10:28:57
21      minutes and 39 seconds.                                                 10:29:00
22      BY MR. SIEGEL:                                                          10:29:02
23          Q.     Okay.    So, again, the boys who are                         10:29:02
24      standing to the right of the screen as we are                           10:29:06
25      looking at it, are those Covington students?                            10:29:08


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1           A.      Yes.                                                        10:29:12
2           Q.      And do you know who the student is                          10:29:12
3       holding the water bottle?                                               10:29:17
4           A.      I would assume that is Charlie still.                       10:29:19
5           Q.      Still Charlie?     And it looks like that                   10:29:23
6       water bottle was blue?                                                  10:29:29
7           A.      Correct.                                                    10:29:30
8           Q.      Do you know what it says?                                   10:29:31
9           A.      I do not.                                                   10:29:32
10          Q.      Does it say Trump on it?                                    10:29:35
11          A.      I think that is my leading guess as to                      10:29:39
12      what it said.      I honestly, though, can't                            10:29:42
13      remember.                                                               10:29:44
14                  MR. SIEGEL:     Okay.   Can we just pull up                 10:29:45
15      Exhibit 4 for a second?                                                 10:29:47
16                  MS. MEEK:     The paper copy or up there?                   10:29:50
17                  MR. SIEGEL:     We could put it up there,                   10:29:53
18      actually, the front, the photo.                                         10:29:55
19      BY MR. SIEGEL:                                                          10:30:30
20          Q.      Nick, I will represent to you this is                       10:30:30
21      just a photo I pulled off the Internet.           It's not              10:30:32
22      a photo of the event.        But do you think that that                 10:30:35
23      is what that water bottle looked like?                                  10:30:38
24                  MR. McMURTRY:     Objection.    Go ahead.                   10:30:41
25          A.      I would say it's very possible.        And I                10:30:42


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1       would assume that's probably what it is.                                10:30:44
2       BY MR. SIEGEL:                                                          10:30:48
3           Q.     Okay.    So let's go back.                                   10:30:48
4                  What do you think Billy was trying to                        10:30:51
5       communicate?                                                            10:30:54
6                  Stop and pause.      And I will rephrase the                 10:30:56
7       question when she gets the frame up so you can                          10:30:58
8       view it.                                                                10:31:00
9                  What do you think Billy was trying to                        10:31:11
10      communicate to the Black Hebrew Israelites by                           10:31:14
11      holding the Trump water bottle up?                                      10:31:17
12                 MR. McMURTRY:      Objection.    Go                          10:31:19
13      ahead if --                                                             10:31:22
14                 MR. SIEGEL:     I will rephrase it.                          10:31:22
15      BY MR. SIEGEL:                                                          10:31:23
16          Q.     What do you think Billy was trying to                        10:31:23
17      communicate to the Black Hebrew Israelites by                           10:31:25
18      holding that water bottle up?                                           10:31:29
19                 MR. McMURTRY:      Objection.    Go ahead.                   10:31:30
20          A.     I think Charlie was already being mocked                     10:31:32
21      for wearing the Make America Great Again hat.              So           10:31:35
22      he was also saying, hey, I have a water bottle,                         10:31:39
23      too, you know.      I don't know.     He was showing                    10:31:44
24      them that he had a water bottle, too.            I don't                10:31:51
25      know what he was trying to do with it.                                  10:31:53


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1       BY MR. SIEGEL:                                                          10:31:58
2           Q.     So you understand that he was being                          10:31:58
3       mocked, or you are attesting that he was being                          10:32:00
4       mocked by the Black Hebrew Israelites, right?           Do              10:32:04
5       you think he was mocking them --                                        10:32:09
6           A.     No.                                                          10:32:10
7           Q.     -- by doing that?                                            10:32:10
8           A.     No, not at all.                                              10:32:12
9           Q.     He was taunting them by doing that?                          10:32:13
10          A.     I don't think so.                                            10:32:16
11          Q.     Why?                                                         10:32:17
12          A.     Well, I think it's pretty clear to me                        10:32:18
13      that they had already -- the Black Hebrew                               10:32:21
14      Israelites, you can clearly hear them already                           10:32:22
15      label Charlie many insults and epithets.          I                     10:32:31
16      don't -- I don't know how he would -- could be                          10:32:34
17      mocking them when they are going after him.                             10:32:36
18          Q.     Well, is it possible that he was kind of                     10:32:38
19      responding in kind?                                                     10:32:46
20                 MR. McMURTRY:     Objection.                                 10:32:46
21          A.     I don't think so, because his reaction                       10:32:47
22      is on a way more toned-down level than what he is                       10:32:50
23      being presented with.                                                   10:32:55
24      BY MR. SIEGEL:                                                          10:32:56
25          Q.     Do you think somebody seeing this and                        10:32:56


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1       seeing Charlie holding up a Trump water bottle to                       10:32:58
2       the Black Hebrew Israelites, that he was mocking                        10:33:02
3       them by doing that?                                                     10:33:05
4                  MR. McMURTRY:        Objection.   Go ahead.                  10:33:06
5           A.     I guess they could.        To me, a water                    10:33:08
6       bottle doesn't seem that provocative.          So if                    10:33:11
7       someone wanted to -- wanted to look at it that                          10:33:16
8       way, they could.                                                        10:33:19
9                  MR. SIEGEL:     Okay.     Let's go to 49                     10:33:27
10      minutes and 29 seconds.                                                 10:33:29
11                 Did you say when you stopped that,                           10:33:31
12      Jessica, just for the record, before?                                   10:33:34
13                 MS. MEEK:     I stopped at 49 minutes and                    10:33:36
14      39 seconds before.                                                      10:33:39
15                 (Thereupon, a video recording of Exhibit                     10:33:42
16      3 was played.)                                                          10:33:46
17                 MR. SIEGEL:     Okay.                                        10:33:47
18                 MS. MEEK:     Did you say jumping to 49                      10:33:47
19      minutes and 29 seconds now?                                             10:33:51
20                 MR. SIEGEL:     Yes.     It was 44:39 before,                10:33:57
21      right?                                                                  10:34:02
22                 MS. MEEK:     Yes.                                           10:34:03
23                 MR. SIEGEL:     Okay.     Actually, one last                 10:34:04
24      question when we get there.                                             10:34:05
25      BY MR. SIEGEL:                                                          10:34:08


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                             Transcript of Nicholas Sandmann
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1             Q.   Okay.    Now, I know, and we are not going                   10:37:11
2       to watch it all because we would be here for a                          10:37:18
3       week, but you have reviewed this whole video, I                         10:37:22
4       take it, the Banyamyan video?                                           10:37:25
5             A.   I don't think I have watched every                           10:37:31
6       single minute of it, no.                                                10:37:34
7             Q.   Okay.    Have you watched a fair amount of                   10:37:36
8       it?                                                                     10:37:39
9             A.   I can't say.                                                 10:37:39
10            Q.   Okay.    Well, you mentioned before that,                    10:37:40
11      once you reviewed the video, you saw that the                           10:37:42
12      Black Hebrew Israelites had yelled insults at                           10:37:46
13      Native Americans at different points?                                   10:37:49
14            A.   Correct.                                                     10:37:51
15            Q.   Okay.    Did you see either from the video                   10:37:52
16      or at the time them making any negative                                 10:37:57
17      references to Jews?                                                     10:38:01
18            A.   Yes.                                                         10:38:02
19            Q.   How about to Catholics?                                      10:38:04
20            A.   Yes.                                                         10:38:07
21            Q.   Okay.    And does it appear to you also to                   10:38:07
22      some other African Americans?                                           10:38:10
23            A.   Yes.                                                         10:38:13
24            Q.   Would it be fair to say that they were                       10:38:14
25      equal opportunity haters?                                               10:38:18


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1           A.     I would agree.                                               10:38:20
2                  MR. SIEGEL:     All right.     Now, let's --                 10:38:34
3       let's keep playing.                                                     10:38:36
4                  (Thereupon, a video recording from                           10:38:36
5       Exhibit 3 was played.)                                                  10:38:40
6                  MS. MEEK:     I just paused Exhibit 3 at 50                  10:38:49
7       minutes and 2 seconds.                                                  10:38:52
8                  MR. SIEGEL:     Can you repeat that?                         10:38:59
9                  MS. MEEK:     Yes.   50 minutes and 3                        10:39:02
10      seconds.                                                                10:39:04
11      BY MR. SIEGEL:                                                          10:39:04
12          Q.     Okay.    So first you heard him use the                      10:39:04
13      word pepper boys.       Do you have any understanding                   10:39:06
14      of what that meant?                                                     10:39:10
15          A.     I do not.                                                    10:39:11
16          Q.     Do you have an understanding today of                        10:39:11
17      what it is?                                                             10:39:13
18          A.     No.                                                          10:39:14
19          Q.     Okay.    Given the context, do you have an                   10:39:15
20      educated guess about what it is?                                        10:39:17
21          A.     I mean, I will assume it's pretty                            10:39:20
22      derogatory, but I don't even know if I could                            10:39:25
23      guess what it means.                                                    10:39:29
24          Q.     Okay.    So let's just go back.       I'm just               10:39:36
25      going to ask you, Nick, that those are some                             10:39:39


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1       Covington students, correct?                                            10:39:42
2           A.     Correct.                                                     10:39:44
3           Q.     So starting to sort of where we see the                      10:39:46
4       boys, I'm just going to ask if you can identify                         10:39:49
5       any of those people.       We're just going to sort of                  10:39:53
6       go through it frame by frame to --                                      10:39:56
7           A.     Okay.                                                        10:40:00
8           Q.     We are now at 50 minutes and 2 seconds.                      10:40:00
9           A.     On the -- on the left, looking at the                        10:40:03
10      video on the left side, where the mouse is                              10:40:06
11      closest to, that looks like Patrick Kennedy.                            10:40:08
12          Q.     So just so it's clear, he's -- it looks                      10:40:13
13      like he is wearing a MAGA hat and he is wearing a                       10:40:15
14      sweatshirt that sort of has a red stripe going                          10:40:20
15      down the middle?                                                        10:40:23
16          A.     Yes.                                                         10:40:23
17                 MR. SIEGEL:     Okay.                                        10:40:24
18          A.     Behind him, also wearing a MAGA hat,                         10:40:24
19      looks like Cammeron Martin.                                             10:40:27
20                 In front of him with the animal hat and                      10:40:29
21      the March For Life shirt looks like Peter Rice.                         10:40:32
22                 And to the right of Peter in the brown                       10:40:37
23      beanie looks like Liam Gray.                                            10:40:41
24                 And I -- those are the only ones I could                     10:40:45
25      put names to.                                                           10:40:51


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1           Q.     Okay.    We are just going to move it to                     10:40:52
2       the right.                                                              10:40:55
3           A.     Okay.    To the right of Liam Gray with                      10:40:55
4       the MAGA hat, or what looks like one on                                 10:40:59
5       backwards, is -- his last name is Summe.           His                  10:41:04
6       first name I'm blanking on right now.                                   10:41:13
7           Q.     Is Sunny -- say that --                                      10:41:17
8           A.     Summe.                                                       10:41:18
9           Q.     Can you spell it?                                            10:41:19
10          A.     S-U-M-M-E.                                                   10:41:20
11                 MR. SIEGEL:     Okay.                                        10:41:24
12          A.     And his older brother, too.         I don't                  10:41:24
13      know his name, his older brother's name.           I think              10:41:26
14      it's his name.                                                          10:41:31
15          Q.     Okay.    And the fellow in the blue                          10:41:31
16      sweatshirt, sort of pointing to his hat, I think?                       10:41:39
17          A.     I think that is Charlie Regan                                10:41:42
18      (phonetically spelled), my best friend.           I do not              10:41:45
19      know who that person is.                                                10:42:04
20          Q.     You are talking about the person -- it                       10:42:05
21      looks like a blue and white ski hat?                                    10:42:09
22          A.     Yes.                                                         10:42:12
23          Q.     Okay.    Going to the right.                                 10:42:13
24                 MR. SIEGEL:     Can you frame it, Jessie?                    10:42:16
25                 MS. MEEK:     I think that might be the                      10:42:18


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1       end.                                                                    10:42:20
2                  MR. SIEGEL:     Oh, you think -- well,                       10:42:32
3       let's just go through it real quick.           Go a little              10:42:32
4       bit -- yeah, keep going.                                                10:42:34
5       BY MR. SIEGEL:                                                          10:42:35
6           Q.     So the fellow on the bicycle, do you                         10:42:35
7       recognize who that is?                                                  10:42:37
8           A.     I can -- I do not know.                                      10:42:38
9           Q.     You don't know if he's from Covington?                       10:42:40
10          A.     No, I can't --                                               10:42:43
11                 MR. SIEGEL:     Okay.    Let's go ahead.      Go             10:42:48
12      back to 50 minutes and 2 seconds and play a                             10:42:51
13      little bit more.                                                        10:42:56
14                 (Thereupon, a video recording of Exhibit                     10:42:57
15      3 was played.)                                                          10:43:03
16                 MS. MEEK:     I just -- I just paused                        10:43:13
17      Exhibit 3 at 50 minutes and 14 seconds.                                 10:43:14
18      BY MR. SIEGEL:                                                          10:43:17
19          Q.     So did you see any of this when you were                     10:43:17
20      there?                                                                  10:43:21
21          A.     I think I did.                                               10:43:22
22          Q.     Okay.    Did you hear someone in the                         10:43:24
23      background that says build that wall?                                   10:43:27
24          A.     Yes.                                                         10:43:31
25          Q.     And then the Black Hebrew Israelite man                      10:43:32


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1       who was speaking sort of talking about it?                              10:43:37
2             A.   I -- from my hearing, it seemed as if                        10:43:39
3       one of the Black Hebrew Israelite men was saying                        10:43:42
4       build that wall in kind of a mocking form.               I              10:43:46
5       don't -- I don't think that was one of us that                          10:43:51
6       said it.                                                                10:43:54
7             Q.   Okay.    Can you tell for sure who said                      10:43:55
8       it?                                                                     10:43:57
9             A.   Perhaps, if you replay it, I think I                         10:43:59
10      would be able to hear if that was a student or                          10:44:02
11      not, but --                                                             10:44:06
12                 MR. SIEGEL:     Okay.     Go ahead.                          10:44:07
13                 MS. MEEK:     Going back to 50 minutes and                   10:44:18
14      2 seconds.                                                              10:44:21
15                 (Thereupon, a video recording of Exhibit                     10:44:23
16      3 was played.)                                                          10:44:26
17            A.   It sounds to me like I can hear one of                       10:44:34
18      the Hebrew Israelites saying build that wall,                           10:44:37
19      question mark, why don't you build the damn wall,                       10:44:45
20      question mark, is a snippet I catch from that at                        10:44:48
21      least.                                                                  10:44:50
22                 MR. SIEGEL:     Okay.     Let's go back again.               10:44:51
23      I will tell you when to stop it.          Okay?                         10:44:54
24                 MS. MEEK:     Okay.     Going back to 50                     10:44:57
25      minutes and 2 seconds on Exhibit 3.                                     10:45:03


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1       BY MR. SIEGEL:                                                          10:45:14
2           Q.     So you hear somebody who says it, right?                     10:45:14
3           A.     Right.                                                       10:45:17
4           Q.     And then he continues to talk.                               10:45:17
5                  So when it's said that first time, could                     10:45:22
6       you tell who said it?                                                   10:45:25
7           A.     There, I can't tell who said it.                             10:45:26
8                  MR. SIEGEL:       Okay.   Let's continue to                  10:45:37
9       play it through.                                                        10:45:41
10                 (Thereupon, a video recording from                           10:45:44
11      Exhibit 3 was played.)                                                  10:45:48
12      BY MR. SIEGEL:                                                          10:46:28
13          Q.     So, after this sort of point, the                            10:46:28
14      students all walk away, right?                                          10:46:34
15          A.     Right.                                                       10:46:36
16          Q.     If you did see this at the time, do you                      10:46:38
17      remember where you were standing at this point?                         10:46:43
18      Because I don't see you in the group.           Although,               10:46:46
19      that doesn't mean you weren't there.                                    10:46:48
20          A.     I -- so from where they are facing                           10:46:51
21      outward, I would have been behind them and to the                       10:46:54
22      right on the steps.         I wasn't in that group,                     10:46:58
23      looking at them and their posters.          So . . .                    10:47:03
24          Q.     Okay.    Okay.     So now we will jump to a                  10:47:09
25      point where I think you do start to be visible.                         10:47:13


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                             Transcript of Nicholas Sandmann
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1                  MS. MEEK:     For the record, a moment ago                   10:47:17
2       I stopped Exhibit 3 at 50 minutes and 53 seconds.                       10:47:19
3       Now I'm going to 53 minutes and 29 seconds.                             10:47:23
4                  (Thereupon, a video recording of Exhibit                     10:47:29
5       3 was played.)                                                          10:47:32
6       BY MR. SIEGEL:                                                          10:47:42
7           Q.     Okay.    So we have stopped at 53 minutes                    10:47:42
8       and 34 seconds.                                                         10:47:45
9                  Is -- is that you in the kind of middle                      10:47:47
10      of the screen?                                                          10:47:51
11          A.     Off to the left.                                             10:47:53
12          Q.     Slightly off to the left?                                    10:47:54
13          A.     Yeah, with the white shoes.         I think                  10:47:56
14      that's me.                                                              10:47:59
15                 MR. SIEGEL:     Okay.    Let's jump to 58:29.                10:48:16
16                 (Thereupon, a video recording of Exhibit                     10:48:24
17      3 was played.)                                                          10:48:28
18                 MS. MEEK:     I just paused Exhibit 3 at 59                  10:49:02
19      minutes and 9 seconds.                                                  10:49:05
20      BY MR. SIEGEL:                                                          10:49:07
21          Q.     Okay.    Did you hear that at the time?                      10:49:07
22          A.     I would have heard them yelling.          I                  10:49:11
23      don't know if I heard it word for word.                                 10:49:13
24          Q.     Okay.    Do you agree with anything he                       10:49:15
25      said there about Bill Clinton?                                          10:49:18


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1       BY MR. SIEGEL:                                                          10:51:15
2           Q.      Yeah.    And -- so did you -- I will ask                    10:51:15
3       you again.     Did you -- did you agree with                            10:51:19
4       anything that he said in reference to Bill                              10:51:21
5       Clinton?                                                                10:51:23
6           A.      I -- honestly, it's not my place to                         10:51:25
7       agree or disagree.        I don't know the statistics,                  10:51:28
8       data.     So he could be right.       He could be wrong.                10:51:33
9           Q.      Okay.    What do you understand him to be                   10:51:37
10      criticizing --                                                          10:51:43
11          A.      I think he's --                                             10:51:46
12          Q.      -- democrats for?                                           10:51:46
13          A.      He's criticizing democrats and other                        10:51:46
14      African Americans for liking Bill Clinton.                              10:51:51
15      Because according to him, he's locked up more                           10:51:55
16      Hispanics and African American citizens than any                        10:51:58
17      other president.                                                        10:52:03
18          Q.      Okay.    And is that a criticism you -- of                  10:52:04
19      Bill Clinton that you agree with?                                       10:52:13
20                  MR. McMURTRY:      Objection.    Go ahead.                  10:52:15
21          A.      Again, I don't know whether he did or he                    10:52:16
22      didn't.     So I don't know.                                            10:52:19
23      BY MR. SIEGEL:                                                          10:52:22
24          Q.      Okay.    Would it be fair to say that the                   10:52:22
25      Black Hebrew Israelite man, he didn't limit his                         10:52:28


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1       invective to republicans?                                               10:52:31
2           A.      Correct.     I would say he mainly focused                  10:52:34
3       on republicans.        But as the case here, not only                   10:52:37
4       republicans.                                                            10:52:41
5                   MR. SIEGEL:     Okay.    Let's go to the                    10:52:45
6       next, 51 minutes and 21 seconds.                                        10:52:47
7                   (Thereupon, a video recording from                          10:52:54
8       Exhibit 3 was played.)                                                  10:52:59
9                   MR. SIEGEL:     I think you may just --                     10:53:05
10      yeah, go forward a little bit.          Maybe the other                 10:53:07
11      way.     Go back a little bit.                                          10:53:11
12      BY MR. SIEGEL:                                                          10:53:24
13          Q.      Okay.    So that -- pointing out the white                  10:53:24
14      sneakers, that is a good reference point.             You               10:53:29
15      see where the cursor is pointing.           Is that you                 10:53:32
16      standing on the stairs?                                                 10:53:35
17          A.      I'm pretty sure that's me.                                  10:53:36
18                  MR. SIEGEL:     Okay.    Let's go to 1 minute               10:53:39
19      and 7 seconds -- I'm sorry -- 1 hour and 7                              10:53:43
20      minutes and 44 seconds.                                                 10:53:49
21                  MS. MEEK:     For the record, we just                       10:53:50
22      paused at 1 minute and 23 seconds, where                                10:53:52
23      Mr. Sandmann pointed out where he was standing.                         10:53:56
24                  (Thereupon, a video recording from                          10:54:08
25      Exhibit 3 was played.)                                                  10:54:12


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1                  MS. MEEK:     We just paused 1 hour, 7                       10:54:24
2       minutes and 57 seconds in Exhibit 3.                                    10:54:28
3       BY MR. SIEGEL:                                                          10:54:30
4             Q.   Okay.    So you heard in this he is                          10:54:30
5       calling to the group and calling them incest                            10:54:32
6       babies?                                                                 10:54:38
7             A.   Correct.                                                     10:54:38
8             Q.   Trailer park babies?                                         10:54:38
9             A.   Correct.                                                     10:54:40
10            Q.   And without playing the whole video,                         10:54:41
11      would it be fair to say that you already heard at                       10:54:44
12      different points he called you crackers, pool                           10:54:47
13      shooters, right?                                                        10:54:50
14            A.   Right.                                                       10:54:52
15            Q.   Okay.    How did the things that they were                   10:54:55
16      saying make you feel?                                                   10:55:00
17            A.   I mean, I was upset by it.        It -- I was                10:55:03
18      kind of -- I mean, I was just -- I was upset,                           10:55:09
19      confused and a little worried at why they were                          10:55:13
20      spending so much time and energy insulting us.                          10:55:17
21      It didn't make a whole lot of sense.                                    10:55:21
22                 As you can see, we are kind of -- there                      10:55:24
23      was like 20 feet of space now in between us and                         10:55:27
24      them, and they are still focused on yelling at                          10:55:30
25      us.                                                                     10:55:33


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1             Q.    What were you a little worried about?                       10:55:33
2             A.    Well, it didn't seem particularly                           10:55:36
3       friendly.     And talking about how Washington was a                    10:55:39
4       culture shock, I had never seen a group of adults                       10:55:45
5       get so angry at kids or whatever, which kind of                         10:55:50
6       felt not -- not okay to me.          And that, you know,                10:55:56
7       this is something I hadn't experienced before.                          10:56:01
8             Q.    Okay.     I will show you later, but you                    10:56:03
9       said to Savannah Guthrie that you felt                                  10:56:14
10      threatened.        How so?   Is that -- is that right?                  10:56:18
11            A.    Yes.     I felt threatened for the reason I                 10:56:20
12      was describing, in that I had never seen adults                         10:56:23
13      so angry at a group of kids, especially since I                         10:56:26
14      hadn't -- really hadn't done anything to them.                          10:56:30
15            Q.    And I think you said in your statement                      10:56:33
16      that they were taunting.         Did you feel like they                 10:56:35
17      were taunting you?                                                      10:56:39
18            A.    I think so.                                                 10:56:40
19            Q.    What do you -- what do you mean?          How               10:56:40
20      so?                                                                     10:56:44
21            A.    Well, my impression of them was that --                     10:56:44
22      and when I found out that they had been harassing                       10:56:47
23      other groups as well, that they were taunting the                       10:56:51
24      Native Americans, us, anyone that would come up                         10:56:54
25      to them, to try and get a reaction or something.                        10:56:58


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                             Transcript of Nicholas Sandmann
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1       Because they kind of thrive off controversy, and                        10:57:02
2       they would be saying things that most people                            10:57:08
3       don't agree with.                                                       10:57:10
4           Q.     I mean, they said a lot of things about                      10:57:11
5       Trump, right?                                                           10:57:14
6           A.     Right.                                                       10:57:14
7           Q.     Fair to say, negative things about                           10:57:15
8       Trump, right?                                                           10:57:18
9           A.     Right.                                                       10:57:19
10          Q.     And you mentioned before you thought                         10:57:20
11      they were mocking Billy Bart when they talking                          10:57:22
12      about Trump.      Did you feel like they were mocking                   10:57:26
13      the group when they talked about that?                                  10:57:29
14          A.     I don't know if -- when they were                            10:57:31
15      talking about Trump, I don't -- I -- yes, they                          10:57:32
16      would have been mocking us for wearing his stuff,                       10:57:35
17      and they claimed that we were supporting it,                            10:57:39
18      blah, blah, blah, epithets.                                             10:57:42
19          Q.     Did you think that any of the things                         10:57:45
20      that the Black Hebrew Israelites were saying were                       10:57:47
21      racist?                                                                 10:57:54
22          A.     Yes.                                                         10:57:55
23          Q.     How so?                                                      10:57:56
24          A.     They called white people crackers.            They           10:57:58
25      called the African American student with us Uncle                       10:58:01


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                            Transcript of Nicholas Sandmann
                           Conducted on 9/13/2021 & 9/14/2021              82

1       Tom and a sellout for being around us.          They told               10:58:05
2       the African American student that we were -- like                       10:58:12
3       us as white people were going to harvest his                            10:58:15
4       organs and blah, blah, blah, which seemed really                        10:58:19
5       racist to me.                                                           10:58:23
6           Q.     Why did you think that calling him an                        10:58:25
7       Uncle Tom was racist?                                                   10:58:27
8           A.     Calling the student with us an Uncle                         10:58:30
9       Tom?                                                                    10:58:33
10          Q.     Yes.   Yes.                                                  10:58:34
11          A.     Because, as we talked about earlier, my                      10:58:35
12      understanding was it was a derogatory term.             And             10:58:37
13      to me, what I understood was that the Hebrew                            10:58:41
14      Israelites were basically calling him less of an                        10:58:45
15      African American than they were.                                        10:58:51
16                 MR. SIEGEL:    Okay.     Let's go to 1                       10:59:04
17      minute, 7 minutes and 57 seconds.                                       10:59:07
18                 Wait a second.     So we are going to play                   10:59:11
19      this through and then I'm going to go back and                          10:59:13
20      ask you a couple specific questions.          But I want                10:59:16
21      you to watch it through, and then we will go back                       10:59:19
22      a little bit.     Okay?                                                 10:59:22
23                 THE WITNESS:     Okay.                                       10:59:23
24                 (Thereupon, a video recording of Exhibit                     10:59:47
25      3 was played.)                                                          10:59:47


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                             Transcript of Nicholas Sandmann
                            Conducted on 9/13/2021 & 9/14/2021             83

1                  MS. MEEK:     I just paused Exhibit 3 at 1                   10:59:47
2       hour, 8 minutes and 19 seconds.                                         10:59:49
3                  MR. SIEGEL:     Okay.     Let's go back to                   10:59:52
4       1:08:05.                                                                10:59:54
5                  (Thereupon, a video recording of Exhibit                     11:00:11
6       3 was played.)                                                          11:00:11
7       BY MR. SIEGEL:                                                          11:00:11
8           Q.     So here he says:        When was it great?                   11:00:11
9       You hear something from the crowd, and he says:                         11:00:14
10      Exactly.                                                                11:00:17
11          A.     Uh-huh.                                                      11:00:17
12          Q.     Could you tell what was being said from                      11:00:18
13      the crowd?                                                              11:00:21
14          A.     No.                                                          11:00:21
15          Q.     Does it sound like to you that someone                       11:00:22
16      used the word lynchings?                                                11:00:25
17          A.     No, not at all.                                              11:00:27
18                 MR. SIEGEL:     Listen to it again.                          11:00:29
19                 (Thereupon, a video recording from                           11:00:34
20      Exhibit 3 was played.)                                                  11:00:38
21      BY MR. SIEGEL:                                                          11:00:47
22          Q.     Okay.     Can you tell what's being said?                    11:00:47
23          A.     That's what it sounds like to me, but I                      11:00:50
24      don't -- I can't say if these students right                            11:00:54
25      there on the end that are dressed mostly in all                         11:00:58


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                              Transcript of Nicholas Sandmann
                             Conducted on 9/13/2021 & 9/14/2021            84

1       black or whatever, not like the students on the                         11:01:01
2       left side are Cov Cath students.                                        11:01:05
3                   MR. SIEGEL:     Okay.    Let's play it one                  11:01:15
4       more time.                                                              11:01:19
5                   (Thereupon, a video recording from                          11:01:21
6       Exhibit 3 was played.)                                                  11:01:27
7       BY MR. SIEGEL:                                                          11:01:34
8           Q.      So after he says that, where you say                        11:01:34
9       sounds like it may be lynching, do you hear                             11:01:38
10      people laughing?                                                        11:01:41
11          A.      Yes.                                                        11:01:42
12          Q.      Can you tell whether the Cov Cath --                        11:01:43
13      some of the people laughing were Cov Cath                               11:01:45
14      students?                                                               11:01:48
15          A.      I cannot.                                                   11:01:48
16          Q.      Do you think it's possible?                                 11:01:49
17          A.      It could be.     I mean, I -- these                         11:01:51
18      students I know are Cov Cath.          I see students I                 11:01:54
19      don't know, and I hear laughing.            But I mean from             11:01:57
20      this angle, I can't -- I can't tell anything.                           11:02:02
21          Q.      Okay.    Was it appropriate to laugh at                     11:02:07
22      that moment in your opinion?                                            11:02:09
23                  MR. McMURTRY:      Objection.     Go ahead.                 11:02:10
24          A.      I don't agree with it.        I wouldn't have               11:02:11
25      laughed.                                                                11:02:14


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                             Transcript of Nicholas Sandmann
                            Conducted on 9/13/2021 & 9/14/2021             85

1       BY MR. SIEGEL:                                                          11:02:15
2           Q.     Why?                                                         11:02:15
3                  MR. McMURTRY:      Objection.    Go ahead.                   11:02:16
4           A.     Because I think that it's not                                11:02:18
5       appropriate to tell an African American that                            11:02:22
6       lynchings were great, even as a joke, and then                          11:02:28
7       laugh about it.                                                         11:02:31
8                  MR. SIEGEL:     Okay.    Let's restart it                    11:02:32
9       at right where you are.                                                 11:02:37
10                 (Thereupon, a video recording from                           11:02:39
11      Exhibit 3 was played.)                                                  11:02:42
12      BY MR. SIEGEL:                                                          11:02:46
13          Q.     You hear somebody that says, right,                          11:02:46
14      since you had us in slavery, you bastards, right?                       11:02:49
15          A.     Yes.                                                         11:02:51
16          Q.     And somebody -- you hear somebody                            11:02:52
17      saying, that's right?                                                   11:02:53
18          A.     Right.                                                       11:02:55
19          Q.     Do you know who that was?                                    11:02:56
20          A.     No.     And from this angle, there's even                    11:02:57
21      more people on this right side that I don't know                        11:03:01
22      and, frankly, don't look like they are a part of                        11:03:04
23      our group.                                                              11:03:07
24          Q.     Okay.     Would it be fair to say that                       11:03:10
25      someone could perceive that exchange as                                 11:03:17


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                             Transcript of Nicholas Sandmann
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1       responding to the insults of the B -- BHI with                          11:03:19
2       racial insult?                                                          11:03:27
3           A.     Yeah.                                                        11:03:28
4           Q.     Okay.    Can you say for sure whether you                    11:03:30
5       heard every single thing that every student said                        11:03:35
6       throughout the whole incident?                                          11:03:39
7                  MR. McMURTRY:      Objection.                                11:03:40
8           A.     I would assume that there had to be                          11:03:41
9       things I missed.                                                        11:03:44
10      BY MR. SIEGEL:                                                          11:03:45
11          Q.     Okay.    And can you say for sure whether                    11:03:45
12      every single thing every student said from                              11:03:49
13      anywhere in the crowd can be heard on any video?                        11:03:52
14          A.     That is more of a difficult question                         11:03:56
15      because there were a lot of camera angles                               11:04:02
16      dispensed throughout the crowd.          But I would                    11:04:05
17      certainly say it's possible that there could have                       11:04:08
18      been things said that weren't picked up on a                            11:04:10
19      camera.                                                                 11:04:13
20          Q.     Okay.    Did you hear any student say to                     11:04:14
21      any of the Black Hebrew Israelites:          Can you even               11:04:18
22      read?                                                                   11:04:22
23          A.     No.                                                          11:04:23
24          Q.     Can you say for certain whether someone                      11:04:25
25      said that or not?                                                       11:04:28


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                              Transcript of Nicholas Sandmann
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1           A.      I mean --                                                   11:04:29
2                   MR. McMURTRY:      Within his hearing or                    11:04:31
3       maybe somebody that he couldn't hear might have                         11:04:33
4       said it.                                                                11:04:35
5                   MR. SIEGEL:     Right, that's what I mean.                  11:04:35
6       BY MR. SIEGEL:                                                          11:04:37
7           Q.      I understand you didn't hear it.          And               11:04:37
8       I'm not asking you for certain whether you heard                        11:04:38
9       it or not.     But I'm just saying -- okay.         You                 11:04:42
10      can't say for certain whether anyone in the crowd                       11:04:44
11      said that?                                                              11:04:47
12          A.      Right.    I can't say whether that did or                   11:04:48
13      didn't happen.                                                          11:04:50
14          Q.      Okay.    Do you think if someone did say                    11:04:51
15      that, that would have been an appropriate thing                         11:04:53
16      to say?                                                                 11:04:55
17          A.      No, I do not.                                               11:04:56
18          Q.      Okay.    And why is that?                                   11:04:57
19          A.      Because based off the history of African                    11:04:58
20      Americans in this country, at one point they                            11:05:02
21      weren't allowed to learn how to read.            So to ask              11:05:04
22      them that would be pretty insensitive.                                  11:05:10
23          Q.      Did you ever -- strike that.         I will                 11:05:13
24      rephrase.                                                               11:05:19
25                  How did the group come to do what you                       11:05:23


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                             Transcript of Nicholas Sandmann
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1       call the school spirit cheers?                                          11:05:28
2           A.     I -- much like the exhibit before, I saw                     11:05:33
3       a couple students go over to the chaperones and                         11:05:37
4       the teachers and ask them if we could do                                11:05:44
5       something to kind of drown out the hateful                              11:05:47
6       remarks that were, you know, being yelled at us.                        11:05:51
7                  MR. SIEGEL:      Okay.                                       11:05:56
8           A.     And in -- and in addition to that, I                         11:05:57
9       found out that the year before, they always do                          11:05:59
10      their school spirit chants with the congressman                         11:06:01
11      for our district on the steps.          So I think it was               11:06:07
12      somewhat of a tradition but also useful.                                11:06:11
13          Q.     Now, when that was done with the                             11:06:14
14      congressman, right, Congressman Matthews?                               11:06:16
15          A.     Yes.                                                         11:06:21
16          Q.     Was that done on the steps of the                            11:06:22
17      memorial or the steps of the Capitol?                                   11:06:23
18          A.     I'm not sure.                                                11:06:25
19          Q.     Okay.     You said you saw it -- was it the                  11:06:33
20      last exhibit where you saw the kids go over to                          11:06:35
21      the chaperone?                                                          11:06:38
22          A.     No.     No.   I -- I witnessed that myself.                  11:06:39
23                 MR. SIEGEL:      Oh, okay.                                   11:06:42
24          A.     And in a previous exhibit, a student                         11:06:42
25      testified or whatever the same thing that I                             11:06:47


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                             Transcript of Nicholas Sandmann
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1       witnessed that we wanted to drown them out.                             11:06:49
2           Q.     Oh, okay.     So I just want to be clear                     11:06:54
3       here.    You didn't mean one of the things -- one                       11:06:58
4       of the video clips we just saw?                                         11:07:01
5           A.     No.                                                          11:07:03
6           Q.     That is not what you were referring to?                      11:07:03
7           A.     No.                                                          11:07:05
8           Q.     Did you talk to any of the chaperones                        11:07:05
9       about that?                                                             11:07:13
10          A.     I personally did not ask about the                           11:07:14
11      spirit chants.                                                          11:07:17
12          Q.     So how did you come to -- how did it --                      11:07:18
13      strike that.                                                            11:07:24
14                 How did you come to learn that that's                        11:07:25
15      what was going to happen?                                               11:07:29
16          A.     Because after the seniors who had gotten                     11:07:30
17      permission, I think they went down in front of                          11:07:39
18      everyone, just kind of yelled at everyone, like                         11:07:42
19      this is what -- you know, get in formation or                           11:07:44
20      whatever they said, and kind of notified everyone                       11:07:48
21      that we were going to do that.                                          11:07:54
22          Q.     Do you know who any of the students who                      11:07:55
23      asked for permission were?                                              11:07:57
24          A.     No.                                                          11:07:59
25          Q.     Okay.    Do you know Mr. Kleier?       Was he                11:08:07


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                              Transcript of Nicholas Sandmann
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1       Phillips coming over.        I would say that they were                 11:13:19
2       a little puzzled.        They didn't expect school                      11:13:22
3       spirit chants to be the response that they would                        11:13:26
4       get.     I think they are used -- usually used to                       11:13:29
5       dealing with people that are mad at them for what                       11:13:32
6       they are saying or aggressive, and we were kind                         11:13:35
7       of doing our own thing.                                                 11:13:38
8           Q.      And I'm just going to use the term BHI                      11:13:40
9       from now on for --                                                      11:13:48
10          A.      Okay.                                                       11:13:51
11          Q.      Would it be fair to say that trying to                      11:13:51
12      counter a group of people by drowning them out is                       11:13:55
13      not a friendly gesture towards them?                                    11:13:58
14          A.      I think so.     But at that point, I don't                  11:14:00
15      think there was a chance of us being friends with                       11:14:04
16      them after what they had said about us.                                 11:14:09
17          Q.      Okay.    Could that be perceived as a                       11:14:12
18      hostile gesture?                                                        11:14:15
19          A.      If -- if you want to say that doing high                    11:14:18
20      school spirit chants is hostile, then that is                           11:14:23
21      your prerogative, I guess, anyone who would say                         11:14:27
22      that.                                                                   11:14:31
23          Q.      Did you assume that everybody around the                    11:14:32
24      Lincoln Memorial knew that those were high school                       11:14:34
25      spirit chants?                                                          11:14:37


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                              Transcript of Nicholas Sandmann
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1           A.      I think they were pretty obvious.             At            11:14:37
2       one point, we said, we've got spirit; yes, we do;                       11:14:40
3       we've got spirit, how about you?                                        11:14:45
4           Q.      Okay.    And do you assume that everybody                   11:14:47
5       at the Lincoln Memorial would know that the sumo                        11:14:49
6       cheer was a high school spirit chant?                                   11:14:51
7           A.      I mean, to me, we had done other ones,                      11:14:54
8       and it seemed commonly associated with sporting                         11:14:56
9       events.     At least in my own estimation, I thought                    11:15:00
10      it was kind of clear that we were -- we weren't                         11:15:03
11      being very aggressive.                                                  11:15:06
12          Q.      Do you assume that everybody at the                         11:15:07
13      Lincoln Memorial area that day had been to sports                       11:15:10
14      games and heard those cheers?                                           11:15:20
15          A.      I mean, the spirit one is basic, and I                      11:15:22
16      would assume most people go to -- I mean, sports                        11:15:25
17      are almost like -- how do you avoid them, you                           11:15:27
18      know?     Like, high school games are very common.                      11:15:30
19                  I mean, looking back on it now, I guess                     11:15:32
20      some people might not be familiar with some of                          11:15:35
21      the cheers we did.        But I thought one or two of                   11:15:37
22      them would be common or recognizable.                                   11:15:40
23          Q.      Now, that is true in your life                              11:15:49
24      experience.     Do you think it's true in anyone's                      11:15:52
25      life experience?                                                        11:15:55


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1                  MR. McMURTRY:      To see sports?                            11:15:56
2       BY MR. SIEGEL:                                                          11:15:59
3           Q.     To -- to -- to recognize those cheers as                     11:15:59
4       high school spirit cheers.                                              11:16:03
5                  MR. McMURTRY:      Okay.   I don't --                        11:16:06
6       BY MR. SIEGEL:                                                          11:16:06
7           Q.     To recognize what you guys were doing as                     11:16:06
8       high school spirit cheers.                                              11:16:08
9           A.     I -- I still believe that a bunch of                         11:16:13
10      high school students doing these organized                              11:16:17
11      recitations of things would come across pretty                          11:16:22
12      obvious as something rehearsed that is a part of                        11:16:25
13      the school.                                                             11:16:28
14          Q.     Okay.    And so if somebody says -- were                     11:16:32
15      to say, I had no idea that that's what those                            11:16:36
16      were, would you say they were lying?                                    11:16:43
17                 MR. McMURTRY:      Objection.    Go ahead.                   11:16:46
18          A.     I wouldn't accuse them of lying, but I                       11:16:47
19      would accuse them of taking something out of                            11:16:49
20      context, if you were to take a rehearsed action                         11:16:52
21      and call that some -- some war cry aggressive                           11:16:57
22      kind of chant.                                                          11:17:03
23      BY MR. SIEGEL:                                                          11:17:18
24          Q.     Okay.    If someone were to perceive it as                   11:17:18
25      you just described it, would they not be entitled                       11:17:21


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                                 Transcript of Nicholas Sandmann
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1       to their opinion?                                                       11:17:30
2             A.       Yes, they are entitled.        Everyone is               11:17:31
3       entitled to their opinion.            I think it's                      11:17:33
4       extremely hyperbolic, though.                                           11:17:36
5             Q.       I'm just curious, Nick.        What percentage           11:17:38
6       of Americans do you think have attended a high                          11:17:41
7       school football event?                                                  11:17:45
8             A.       I have no idea.                                          11:17:47
9             Q.       You have no idea?                                        11:17:48
10            A.       I have no idea.      I would assume that                 11:17:50
11      most -- almost everyone has been to high school.                        11:17:54
12      And if they have not been to one, are at least                          11:17:57
13      aware that they exist.                                                  11:18:01
14            Q.       Okay.    And they would -- and do you                    11:18:02
15      believe that almost every American would identify                       11:18:04
16      what you guys did at the Lincoln Memorial as a                          11:18:11
17      high school spirit cheer?                                               11:18:14
18            A.       Oh, I don't know how they would perceive                 11:18:17
19      it.        But, I mean, to me, it seems pretty obvious                  11:18:19
20      that what we were doing was something that we                           11:18:23
21      didn't just randomly come up with.              Because we              11:18:27
22      did several of them.           And we were all on the same              11:18:30
23      page when we did them.            So to me, when you have a             11:18:33
24      bunch of kids doing something the exact same way                        11:18:35
25      and it's not something on a small scale, there                          11:18:39


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                             Transcript of Nicholas Sandmann
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1       are, you know, over a hundred of us and we are                          11:18:41
2       all able to do it the same way, to me it looks                          11:18:43
3       like, oh, that high school obviously practices                          11:18:46
4       and does something like that, you know, more than                       11:18:49
5       just once a year at the March For Life.                                 11:18:52
6                  MR. SIEGEL:     Let's look at the -- I'm                     11:19:04
7       going to show you a clip from the Savannah                              11:19:06
8       Guthrie interview that you did.                                         11:19:14
9                  MS. MEEK:     This is Exhibit 5.      I'm                    11:19:22
10      starting at 8 minutes and 29 seconds.                                   11:19:24
11                 (Thereupon, a video recording from                           11:19:27
12      Exhibit 5 was played.)                                                  11:19:30
13                 MS. MEEK:     I just stopped Exhibit 5 at 9                  11:20:33
14      minutes and 32 seconds.                                                 11:20:36
15      BY MR. SIEGEL:                                                          11:20:38
16          Q.     What were you worried might happen?                          11:20:38
17          A.     The fact that they seemed very                               11:20:40
18      aggressive.    And I mean, I had never really ever                      11:20:43
19      witnessed a fight in my life, but this seemed                           11:20:49
20      like an environment where one potentially could                         11:20:52
21      break out.                                                              11:20:55
22          Q.     Okay.    When you say a fight, do you mean                   11:20:56
23      some kind of physical altercation?                                      11:20:58
24          A.     Correct.                                                     11:21:00
25          Q.     Okay.    And if -- if you were worried                       11:21:01


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                              Transcript of Nicholas Sandmann
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1       about that, would you agree that someone else                           11:21:05
2       watching this could also worry that the situation                       11:21:11
3       could escalate into a physical altercation                              11:21:16
4       between BHI and the students?                                           11:21:19
5           A.      Yes.                                                        11:21:22
6           Q.      Why did you think you would be                              11:21:23
7       outmatched when there were four or five of them                         11:21:26
8       and dozens of you?                                                      11:21:30
9                   MR. McMURTRY:      Objection.    I think there              11:21:31
10      were more than four or five.          But for however                   11:21:33
11      many there were.                                                        11:21:35
12      BY MR. SIEGEL:                                                          11:21:37
13          Q.      Were there?                                                 11:21:37
14          A.      I think they did have one guy that was                      11:21:37
15      kind of back and forth with the camera.            I would              11:21:41
16      total it at about six.                                                  11:21:44
17          Q.      Okay.    Well, we will call it six.                         11:21:46
18          A.      Okay.                                                       11:21:49
19          Q.      It is what it is.      But let's just call                  11:21:49
20      it six.                                                                 11:21:52
21                  So there were six of them, dozens of                        11:21:53
22      you.     Why did you think that you would be                            11:21:55
23      outmatched?                                                             11:21:58
24          A.      Because at this point, I was 16 and like                    11:21:59
25      135 or 140 pounds.        And these guys kind of --                     11:22:08


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                             Transcript of Nicholas Sandmann
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1       they -- I mean, they looked strong to me, at                             11:22:12
2       least in my view of them.        And I just -- I don't                   11:22:15
3       know.    I kind of took my feeling as, you know,                         11:22:21
4       the feeling for how it would probably be for the                         11:22:24
5       rest of us if -- if these guys were -- were not                          11:22:27
6       happy and decided to start something.                                    11:22:32
7                  I think even the most physically fit                          11:22:33
8       kids in our group or whatever, and those were 18                         11:22:37
9       and 19 years old -- I don't know how old these                           11:22:44
10      guys were.     But they definitely developed and                         11:22:46
11      matured, you know, because they have 20 years on                         11:22:49
12      us probably.                                                             11:22:51
13          Q.     Okay.    It would be fair to say that                         11:22:52
14      you -- there were some adult-size teenagers among                        11:22:56
15      your group, right?                                                       11:23:00
16          A.     I would say so, yes.                                          11:23:01
17          Q.     Do you know were there any football                           11:23:03
18      players there?                                                           11:23:05
19          A.     I don't know.                                                 11:23:05
20          Q.     Okay.    In terms of numbers, would it be                     11:23:07
21      fair to say that you far outmatched them?                                11:23:10
22          A.     Correct.                                                      11:23:14
23          Q.     Now, here, essentially, I think you said                      11:23:16
24      there were over -- you believe over a hundred in                         11:23:26
25      your group.                                                              11:23:29


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                             Transcript of Nicholas Sandmann
                            Conducted on 9/13/2021 & 9/14/2021             101

1                  So here you had a group of over a                             11:23:36
2       hundred white teenagers shouting and                                     11:23:38
3       gesticulating at five African American men,                              11:23:42
4       right?                                                                   11:23:47
5                  MR. McMURTRY:      Six.                                       11:23:47
6                  MR. SIEGEL:     Six.                                          11:23:48
7           A.     Can you -- can you repeat that?                               11:23:50
8                  MR. McMURTRY:      With weapons.     I mean, go               11:23:52
9       ahead, yeah.                                                             11:23:52
10          A.     Can you repeat that?                                          11:23:52
11      BY MR. SIEGEL:                                                           11:23:52
12          Q.     Sure.    So you had a group of over a                         11:23:52
13      hundred white teenagers yelling and gesticulating                        11:23:54
14      at six African American men?                                             11:24:00
15          A.     Who had started this entire road that we                      11:24:02
16      were on --                                                               11:24:05
17                 MR. McMURTRY:      Right.                                     11:24:05
18          A.     -- at that point.         And were continuing                 11:24:05
19      to respond as we did things that -- we weren't                           11:24:06
20      even necessarily chanting at them.           I would                     11:24:12
21      disagree with that premise that we were shouting                         11:24:15
22      at them.                                                                 11:24:17
23          Q.     Were you shouting in their direction?                         11:24:21
24          A.     I mean, we were shouting for everyone,                        11:24:23
25      yes.                                                                     11:24:26


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                            Transcript of Nicholas Sandmann
                           Conducted on 9/13/2021 & 9/14/2021              102

1           Q.      And when you did things like the                             11:24:26
2       clenched fist, were you looking at them?                                 11:24:28
3           A.      Yes, I mean --                                               11:24:32
4           Q.      So do you think someone watching over a                      11:24:33
5       hundred white teenagers sort of shouting in the                          11:24:36
6       direction of the African American men, clenching                         11:24:42
7       their fists or otherwise gesticulating in the                            11:24:46
8       direction of the six African American men, and as                        11:24:51
9       you say, the six African men were shouting                               11:24:53
10      insults at the teenagers, do you think somebody                          11:24:59
11      watching that could have perceived that to be a                          11:25:01
12      dangerous situation that might escalate into                             11:25:04
13      violence?                                                                11:25:06
14          A.      Yes, I did.                                                  11:25:07
15                  MR. McMURTRY:     We are at an hour.                         11:25:11
16                  MR. SIEGEL:     One more question.                           11:25:15
17                  MR. McMURTRY:     You break when you want                    11:25:16
18      to break.     I'm just telling you --                                    11:25:18
19                  MR. SIEGEL:     This would be a good                         11:25:20
20      breaking point.                                                          11:25:22
21      BY MR. SIEGEL:                                                           11:25:23
22          Q.      Do you think a person of color might                         11:25:23
23      have been more likely to perceive the situation                          11:25:26
24      that way?                                                                11:25:29
25          A.      I can't speak to that.      I don't know.                    11:25:29


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                             Transcript of Nicholas Sandmann
                            Conducted on 9/13/2021 & 9/14/2021             103

1                  MR. SIEGEL:     Let's take a break.                           11:25:36
2                  THE VIDEOGRAPHER:      We are going off the                   11:25:39
3       record.    The time is 11:25 a.m.                                        11:25:40
4                  (Thereupon, there was a recess taken at                       11:25:45
5       11:25 a.m.)                                                              11:25:45
6                  (Thereupon, the proceedings were resumed                      11:38:22
7       at 11:38 a.m.)                                                           11:38:22
8                  THE VIDEOGRAPHER:      We are back on the                     11:38:50
9       record.    The time is 11:38 a.m.                                        11:38:53
10      BY MR. SIEGEL:                                                           11:38:57
11          Q.     Nick, in the Complaint that you filed                         11:38:57
12      against ABC, paragraph 166 alleges, and I will --                        11:39:01
13      this is a quote, that many people consider the                           11:39:08
14      phrase Making America Great Again and                                    11:39:11
15      particularly wearing a MAGA hat to be the                                11:39:14
16      equivalent of a racist statement.                                        11:39:16
17                 Do you agree that many people consider                        11:39:19
18      that to be the case?                                                     11:39:22
19          A.     Yes.                                                          11:39:23
20          Q.     Okay.    Do you think that someone with                       11:39:23
21      that perspective on the MAGA slogan could have                           11:39:28
22      perceived the group of white teenagers to be                             11:39:32
23      expressing aggression towards the African                                11:39:39
24      American men?                                                            11:39:42
25          A.     If their previous view is that MAGA hats                      11:39:43


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                              Transcript of Nicholas Sandmann
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1       are racist, then, yes, that seems logical.                               11:39:46
2           Q.      Okay.    Let's go to the next exhibit                        11:39:49
3       which -- oh, and just for the record, I will                             11:39:52
4       state that's the same identical allegation that                          11:39:54
5       is in paragraph -- is in paragraph 166 of your                           11:39:56
6       Complaint against CBS, paragraph 210 against NBC,                        11:40:01
7       paragraph 155 against New York Times, paragraph                          11:40:06
8       165 against Rolling Stone and paragraph 182                              11:40:10
9       against Gannett.       Okay.                                             11:40:15
10                  Let's go to Exhibit 7, which for the                         11:40:18
11      record is video 5 of the video stipulation that                          11:40:22
12      the parties entered into.                                                11:40:26
13                  MR. McMURTRY:      Are you going by the                      11:40:28
14      exhibits in order?        Because we -- I think we just                  11:40:29
15      did 4.     We are skipping to 5 now.                                     11:40:32
16                  MR. SIEGEL:     Thanks for pointing that                     11:40:35
17      out.     And please do that again.        Because I'm bad                11:40:37
18      at that.                                                                 11:40:40
19                  Yeah.    We are skipping Exhibit 6.                          11:40:40
20                  MR. McMURTRY:      Okay.                                     11:40:43
21                  MR. SIEGEL:     I mean, Exhibit 6 was the                    11:40:43
22      Complaint.                                                               11:40:46
23                  MR. McMURTRY:      Okay.                                     11:40:46
24                  MR. SIEGEL:     I didn't think we really                     11:40:46
25      needed to -- I have that if we needed it, but --                         11:40:48


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                             Transcript of Nicholas Sandmann
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1       so we will just skip Exhibit 6 and go to Exhibit                         11:40:52
2       7, which is video 5 of the video stipulation the                         11:40:55
3       parties entered into.       And we will just start at                    11:40:58
4       the beginning.                                                           11:41:02
5                  (Thereupon, a video recording of Exhibit                      11:41:04
6       7 was played.)                                                           11:41:12
7       BY MR. SIEGEL:                                                           11:41:38
8           Q.     Now, when you go, we've got spirit, how                       11:41:38
9       about you, right, you guys are pointing out?                             11:41:44
10      Would you agree you are pointing at the BHI?                             11:41:46
11          A.     Yes.                                                          11:41:48
12          Q.     And at the end of that cheer, do you do                       11:41:49
13      a thumbs down, woo?                                                      11:41:52
14          A.     Yeah, we boo.                                                 11:41:53
15          Q.     Boo?                                                          11:41:54
16          A.     Boo.                                                          11:41:55
17          Q.     Okay.    So going thumbs down, and you go                     11:41:56
18      boo?                                                                     11:41:58
19          A.     Yes.                                                          11:41:58
20          Q.     So can that reasonably be perceived that                      11:42:00
21      you were booing the BHI?                                                 11:42:03
22          A.     Yes.                                                          11:42:05
23          Q.     Okay.    And couldn't that be perceived as                    11:42:07
24      a hostile gesture towards them?                                          11:42:12
25          A.     I don't know.                                                 11:42:15


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                             Transcript of Nicholas Sandmann
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1           Q.     Okay.    Now, and I will just state for                       11:42:19
2       the record, this is going to happen a couple of                          11:42:26
3       times, right?                                                            11:42:28
4                  As I'm sure you know, there were often                        11:42:29
5       multiple videos that captured the same part of                           11:42:31
6       the day.    So sometimes I'm going to show you the                       11:42:34
7       same thing from a couple different perspectives,                         11:42:41
8       and this would be an example of one of them.                             11:42:45
9                  So we will go back to Exhibit 3, which                        11:42:47
10      is video 4 of the stipulation.          It's the                         11:42:49
11      Banyamyan video.       And we will start at 1 hour and                   11:42:52
12      9 minutes and 13 seconds.                                                11:42:58
13                 (Thereupon, a video recording of Exhibit                      11:43:03
14      3 was played.)                                                           11:43:06
15                 MS. MEEK:     For the record, I went                          11:43:40
16      forward a bit to 1:09:15.                                                11:43:42
17                 MR. SIEGEL:     Let's go just a little bit                    11:43:45
18      more.    All right.     Stop.                                            11:43:48
19      BY MR. SIEGEL:                                                           11:43:50
20          Q.     Nick, do you see that there is a student                      11:43:50
21      who looks like he is wearing blue who takes a                            11:43:53
22      water bottle from another student and rolls it                           11:43:57
23      out?                                                                     11:44:00
24          A.     No, I can't see that.                                         11:44:00
25                 MR. SIEGEL:     All right.     Let's watch it                 11:44:02


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1       again.                                                                   11:44:04
2                  (Thereupon, a video recording from                            11:44:05
3       Exhibit 3 was played.)                                                   11:44:09
4                  MR. SIEGEL:     Jessie, why don't you point                   11:44:11
5       to what we want Nick to be looking at.           Right                   11:44:14
6       there.                                                                   11:44:17
7                  THE WITNESS:     Okay.                                        11:44:18
8                  MR. SIEGEL:     Okay.    And let's play that                  11:44:48
9       one more time in realtime.                                               11:44:50
10                 Again, if you could point Nick, before                        11:44:52
11      you start, to where he should be focused.            Like                11:44:55
12      right there.                                                             11:45:01
13                 THE WITNESS:     I've got it.                                 11:45:03
14      BY MR. SIEGEL:                                                           11:45:05
15          Q.     See it?                                                       11:45:05
16          A.     Yeah.                                                         11:45:06
17          Q.     You saw it the last time?                                     11:45:06
18          A.     Yeah.                                                         11:45:07
19          Q.     Okay.     You saw there is a student who                      11:45:08
20      takes a water bottle from someone and rolls it                           11:45:10
21      out?                                                                     11:45:14
22          A.     Yes.                                                          11:45:14
23          Q.     Do you know who was that?                                     11:45:15
24          A.     I can't see.                                                  11:45:16
25          Q.     You can't see who it was?        Okay.    You                 11:45:17


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1       may be able to see it later on in another video.                         11:45:20
2                  Did you notice that at the time?                              11:45:24
3           A.     No.                                                           11:45:26
4           Q.     Okay.    We will show you some more of                        11:45:28
5       that.                                                                    11:45:30
6                  What do you think was the point of that?                      11:45:38
7                  MR. McMURTRY:      Objection.    Go ahead.                    11:45:40
8           A.     I have no idea.                                               11:45:41
9                  MR. SIEGEL:     Okay.    Let's -- let's watch                 11:45:43
10      a little more.                                                           11:45:48
11                 (Thereupon, a video recording of Exhibit                      11:45:49
12      3 was played.)                                                           11:45:52
13                 MR. SIEGEL:     Yeah.    Go ahead to --                       11:45:54
14      BY MR. SIEGEL:                                                           11:46:09
15          Q.     Okay.    Can you tell who that was?                           11:46:09
16          A.     I think that's Charlie, but I don't                           11:46:10
17      know.                                                                    11:46:13
18          Q.     You think that is Charlie again?                              11:46:14
19                 MR. SIEGEL:     Okay.    Let's go another 7                   11:46:18
20      seconds.                                                                 11:46:20
21                 MS. MEEK:     And where we just paused is                     11:46:20
22      Exhibit 3 at 1:09:26.       So now I'm continuing on.                    11:46:21
23                 (Thereupon, a video recording of Exhibit                      11:46:27
24      3 was played.)                                                           11:46:33
25                 MS. MEEK:     I just paused at 1:09:33.                       11:46:35


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1       BY MR. SIEGEL:                                                           11:46:38
2           Q.     Okay.     Having seen that whole thing --                     11:46:38
3       now, you're -- you're standing right there,                              11:46:41
4       right?                                                                   11:46:42
5           A.     Yes.                                                          11:46:43
6           Q.     So do you think you did see that at the                       11:46:43
7       time?                                                                    11:46:45
8           A.     Yeah.     I saw him run back.     I was -- I                  11:46:46
9       thought you meant in reference to if he rolled it                        11:46:48
10      out initially.                                                           11:46:51
11                 I'm kind of blocked off.        I wouldn't                    11:46:52
12      have seen, you know, 90 degrees to my right.             I               11:46:55
13      wasn't paying attention.                                                 11:47:00
14          Q.     So when you saw this at the time, did                         11:47:02
15      you have any impressions of what was happening?                          11:47:06
16          A.     No.     To me, it looks like Charlie is                       11:47:09
17      just trying to be funny and throw something out                          11:47:13
18      there that he then immediately goes, gets and                            11:47:17
19      comes back.                                                              11:47:21
20          Q.     And do you think that is funny?                               11:47:21
21          A.     I mean, personally, no.        But students                   11:47:26
22      there laughed.                                                           11:47:32
23          Q.     Okay.     You saw that -- he was the same                     11:47:36
24      student before who held up that Trump water                              11:47:43
25      bottle?                                                                  11:47:45


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1           A.     Correct.                                                      11:47:46
2           Q.     Okay.     Do you think that there was some                    11:47:46
3       significance to the fact that he chose that water                        11:47:51
4       bottle to roll out?                                                      11:47:53
5                  MR. McMURTRY:      Objection.                                 11:47:55
6           A.     I -- I don't know if he had -- with the                       11:47:55
7       water bottle, I don't know.                                              11:48:02
8       BY MR. SIEGEL:                                                           11:48:03
9           Q.     Okay.     That wasn't the spirit cheer,                       11:48:03
10      right?                                                                   11:48:05
11          A.     No.     That was just Charlie.                                11:48:06
12          Q.     Okay.     Do you -- do you think that that                    11:48:08
13      was intended as a positive gesture towards the                           11:48:21
14      BHI?                                                                     11:48:24
15                 MR. McMURTRY:      Objection.    Go ahead.                    11:48:25
16          A.     No.     I -- I don't know what Charlie was                    11:48:25
17      doing.                                                                   11:48:28
18                 MR. SIEGEL:     Okay.                                         11:48:29
19          A.     Sorry.     I would assume just make some                      11:48:30
20      kids laugh.                                                              11:48:33
21                 MR. SIEGEL:     Okay.    Let's go to                          11:48:42
22      Exhibit -- back to Exhibit 7, video 5.            And we                 11:48:46
23      will look at some of that from a different angle.                        11:48:50
24      Start at 50 seconds.                                                     11:48:55
25                 (Thereupon, a video recording of Exhibit                      11:48:57


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                             Transcript of Nicholas Sandmann
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1       7 was played.)                                                           11:49:02
2       BY MR. SIEGEL:                                                           11:49:13
3           Q.     Did you hear somebody shout Trump water?                      11:49:13
4           A.     I didn't hear it in all the yelling.                          11:49:17
5           Q.     Do you hear it on the video?                                  11:49:20
6           A.     No.     That's what I'm saying.      I --                     11:49:22
7                  MR. SIEGEL:     Let's play it again.                          11:49:26
8                  MS. MEEK:     I'm playing from 50 seconds                     11:49:39
9       to 1 minute and 2 seconds.                                               11:49:41
10                 (Thereupon, a video recording of Exhibit                      11:49:59
11      7 was played.)                                                           11:49:59
12      BY MR. SIEGEL:                                                           11:49:59
13          Q.     Okay.     Did you hear it that time?                          11:49:59
14          A.     Yes.                                                          11:50:01
15          Q.     Okay.     That wasn't a school spirit                         11:50:02
16      cheer, right?                                                            11:50:05
17          A.     No.                                                           11:50:06
18          Q.     Did you notice that at the time?            Did               11:50:06
19      you hear that at the time?                                               11:50:09
20          A.     I -- I think I saw Charlie run out.               But         11:50:11
21      I'm pretty sure in this frame I start to move.                 I         11:50:15
22      wasn't -- I didn't really pay attention to it.                           11:50:19
23          Q.     So did you say that?                                          11:50:22
24          A.     No.                                                           11:50:25
25          Q.     Okay.     And remember the picture of the                     11:50:25


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                             Transcript of Nicholas Sandmann
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1       water bottle we showed you before?          Would you                    11:50:30
2       agree that that was the same water bottle that                           11:50:37
3       Charlie had been showing before?                                         11:50:39
4           A.     Yes.                                                          11:50:41
5           Q.     Would yelling out Trump water in that                         11:50:41
6       moment -- what do you think of that?                                     11:50:53
7           A.     To me, what I make of that is that it's                       11:50:55
8       an all-boys' school humor and that he threw the                          11:51:01
9       water bottle out there so he could look funny                            11:51:07
10      having to go out and like pick it up right in                            11:51:11
11      front of them.      And that is how I look at it as.                     11:51:14
12          Q.     Okay.    And I asked you specifically,                        11:51:17
13      though, about yelling out Trump water when he is                         11:51:19
14      doing that, what do you think of that?                                   11:51:22
15          A.     I think the other student called out                          11:51:23
16      Trump water because he saw Charlie throw out the                         11:51:26
17      Trump water.                                                             11:51:29
18          Q.     Is that something you would have been                         11:51:31
19      comfortable saying in that context?                                      11:51:34
20          A.     Yeah.    I mean, I don't -- I don't see                       11:51:37
21      anything particularly wrong with saying the name                         11:51:41
22      of a water bottle.                                                       11:51:43
23          Q.     Do you think that the student was trying                      11:51:45
24      to communicate anything to the BHI by saying that                        11:51:47
25      in that context?                                                         11:51:51


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                             Transcript of Nicholas Sandmann
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1           A.     No.                                                           11:51:52
2           Q.     Do you think he was taunting the BHI by                       11:51:54
3       saying that?                                                             11:51:58
4                  MR. McMURTRY:      Objection.                                 11:51:59
5           A.     No.                                                           11:51:59
6       BY MR. SIEGEL:                                                           11:52:00
7           Q.     I mean, that's your interpretation of                         11:52:00
8       it, right?                                                               11:52:02
9           A.     Right, I don't --                                             11:52:03
10          Q.     You don't know, right?                                        11:52:05
11          A.     I don't -- I don't know, but I don't                          11:52:06
12      think he was.                                                            11:52:08
13          Q.     Okay.    Is it fair to say that someone                       11:52:08
14      else watching the same thing could disagree with                         11:52:11
15      you?                                                                     11:52:14
16          A.     They could.                                                   11:52:14
17          Q.     And I take it that they could honestly                        11:52:18
18      disagree with you?                                                       11:52:34
19          A.     I suppose, yeah.                                              11:52:35
20                 MR. SIEGEL:     All right.      Let's go back                 11:52:38
21      to 50 seconds.                                                           11:52:44
22                 (Thereupon, a video recording of Exhibit                      11:52:47
23      7 was played.)                                                           11:52:50
24                 MS. MEEK:     I just stopped Exhibit 7 at                     11:53:07
25      one minute and 7 seconds.                                                11:53:10


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                             Transcript of Nicholas Sandmann
                            Conducted on 9/13/2021 & 9/14/2021             114

1       BY MR. SIEGEL:                                                           11:53:12
2             Q.   He said:     You all outnumber us and you                     11:53:12
3       all keeping you all's distance, right?           There is                11:53:16
4       a reason for that.       You don't see the angels                        11:53:20
5       around us.       You couldn't touch us if you wanted                     11:53:22
6       to.                                                                      11:53:25
7                  Did you hear that at the time?                                11:53:25
8             A.   I -- yeah.                                                    11:53:27
9             Q.   Okay.     How do you interpret what he's                      11:53:28
10      saying?    What do you understand him to mean?                           11:53:30
11            A.   To me, it sounds pretty provocative,                          11:53:32
12      like they are asking for a fight.                                        11:53:36
13            Q.   Okay.     Does it seem to suggest that he                     11:53:38
14      might think that you guys wanted to touch them?                          11:53:48
15            A.   No.     Because we hadn't mentioned                           11:53:51
16      anything about fighting them.         And then he goes                   11:53:55
17      to say:    You couldn't touch us if you wanted to.                       11:53:58
18            Q.   Okay.     You said that you thought that                      11:54:02
19      that was provocative?                                                    11:54:10
20            A.   Yes.                                                          11:54:12
21            Q.   So was this a part of what made you                           11:54:12
22      concerned that there -- this might escalate into                         11:54:16
23      some kind of physical confrontation?                                     11:54:19
24            A.   Yes.     Sorry.                                               11:54:21
25                 MR. SIEGEL:       That's okay.   Okay.    Let's               11:54:24


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                            Transcript of Nicholas Sandmann
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1       start at -- restart at wherever we stopped.                              11:54:27
2                  (Thereupon, a video recording of Exhibit                      11:54:31
3       7 was played.)                                                           11:54:34
4       BY MR. SIEGEL:                                                           11:54:41
5           Q.     Do you hear people --                                         11:54:41
6                  MS. MEEK:    I just paused Exhibit 7 at 1                     11:54:42
7       minute and 15 seconds.                                                   11:54:45
8       BY MR. SIEGEL:                                                           11:54:47
9           Q.     Do you hear some people saying Trump,                         11:54:47
10      Trump?                                                                   11:54:50
11                 Did you say that?                                             11:54:51
12          A.     No.                                                           11:54:52
13          Q.     So did you join in to that?        Did you                    11:54:52
14      hear that at the time?                                                   11:54:55
15          A.     Yes.                                                          11:54:55
16          Q.     Why didn't you join in?                                       11:54:56
17          A.     Well, not everyone was chanting it, and                       11:54:59
18      I didn't really feel the need to.                                        11:55:02
19          Q.     Is that something you would have been                         11:55:04
20      comfortable saying to BHI?                                               11:55:06
21          A.     I don't -- I don't think I would have                         11:55:11
22      been comfortable with it.                                                11:55:15
23          Q.     Why?                                                          11:55:17
24          A.     Just because they obviously did not like                      11:55:17
25      Trump, and there wasn't really any need to get                           11:55:21


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                             Transcript of Nicholas Sandmann
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1       them more angry.                                                         11:55:27
2           Q.     So do you think that could have been                          11:55:29
3       perceived as taunting the BHI by saying Trump,                           11:55:31
4       Trump?                                                                   11:55:35
5           A.     It could be.                                                  11:55:36
6           Q.     Okay.    Did you think that's what they                       11:55:37
7       were doing?                                                              11:55:51
8           A.     Did I think the students were trying to                       11:55:52
9       taunt them?                                                              11:55:55
10                 MR. SIEGEL:     Yes, by yelling Trump,                        11:55:56
11      Trump.                                                                   11:55:59
12          A.     I don't -- at the time I wasn't really                        11:56:00
13      thinking about it.       Now, no.                                        11:56:03
14          Q.     And why?     Why is that your opinion?                        11:56:07
15          A.     I think that, if anything, they were                          11:56:11
16      just trying to represent something that they                             11:56:17
17      support, the same way that the Black Hebrew                              11:56:20
18      Israelites were, you know, naming very many                              11:56:24
19      things that they believe in.                                             11:56:31
20          Q.     Okay.    So you think yelling out -- do                       11:56:39
21      you think yelling out Trump, Trump in this                               11:56:41
22      context was no different than if that was yelled                         11:56:44
23      out at the March For Life rally?                                         11:56:47
24          A.     I mean, I don't -- I don't see why it                         11:56:52
25      would be any different.                                                  11:56:56


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                             Transcript of Nicholas Sandmann
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1                  MR. SIEGEL:     Okay.    Let's restart at                     11:58:08
2       1:24.                                                                    11:58:10
3                  (Thereupon, a video recording of Exhibit                      11:58:12
4       7 was played.)                                                           11:58:15
5       BY MR. SIEGEL:                                                           11:58:31
6           Q.     Okay.    So that's the sumo cheer, right?                     11:58:31
7           A.     Right.                                                        11:58:33
8           Q.     Is it fair to say that as you guys are                        11:58:33
9       doing it, you are getting louder?                                        11:58:36
10          A.     Yes.                                                          11:58:38
11                 MR. SIEGEL:     Okay.                                         11:58:39
12                 MS. MEEK:     We just paused at 1:40.         I               11:58:39
13      will restart at 1:40.                                                    11:58:42
14                 (Thereupon, a video recording of Exhibit                      11:58:44
15      7 was played.)                                                           11:58:48
16                 MS. MEEK:     Just paused at 1 minute and                     11:59:00
17      54 seconds.                                                              11:59:03
18      BY MR. SIEGEL:                                                           11:59:03
19          Q.     So, again, when the cheer ends, you are                       11:59:03
20      all looking in the direction of the BHI, right,                          11:59:09
21      shouting with your fists clenched?                                       11:59:13
22          A.     Right.                                                        11:59:15
23          Q.     Including you?      It looks like you have                    11:59:16
24      your fists clenched there?                                               11:59:18
25          A.     Right.                                                        11:59:20


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                              Transcript of Nicholas Sandmann
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1           Q.      Did you intend to express hostility to                       11:59:21
2       the BHI by doing that?                                                   11:59:25
3           A.      No.                                                          11:59:27
4           Q.      Do you assume that everyone at the                           11:59:32
5       Lincoln Memorial knew that that was a high school                        11:59:35
6       cheer?                                                                   11:59:38
7                   MR. McMURTRY:      Objection.    Go ahead.                   11:59:39
8           A.      Maybe not this one.       But the earlier                    11:59:40
9       spirit one, I stand by that one being very easily                        11:59:42
10      readable.                                                                11:59:49
11      BY MR. SIEGEL:                                                           11:59:50
12          Q.      Okay.    And that's the we've got spirit                     11:59:50
13      one in particular?                                                       11:59:55
14          A.      Yes.                                                         11:59:56
15          Q.      Okay.    And these cheers were meant for                     11:59:57
16      sporting events, right, not for Washington, DC?                          12:00:04
17          A.      Yes.                                                         12:00:07
18          Q.      All right.     So for a person who is not                    12:00:08
19      familiar with Covington Catholic, do you think                           12:00:12
20      the cheers could be interpreted differently in                           12:00:16
21      this context than at a sporting event where                              12:00:18
22      Covington is playing?                                                    12:00:23
23          A.      Yes.                                                         12:00:23
24          Q.      And would you agree that a person                            12:00:24
25      watching over 100 white teenage boys responding                          12:00:26


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                             Transcript of Nicholas Sandmann
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1       to BHI by yelling loudly, jumping up and down                            12:00:31
2       with clenched fists held toward them could be an                         12:00:37
3       expression of hostility towards the BHI?                                 12:00:41
4           A.     I agree that you could look at it that                        12:00:44
5       way.                                                                     12:00:47
6           Q.     Okay.    And as an expression of                              12:00:47
7       aggression?                                                              12:00:51
8           A.     If -- if you choose to see it that way,                       12:00:52
9       then sure.                                                               12:00:55
10          Q.     Okay.    Do you think that students taking                    12:00:55
11      their shirt off like that, yelling, jumping up                           12:01:05
12      and down and fronting with clenched fists on the                         12:01:08
13      steps of the Lincoln Memorial in this context was                        12:01:13
14      appropriate conduct?                                                     12:01:16
15          A.     Yes.                                                          12:01:17
16          Q.     Why?                                                          12:01:18
17          A.     Because this is -- and, well, this is                         12:01:18
18      hundreds of times more appropriate than what was                         12:01:20
19      said at us, especially given our age.           This is --               12:01:23
20      this is -- I mean, there were adults here that                           12:01:30
21      were not acting like adults should.          So this to                  12:01:33
22      me looks more than appropriate, given what was --                        12:01:37
23      what situation we were in.                                               12:01:42
24          Q.     Fair to say that that's a matter of                           12:01:44
25      opinion?                                                                 12:01:46


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                             Transcript of Nicholas Sandmann
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1       that wanted him to do it.          I don't know.                         12:03:13
2                  MR. SIEGEL:     Okay.     Let's go back to                    12:03:17
3       Exhibit 7, to video 5, and start it at 2 minutes                         12:03:22
4       and 30 seconds.                                                          12:03:29
5                  (Thereupon, a video recording of Exhibit                      12:03:43
6       7 was played.)                                                           12:03:47
7       BY MR. SIEGEL:                                                           12:04:07
8           Q.     Could you tell what's being shouted                           12:04:07
9       there by the students?                                                   12:04:16
10          A.     No, I can't.                                                  12:04:18
11                 MR. SIEGEL:     Okay.     Let's just listen to                12:04:20
12      it one more time.       And if you can't, you can't.                     12:04:23
13                 THE WITNESS:     Yes.                                         12:04:27
14                 MS. MEEK:     This frame was from 2:30 to                     12:04:27
15      2:37.                                                                    12:04:31
16                 (Thereupon, a video recording from                            12:04:42
17      Exhibit 7 was played.)                                                   12:04:45
18          A.     I can hear hey, hey and ho, ho, but I                         12:04:46
19      can't say -- or I can't hear what else they are                          12:04:52
20      saying.                                                                  12:04:56
21      BY MR. SIEGEL:                                                           12:04:56
22          Q.     Okay.    Did you notice that there was a                      12:04:56
23      kid who's like holding a stick up?                                       12:04:58
24          A.     Yeah.                                                         12:05:00
25          Q.     Do you have any understanding why?                            12:05:03


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                            Transcript of Nicholas Sandmann
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1           A.      No.                                                          12:05:05
2           Q.      Do you think that could be perceived as                      12:05:07
3       a hostile gesture?                                                       12:05:14
4           A.      It could be.                                                 12:05:16
5           Q.      Can you even tell us what they are                           12:05:25
6       shouting here?      Is it -- is it here like a more                      12:05:27
7       organized cheer?                                                         12:05:31
8           A.      I can't tell what it is.                                     12:05:31
9                   MR. SIEGEL:    Okay.   Let's keep going.                     12:05:36
10                  (Thereupon, a video recording from                           12:05:39
11      Exhibit 7 was played.)                                                   12:05:42
12      BY MR. SIEGEL:                                                           12:05:45
13          Q.      Do you see the two guys sort of on the                       12:05:45
14      right side raising their fists and going, Donald                         12:05:49
15      Trump, Donald Trump?                                                     12:05:53
16                  Do you know, are those Covington                             12:05:56
17      students?                                                                12:05:58
18          A.      Again, I don't -- I think these might                        12:05:58
19      have been the kids who said -- the ones shaking                          12:06:01
20      right there.      I don't -- I -- to me, I don't                         12:06:06
21      think they are a part of Cov Cath because                                12:06:08
22      they're -- not wearing clothes that we are and                           12:06:11
23      they are more off to the side.                                           12:06:14
24                  MR. SIEGEL:    Okay.                                         12:06:17
25          A.      I don't recognize them.                                      12:06:17


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                             Transcript of Nicholas Sandmann
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1                  MR. McMURTRY:      Lunch is here when you                     12:06:22
2       are ready -- and when you are -- when you have                           12:06:23
3       reached a point.                                                         12:06:25
4                  MR. SIEGEL:     Maybe ten more minutes,                       12:06:26
5       maybe.    It will be kind of a good segue point.                         12:06:28
6       BY MR. SIEGEL:                                                           12:06:35
7           Q.     Did you notice them at the time doing                         12:06:35
8       that?                                                                    12:06:38
9           A.     No.                                                           12:06:38
10          Q.     What do you think of it, seeing it now?                       12:06:38
11                 MR. McMURTRY:      Objection.    Go ahead.                    12:06:41
12          A.     I mean, I don't agree with it.         I                      12:06:42
13      haven't agreed with a single thing they have done                        12:06:44
14      that I have seen, and -- I mean, if it were up to                        12:06:47
15      me, they wouldn't be behaving like that.                                 12:06:53
16      BY MR. SIEGEL:                                                           12:06:56
17          Q.     Okay.    Why don't you agree with their                       12:06:56
18      going, Donald Trump, Donald Trump, though?                               12:06:59
19                 MR. McMURTRY:      Objection.    Go ahead.                    12:07:02
20          A.     Well, I don't think shaking their fists                       12:07:03
21      does anyone any good.                                                    12:07:07
22      BY MR. SIEGEL:                                                           12:07:09
23          Q.     Okay.    Because it seems aggressive?                         12:07:09
24          A.     Well, to me, it seems like these kids --                      12:07:13
25      and the one of them looks like he has a smile on                         12:07:15


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1       his face, like they want the Hebrew Israelites to                        12:07:18
2       talk to them next.        Maybe they think it's funny.                   12:07:23
3       I don't know.                                                            12:07:28
4           Q.      Okay.    Do you think that they were                         12:07:29
5       responding to the behavior of the Covington                              12:07:33
6       students?                                                                12:07:36
7                   MR. McMURTRY:      Objection.                                12:07:36
8           A.      I mean, it's possible.                                       12:07:37
9                   MR. SIEGEL:     All right.      Let's keep                   12:07:42
10      going.                                                                   12:07:43
11                  MS. MEEK:     We were just discussing 2                      12:07:44
12      minutes and 44 seconds in Exhibit 7.            And now I'm              12:07:45
13      continuing on.                                                           12:07:49
14                  (Thereupon, a video recording from                           12:07:51
15      Exhibit 7 was played.)                                                   12:07:54
16      BY MR. SIEGEL:                                                           12:08:06
17          Q.      Did you know why the students are                            12:08:06
18      shouting there?                                                          12:08:10
19          A.      Because some more kids returned from out                     12:08:10
20      in DC.    They were seniors.                                             12:08:12
21          Q.      Okay.    And what's the connection --                        12:08:15
22      what's the shouting?        What's that responding to?                   12:08:18
23          A.      I think they were just happy or whatever                     12:08:20
24      more of the kids were coming back.                                       12:08:24
25                  MR. SIEGEL:     Okay.    So let's keep                       12:08:27


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1       playing.                                                                 12:08:28
2                  MS. MEEK:     We just stopped at 2 minutes                    12:08:29
3       and 57 seconds.      And now we are continuing on.                       12:08:31
4                  (Thereupon, a video recording from                            12:08:36
5       Exhibit 7 was played.)                                                   12:08:39
6       BY MR. SIEGEL:                                                           12:08:57
7           Q.     Okay.    So you mentioned before that                         12:08:57
8       there were other students who were coming at this                        12:08:59
9       point, right?                                                            12:09:01
10          A.     Yes.                                                          12:09:02
11          Q.     And there are certainly more students                         12:09:02
12      now than there were before?                                              12:09:05
13          A.     Right.                                                        12:09:07
14          Q.     And does it look to you like the group                        12:09:07
15      is getting closer to the BHI as it fills in, some                        12:09:11
16      of the group?                                                            12:09:18
17          A.     Yeah.    Some are closer.                                     12:09:18
18          Q.     Okay.    You said before that it -- you                       12:09:20
19      think it would have been better -- never mind.                           12:09:23
20      You already answered that.                                               12:09:28
21                 MR. McMURTRY:      Thank you.                                 12:09:29
22                 MR. SIEGEL:     Let's go to Exhibit -- back                   12:09:37
23      to Exhibit 3, which is video 4 of the Banyamyan                          12:09:42
24      video.                                                                   12:09:49
25                 MS. MEEK:     And we just stopped at 3:20                     12:09:49


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                          Transcript of Nicholas Sandmann
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1    high school kids.                                                       12:15:30
2       Q.      Okay.     Would you say anyone who                           12:15:31
3    disagrees with you about that was wrong?                                12:15:36
4       A.      No.                                                          12:15:39
5               MR. SIEGEL:     Let's go ten more seconds                    12:15:51
6    of this.                                                                12:15:54
7               MS. MEEK:     Starting at 1:11:47.                           12:15:54
8               (Thereupon, a video recording of Exhibit                     12:15:58
9    3 was played.)                                                          12:16:01
10   BY MR. SIEGEL:                                                          12:16:04
11      Q.      Okay.     So you said before you felt                        12:16:04
12   threatened.       Did you take that as a threat?                        12:16:07
13      A.      Yes.                                                         12:16:10
14              MR. SIEGEL:     Okay.    Lunchtime.                          12:16:16
15              MR. McMURTRY:      Lunchtime.    Thank you.                  12:16:17
16              THE VIDEOGRAPHER:       We are going off the                 12:16:26
17   record.    The time is 12:16 p.m.                                       12:16:28
18              (Thereupon, there was a recess taken at                      12:16:32
19   12:16 p.m.)                                                             12:16:32
20              (Thereupon, the proceedings were resumed                     12:54:58
21   at 12:54 p.m.)                                                          12:54:58
22              THE VIDEOGRAPHER:       We're back on the                    12:54:59
23   record.    The time is 12:55 p.m.                                       12:55:04
24              MR. SIEGEL:     Okay.    So we are now going                 12:55:07
25   to go back to Exhibit 7, which is video 5 of the                        12:55:16


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                          Transcript of Nicholas Sandmann
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1    stip.    Start that at 3 minutes and 20 seconds.                        12:55:21
2    And I'm just going to ask you to explain what is                        12:55:30
3    happening, what the students are doing.                                 12:55:33
4               THE WITNESS:     Okay.                                       12:55:36
5               (Thereupon, a video recording of Exhibit                     12:55:55
6    5 was played.)                                                          12:55:55
7    BY MR. SIEGEL:                                                          12:56:22
8       Q.      So what -- what's happening?                                 12:56:22
9       A.      Everyone is getting ready to do the                          12:56:26
10   victory chant that we discussed at the start of                         12:56:30
11   the deposition.                                                         12:56:32
12              MR. SIEGEL:     Okay.    And where did we                    12:56:34
13   pause?                                                                  12:56:41
14              MS. MEEK:     3:50.                                          12:56:42
15   BY MR. SIEGEL:                                                          12:56:43
16      Q.      So are the four guys who were standing                       12:56:43
17   up, are they like the leaders?                                          12:56:46
18      A.      I would assume.                                              12:56:47
19      Q.      Okay.    And everybody else sits down at                     12:56:48
20   that part of the --                                                     12:56:51
21      A.      Yes.                                                         12:56:51
22      Q.      -- for the stunt?                                            12:56:52
23              Okay.    So before the person who you now                    12:56:52
24   know is Nathan Phillips started approaching the                         12:56:56
25   group, had you noticed him?                                             12:57:01


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                              Transcript of Nicholas Sandmann
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1    that the -- the whole Victory is Our Battle Cry                         12:58:46
2    cheer?                                                                  12:58:51
3          A.       Yes.                                                     12:58:51
4          Q.       And people jumping up, is that part of                   12:58:51
5    that?                                                                   12:58:56
6          A.       Yes.                                                     12:58:56
7          Q.       Okay.     I think you described before what              12:58:56
8    is said during that cheer?                                              12:59:03
9          A.       Uh-huh.                                                  12:59:04
10         Q.       Can you hear if that is what is being                    12:59:05
11   said here?                                                              12:59:08
12         A.       Yes, yes.                                                12:59:08
13         Q.       Do you assume that others watching this                  12:59:09
14   would have any idea what you are saying?                                12:59:12
15         A.       Probably not.      We say the letters very               12:59:14
16   quickly.                                                                12:59:16
17                  MR. SIEGEL:     Okay.    Let's restart at                12:59:32
18   4:24.                                                                   12:59:35
19                  MS. MEEK:     I think we are starting at                 12:59:36
20   4:18, not 4:24.                                                         12:59:38
21                  MR. SIEGEL:     Yes.    I think we can just              12:59:43
22   go.        Because I think Nick just answered what I                    12:59:46
23   was going to ask him anyway at 4:18.                                    12:59:49
24                  (Thereupon, a video recording of Exhibit                 12:59:55
25   7 was played.)                                                          12:59:55


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                           Transcript of Nicholas Sandmann
                          Conducted on 9/13/2021 & 9/14/2021           135

1                MS. MEEK:     We just stopped at 4:55,                      13:00:28
2    still on Exhibit 7.                                                     13:00:31
3    BY MR. SIEGEL:                                                          13:00:32
4          Q.    Okay.    So did you see that -- remind me                   13:00:32
5    of his name again, the last name, the fellow in                         13:00:36
6    the red sweatshirt?                                                     13:00:39
7          A.    Summe.                                                      13:00:41
8          Q.    Summe shouts:      Don't touch him, don't                   13:00:42
9    touch him?                                                              13:00:46
10         A.    Yes.                                                        13:00:47
11         Q.    Any idea why he said that?                                  13:00:48
12         A.    He said the guy in the green                                13:00:50
13   sweatshirt -- or gray/green hooded, that is John                        13:00:51
14   Monterey.     And when John went to turn to film                        13:00:56
15   with his camera, Nathan Phillips hit up against                         13:00:59
16   him and kind of, you know, came in physical                             13:01:04
17   contact with him.                                                       13:01:07
18         Q.    Okay.    Who do you understand him to be                    13:01:08
19   saying don't -- who is don't touch him directed                         13:01:10
20   at?                                                                     13:01:14
21         A.    At Phillips for running in to John.                         13:01:14
22         Q.    Okay.    And how do you know that?                          13:01:18
23         A.    Well, you are asking me what it -- what                     13:01:22
24   does that -- what do I -- what does that look                           13:01:26
25   like is happening.                                                      13:01:28


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                         Transcript of Nicholas Sandmann
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1              MR. SIEGEL:     Okay.                                         13:01:30
2       A.     That is my opinion.                                           13:01:30
3       Q.     Did John tell you that?                                       13:01:31
4       A.     No.                                                           13:01:33
5       Q.     I'm sorry.     Did Summe tell you that,                       13:01:34
6    that that is what he was doing?                                         13:01:37
7       A.     No.     I'm saying this is what it looks                      13:01:40
8    like from -- from here.       I don't -- I can't say                    13:01:42
9    that for a fact.                                                        13:01:45
10             MR. SIEGEL:     Okay.    Let's just play the                  13:01:46
11   last ten seconds again maybe.                                           13:01:48
12             (Thereupon, a video recording of Exhibit                      13:01:57
13   7 was played.)                                                          13:01:57
14   BY MR. SIEGEL:                                                          13:02:13
15      Q.     Okay.     Is it possible that he is                           13:02:13
16   directing that at John Lawrie?        He said to John                   13:02:16
17   Lawrie, don't touch Nathan Phillips?                                    13:02:20
18      A.     Yeah, that could be possible.                                 13:02:23
19      Q.     Okay.     Where do you see Nathan Phillips                    13:02:24
20   coming -- John Lawrie is like turning around,                           13:02:25
21   right, kind of --                                                       13:02:29
22      A.     Right.                                                        13:02:29
23      Q.     -- as he's -- as he's --                                      13:02:30
24      A.     Right.                                                        13:02:31
25      Q.     Where do you see Nathan Phillips coming                       13:02:31


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                          Transcript of Nicholas Sandmann
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1    into contact with him?                                                  13:02:33
2       A.      I could have been wrong, but it almost                       13:02:34
3    appeared in the video like when John was turning                        13:02:36
4    that Phillips had kind of -- maybe not                                  13:02:40
5    intentionally but maybe bumped into him a little                        13:02:43
6    bit.    I don't know, though.       I -- I was on --                    13:02:46
7    like three or four rows of people back.                                 13:02:50
8       Q.      Okay.     Would it be -- watching this,                      13:02:54
9    would it be reasonable to infer that somebody                           13:03:07
10   might have been concerned that at least one of                          13:03:09
11   the students was getting too close to Phillips?                         13:03:10
12      A.      I don't think that's reasonable.                             13:03:13
13      Q.      Really?     You don't think that is                          13:03:15
14   reasonable?    Why not?                                                 13:03:17
15      A.      No, because Nathan Phillips' feet --                         13:03:18
16   five minutes before this frame, Nathan Phillips                         13:03:21
17   was 40, 50 feet away.       So to say that we were too                  13:03:24
18   close --                                                                13:03:28
19      Q.      No, at this particular moment that one                       13:03:30
20   of the students was -- was getting too close to                         13:03:33
21   Phillips or might be touching him?                                      13:03:37
22      A.      I -- I still think that's unreasonable.                      13:03:40
23   Because the students don't -- these students in                         13:03:42
24   between Phillips and the rest of the group don't                        13:03:46
25   have anywhere to move because of how crowded it                         13:03:48


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                           Transcript of Nicholas Sandmann
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1    is.                                                                     13:03:51
2          Q.    Okay.     But John Lawrie was moving,                       13:03:52
3    right?     He was kind of turning from side to side?                    13:03:58
4          A.    I mean, he was rotating.        He wasn't                   13:04:01
5    physically stepping anywhere.                                           13:04:05
6          Q.    And do you think it's reasonable to                         13:04:06
7    infer that Summe might have been concerned that                         13:04:09
8    in the course of doing that, John Lawrie might                          13:04:11
9    bump into him and that is what he was responding                        13:04:15
10   to?                                                                     13:04:17
11         A.    No.     I think that is unreasonable.                       13:04:17
12         Q.    So you don't think somebody watching                        13:04:19
13   this could have that honest opinion, that that's                        13:04:21
14   what --                                                                 13:04:25
15               MR. McMURTRY:      I think he answered that.                13:04:25
16   But go ahead.                                                           13:04:27
17         A.    No.     I think that for Nathan Phillips to                 13:04:27
18   come from where he was and then to get close and                        13:04:29
19   then not give John any room to move and then to                         13:04:32
20   say that the students weren't giving Phillips his                       13:04:35
21   personal space to me is a dishonest, unreasonable                       13:04:39
22   opinion.                                                                13:04:43
23   BY MR. SIEGEL:                                                          13:04:43
24         Q.    Okay.     That is not what I'm asking you.                  13:04:43
25   I'm asking you could someone watching this                              13:04:48


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                           Transcript of Nicholas Sandmann
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1    honestly infer that that is what Summe -- Summe                         13:04:51
2    was saying to John Lawrie, hey, don't touch him?                        13:04:55
3                MR. McMURTRY:      Objection.    Go ahead and               13:05:00
4    answer.                                                                 13:05:01
5       A.       Someone could infer that that is who                        13:05:02
6    Summe was talking to.        Yeah, I agree with that.                   13:05:04
7    BY MR. SIEGEL:                                                          13:05:10
8       Q.       Okay.     Someone could infer that the                      13:05:10
9    reason he said that was that he was concerned                           13:05:14
10   that John Lawrie might be bumping into Phillips?                        13:05:16
11      A.       Yes.                                                        13:05:20
12               MR. SIEGEL:     Okay.    Let's keep going.                  13:05:26
13               MS. MEEK:     Starting at 4:55.                             13:05:28
14               (Thereupon, a video recording of Exhibit                    13:05:32
15   7 was played.)                                                          13:05:32
16               MR. SIEGEL:     Where did we stop, Jessie,                  13:05:59
17   for the record?                                                         13:06:01
18               MS. MEEK:     5:22.                                         13:06:01
19   BY MR. SIEGEL:                                                          13:06:04
20      Q.       Do you see the -- the student with his                      13:06:04
21   hands up?                                                               13:06:07
22      A.       Yes.                                                        13:06:07
23      Q.       It looks like he is wearing maybe a                         13:06:08
24   black sweatshirt.        Do you know who that is?                       13:06:10
25      A.       No.     And to be honest, I don't know if                   13:06:13


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                           Transcript of Nicholas Sandmann
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1    he was a part of our group or not.           I mean, he                 13:06:15
2    might -- he might be, but I have no idea who he                         13:06:19
3    is.                                                                     13:06:23
4          Q.    Okay.     So you don't know whether he was                  13:06:24
5    a Covington student at the time?                                        13:06:26
6          A.    No.     Like, what I mean by that is I had                  13:06:28
7    never seen him before in my life.           It's possible               13:06:31
8    I missed him in the hallways or whatever or just                        13:06:36
9    didn't recognize him.        But, I mean, to my                         13:06:38
10   knowledge, that was the first and only time I                           13:06:41
11   have seen him.                                                          13:06:44
12         Q.    Okay.     Do you see how he was sort of,                    13:06:45
13   kind of bowing up and down, like moving his hands                       13:06:48
14   up and down?                                                            13:06:53
15         A.    Yes.                                                        13:06:54
16         Q.    Did that seem appropriate to you?                           13:06:57
17         A.    Well --                                                     13:07:02
18               MR. McMURTRY:      Objection.    If I may, are              13:07:04
19   you saying did he see that happening at the time                        13:07:05
20   or are you asking him to evaluate the video                             13:07:08
21   today?     Because I don't know --                                      13:07:10
22               MR. SIEGEL:     Fair question.                              13:07:12
23               MR. McMURTRY:      -- what the answer is.                   13:07:13
24   BY MR. SIEGEL:                                                          13:07:16
25         Q.    Did you notice that at the time?                            13:07:16


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                         Transcript of Nicholas Sandmann
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1       A.     No.                                                           13:07:17
2       Q.     Okay.     Having seen it on the video, do                     13:07:18
3    you think that that was appropriate?                                    13:07:20
4       A.     You know, to be honest, I -- I really                         13:07:21
5    don't know.     Because under -- at this present                        13:07:24
6    frame of the video, most of the people, including                       13:07:29
7    myself, were confused on Phillips' intentions.                          13:07:32
8    And I think many of the front line kids thought                         13:07:37
9    at first that he was here to help us, which is                          13:07:42
10   why they danced along to his music.                                     13:07:45
11             And, I mean, I don't know what that                           13:07:48
12   kid's doing.      He could be -- as seen, in a way,                     13:07:50
13   he could be trying to mock him.         I -- I really                   13:07:55
14   don't know.                                                             13:07:58
15      Q.     Okay.     Did you at the time have any idea                   13:08:01
16   why Phillips was playing the drum?                                      13:08:10
17      A.     No.                                                           13:08:12
18      Q.     Okay.     Did you have any idea what                          13:08:13
19   playing a drum, as he was doing, signifies in                           13:08:22
20   Native American culture?                                                13:08:28
21      A.     Well, I -- I should back up that while I                      13:08:30
22   haven't taken a class specifically on Native                            13:08:34
23   Americans, like I said, I have had classes where                        13:08:36
24   that's been incorporated.       And one of them was                     13:08:42
25   music back from grade school.        And what I am                      13:08:45


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                              Transcript of Nicholas Sandmann
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1    aware of is that playing the drum can mean more                         13:08:50
2    than one thing.                                                         13:08:53
3                   So to be honest with you, I'm not                        13:08:54
4    skilled enough to know what chants or what rhythm                       13:08:59
5    means what.          But, I mean, I knew he was playing                 13:09:03
6    it.        I didn't know what it signified.                             13:09:06
7          Q.       What is the more than one thing that you                 13:09:08
8    understand playing a drum in Native American                            13:09:11
9    culture signifies?                                                      13:09:15
10         A.       You can -- it's played for a variety of                  13:09:17
11   religious reasons or whatever to match with                             13:09:21
12   ancestors and -- you know, as he's -- I guess as                        13:09:25
13   Mr. Phillips claims, these drums were war drums.                        13:09:31
14   They play them for multiple reasons.                                    13:09:35
15         Q.       Okay.    Since this incident, have you                   13:09:38
16   ever sort of gone back and done any more reading                        13:09:43
17   about that?                                                             13:09:46
18         A.       No.                                                      13:09:47
19         Q.       Do you know anything about how elderly                   13:09:49
20   persons are viewed in Native American culture?                          13:09:53
21         A.       At the time, I knew that elders are very                 13:09:56
22   respected and kind of the head of -- in a Native                        13:10:00
23   American community.                                                     13:10:05
24         Q.       And have you done any more reading or                    13:10:09
25   learning about that?                                                    13:10:13


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                         Transcript of Nicholas Sandmann
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1       A.     No.                                                           13:10:16
2       Q.     Okay.    Could you hear what Mr. Phillips                     13:10:17
3    was expressing verbally?                                                13:10:23
4       A.     I could not understand what he was                            13:10:25
5    saying.   I didn't know if he was just making                           13:10:27
6    noise or it was another language or --                                  13:10:31
7       Q.     Okay.    So did you have -- at the time,                      13:10:36
8    right, did you have any understanding at all of                         13:10:43
9    what he was trying to -- may have been trying to                        13:10:46
10   communicate?                                                            13:10:50
11      A.     No.                                                           13:10:50
12      Q.     Did you know whether it was a song or a                       13:10:52
13   prayer or words he was articulating?          Did you                   13:10:57
14   have any idea?                                                          13:11:03
15      A.     I did not.                                                    13:11:04
16             MR. SIEGEL:     Okay.    Now we are going to                  13:11:07
17   look at roughly the same theme from the                                 13:11:09
18   perspective of Exhibit 3, video 4, the Banyamyan                        13:11:14
19   video.                                                                  13:11:20
20             MS. MEEK:     We are going start at 1 hour,                   13:11:28
21   12 minutes, 15 seconds in Exhibit 3.                                    13:11:30
22             (Thereupon, a video recording of Exhibit                      13:11:34
23   3 was played.)                                                          13:11:34
24   BY MR. SIEGEL:                                                          13:11:44
25      Q.     Okay.    I take it from our last                              13:11:44


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                         Transcript of Nicholas Sandmann
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1    the dynamic that is happening between the Black                         13:13:23
2    Hebrew Israelites and the Native Americans.                             13:13:26
3    BY MR. SIEGEL:                                                          13:13:29
4       Q.     Okay.     It doesn't make sense to you                        13:13:29
5    because the BHI had been insulting them, too?                           13:13:33
6       A.     Yeah.     Like an hour ago they were                          13:13:38
7    calling them Uncle Tomahawks.        So I have no idea.                 13:13:41
8       Q.     Okay.     Do you have any reason to think                     13:13:58
9    that the BHI person -- do you think that Phillips                       13:14:00
10   was coming to their rescue, as he called it?                            13:14:03
11             MR. McMURTRY:      Objection.                                 13:14:06
12      A.     No.     I mean, to me, it looks like I                        13:14:06
13   guess that Nathan Phillips is coming to their                           13:14:10
14   rescue.   Again, I don't know why he would say                          13:14:14
15   that.                                                                   13:14:18
16             MR. SIEGEL:     Okay.    Let's keep going.                    13:14:20
17             MS. MEEK:     Starting at 1:13:02.                            13:14:22
18             (Thereupon, a video recording of Exhibit                      13:14:27
19   3 was played.)                                                          13:14:27
20   BY MR. SIEGEL:                                                          13:14:40
21      Q.     Okay.     Do you see from that angle                          13:14:40
22   somebody saying again:       Don't touch him?     Does                  13:14:42
23   that change anything about the answer you gave                          13:14:45
24   before?                                                                 13:14:48
25      A.     No.                                                           13:14:49


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                         Transcript of Nicholas Sandmann
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1              MR. SIEGEL:     All right.     Keep going.                    13:14:50
2              MS. MEEK:     Starting at 1:13:16.                            13:14:52
3              (Thereupon, a video recording of Exhibit                      13:14:55
4    3 was played.)                                                          13:14:55
5    BY MR. SIEGEL:                                                          13:15:02
6       Q.     Now you hear the speaker says:         You all                13:15:02
7    better not touch him.                                                   13:15:06
8              What do you think that he meant by that?                      13:15:08
9       A.     I mean, I think that even though he says                      13:15:09
10   that, that doesn't confirm that Summe meant it in                       13:15:12
11   the same way he does.                                                   13:15:16
12             Obviously, I believe the Black Hebrew                         13:15:18
13   Israelites and the student are looking at the                           13:15:22
14   situation from two different perspectives.                              13:15:26
15      Q.     Okay.    Fair enough.     Does it indicate to                 13:15:29
16   you that the BHI speaker perceived that that is                         13:15:32
17   what Summe was saying?                                                  13:15:37
18      A.     No, because I can't say for certain that                      13:15:38
19   this guy heard Summe say what he did.                                   13:15:41
20      Q.     Does it sound to you like he says it                          13:15:45
21   almost immediately after Summe says it, right?                          13:15:49
22      A.     Okay.    Well, then, I guess I must have                      13:15:52
23   missed that in the video.                                               13:15:55
24             Yeah.    I mean, it looks like he could be                    13:15:56
25   trying to capitalize on what Summe said and be                          13:15:59


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                          Transcript of Nicholas Sandmann
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1    like -- like basically frame it in to let the                           13:16:03
2    students know that we shouldn't touch him, which                        13:16:08
3    I don't think is representative of what actually                        13:16:10
4    happened.                                                               13:16:13
5       Q.       At that point, two different people have                    13:16:15
6    shouted out, don't touch the -- don't touch him?                        13:16:19
7       A.       Yes.                                                        13:16:23
8       Q.       Couldn't that give somebody a reason to                     13:16:24
9    be concerned that the students might be trying to                       13:16:27
10   do something physical to Phillips?                                      13:16:31
11      A.       No.                                                         13:16:34
12      Q.       No?    Why not?                                             13:16:34
13      A.       Because he keeps moving closer and                          13:16:36
14   closer, especially as the video progresses and he                       13:16:40
15   starts to walk through people.                                          13:16:44
16               So people yelling out don't touch him --                    13:16:45
17   I mean, what he's doing, he's doing to himself by                       13:16:49
18   coming closer and closer to people like me who                          13:16:54
19   were behind other kids and then ended up next to                        13:16:57
20   him.     So it's me yelling out don't touch him does                    13:17:01
21   not accurately depict that we were going to do                          13:17:07
22   anything hostile.                                                       13:17:11
23      Q.       Well, I'm not asking you that, whether                      13:17:12
24   it did or it didn't accurately depict that,                             13:17:15
25   right?     But I'm asking you -- here, right, a                         13:17:19


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                         Transcript of Nicholas Sandmann
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1    are talking about were we less excited now than                         13:22:17
2    we were then, yeah.      Were we less angry, angrier                    13:22:22
3    in this moment than what we were before?          The                   13:22:26
4    answer is we never were.       So there was nothing to                  13:22:29
5    calm down.                                                              13:22:32
6       Q.     Okay.    Well, are you saying that                            13:22:33
7    somebody looking at this couldn't think that you                        13:22:34
8    were calmer at that point than you were when you                        13:22:37
9    were doing the sumo cheer?                                              13:22:42
10      A.     They could.                                                   13:22:43
11             MR. McMURTRY:      Objection.    Go ahead.                    13:22:44
12             MR. SIEGEL:     Keep going.                                   13:22:45
13             MS. MEEK:     Starting at 1:14:07.                            13:22:46
14             (Thereupon, a video recording of Exhibit                      13:22:50
15   3 was played.)                                                          13:22:50
16             MS. MEEK:     Pausing at 1:14:15.                             13:22:59
17   BY MR. SIEGEL:                                                          13:23:02
18      Q.     Okay.    Do you hear the students going,                      13:23:02
19   whoa, whoa?                                                             13:23:08
20      A.     Can you replay it?                                            13:23:12
21             MR. SIEGEL:     Sure.                                         13:23:14
22             (Thereupon, a video recording of Exhibit                      13:23:16
23   3 was played.)                                                          13:23:16
24   BY MR. SIEGEL:                                                          13:23:29
25      Q.     Do you hear them going whoa, whoa?                            13:23:29


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                         Transcript of Nicholas Sandmann
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1       A.     It sounds like a college football game.                       13:23:33
2       Q.     Okay.    And what do you mean by that?                        13:23:36
3       A.     That's the kind of -- I don't know what                       13:23:38
4    you would call it -- chant that happens at most                         13:23:41
5    college football games, the whoa, whoa, whoa,                           13:23:44
6    whoa, whoa.                                                             13:23:47
7       Q.     Do you understand that --                                     13:23:50
8              MR. McMURTRY:      He was singing.                            13:23:51
9    BY MR. SIEGEL:                                                          13:23:53
10      Q.     Do you understand that to be the -- like                      13:23:53
11   the chant that is done often with the tomahawk                          13:23:55
12   chop, whoa?                                                             13:23:59
13      A.     Yes.    I saw it last week at Florida                         13:23:59
14   State University when they played Notre Dame.                           13:24:04
15      Q.     Did you join in to do this?                                   13:24:08
16      A.     No.                                                           13:24:12
17      Q.     Why?                                                          13:24:13
18      A.     I didn't -- I didn't hold my arm up.             I            13:24:13
19   didn't see any point.                                                   13:24:15
20      Q.     Do you think that was an appropriate                          13:24:19
21   thing for the students to be doing in that                              13:24:22
22   moment?                                                                 13:24:25
23      A.     To me, it's not really my place to                            13:24:28
24   interpret whether it's appropriate or not.              And I           13:24:32
25   think a small group of high school kids, if that                        13:24:35


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                        Transcript of Nicholas Sandmann
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1    needs to be addressed, should not be the starting                       13:24:39
2    point.                                                                  13:24:43
3       Q.     Do you have an understanding that some                        13:24:44
4    people perceive that to be disrespectful to                             13:24:47
5    Native Americans, that cheer?                                           13:24:54
6       A.     I have heard that.                                            13:24:56
7       Q.     What do you think about that?                                 13:24:58
8       A.     Well, to be honest, it might just be                          13:25:00
9    from some lack of knowledge on my end.         I -- I                   13:25:05
10   don't really know the origin of it or why it is                         13:25:10
11   considered disrespectful and why some consider it                       13:25:13
12   not disrespectful.                                                      13:25:17
13             So I -- I am an uninformed person and                         13:25:18
14   really not one to give an informed opinion on                           13:25:27
15   this.                                                                   13:25:31
16      Q.     Do you think there is a difference                            13:25:32
17   between doing that cheer in the context of the                          13:25:37
18   Florida State football game, Florida State, and                         13:25:40
19   doing that cheer directly when confronted with a                        13:25:46
20   Native American?                                                        13:25:55
21             MR. McMURTRY:     Objection.                                  13:25:56
22      A.     Well, that just depends, and it depends                       13:25:56
23   on the way you look at it.                                              13:26:00
24             And the students certainly thought at                         13:26:02
25   first that Phillips was on their side, and I --                         13:26:04


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                          Transcript of Nicholas Sandmann
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1    you make the argument that the Florida State fans                       13:26:08
2    do it because they are in support of the war                            13:26:11
3    chief Native American that runs out on his horse                        13:26:14
4    right before the game starts.         And here they were                13:26:17
5    doing it because Nathan Phillips was here to help                       13:26:21
6    us.                                                                     13:26:25
7               I mean, you know, in both ways, you                          13:26:26
8    could argue that people are doing it to support                         13:26:29
9    it or support Native Americans, I guess.           But, I               13:26:32
10   mean, like I said, I don't -- I don't know too                          13:26:38
11   much about this, and I'm just not a person to                           13:26:41
12   give a good opinion on this.                                            13:26:46
13   BY MR. SIEGEL:                                                          13:26:47
14         Q.   Okay.    So given that, would it be fair                     13:26:47
15   to say that others could perceive that as                               13:26:49
16   disrespectful to Mr. Phillips?                                          13:26:53
17         A.   Yes.                                                         13:26:57
18              MR. SIEGEL:     All right.     Let's keep                    13:27:01
19   playing.                                                                13:27:03
20              MS. MEEK:     Starting at 1:14:15.                           13:27:03
21              (Thereupon, a video recording of Exhibit                     13:27:08
22   3 was played.)                                                          13:27:08
23   BY MR. SIEGEL:                                                          13:27:18
24         Q.   So the BHI guy says that the students                        13:27:18
25   were engaging in serious mockery.          Do you agree                 13:27:22


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                           Transcript of Nicholas Sandmann
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1    with that?                                                              13:27:26
2       A.       No.                                                         13:27:27
3       Q.       Okay.     And why is that?                                  13:27:27
4       A.       Because we weren't doing anything to                        13:27:29
5    mock them and none of the students were trying to                       13:27:31
6    mock him.     And I mean, he kind of ends in the                        13:27:36
7    hats -- or the Make America Great Again gear                            13:27:43
8    contributing to that, which I don't agree with                          13:27:48
9    either.                                                                 13:27:50
10      Q.       So do you think he was -- was that a lie                    13:27:50
11   that he was saying?                                                     13:27:53
12      A.       No, I don't think it was a lie.         I -- I              13:27:57
13   think he was pushing his position, which wasn't                         13:27:59
14   honest.     But I mean, it's not a question of --                       13:28:05
15   I'm really not sure how to answer that question.                        13:28:12
16      Q.       Well, do you have any reason to think --                    13:28:15
17   do you have any reason -- any reason to believe                         13:28:19
18   he did not perceive this behavior as mocking                            13:28:20
19   Mr. Phillips?                                                           13:28:24
20      A.       No.     I mean, I don't have any reason to                  13:28:26
21   say that he -- he was -- I don't have any reason                        13:28:29
22   to say that he didn't see what he was telling                           13:28:37
23   himself he was seeing.         I mean --                                13:28:41
24      Q.       And would you give the same answer if                       13:28:46
25   just others who were witnessing this perceived                          13:28:49


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                         Transcript of Nicholas Sandmann
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1    that the students' behavior was mocking                                 13:28:52
2    Mr. Phillips?      Would you give the same answer?                      13:28:55
3       A.     I mean, I think that is a given that                          13:28:58
4    certain people perceived what they saw.          I                      13:29:00
5    don't -- I don't dispute that.                                          13:29:03
6       Q.     Okay.     And it's people who were there, I                   13:29:05
7    mean, physically there?                                                 13:29:09
8       A.     Right.                                                        13:29:11
9       Q.     And it's a given that some people there                       13:29:11
10   perceived the students' behavior as mocking                             13:29:14
11   Mr. Phillips?                                                           13:29:17
12      A.     Yes.     I think that was people that were                    13:29:18
13   either a part of the Hebrew Israelites or a part                        13:29:21
14   of Nathan Phillips' group.                                              13:29:25
15      Q.     And no one else perceived that?                               13:29:27
16      A.     No.     I mean, I'm not aware.      I -- I                    13:29:29
17   don't think people went around and took a straw                         13:29:32
18   poll of who saw it one way or another.                                  13:29:35
19      Q.     Okay.     I will ask you, as for any of the                   13:29:45
20   Native Americans -- any person who was a Native                         13:29:54
21   American who was there, would you agree that some                       13:29:55
22   of them perceived the students' behavior as                             13:30:00
23   mocking Mr. Phillips?                                                   13:30:03
24             MR. McMURTRY:      Objection.                                 13:30:04
25      A.     I would agree.                                                13:30:04


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                           Transcript of Nicholas Sandmann
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1    BY MR. SIEGEL:                                                          13:30:05
2       Q.       Do you think that they were dishonest in                    13:30:05
3    perceiving that?                                                        13:30:09
4       A.       I don't think they were dishonest.            I             13:30:10
5    think they just came to the wrong conclusion.                           13:30:13
6       Q.       You disagree with their perception?                         13:30:16
7       A.       Yes.                                                        13:30:19
8                MR. SIEGEL:     Okay.    Let's go on to the                 13:30:23
9    next.   This is an excerpt of your NBC interview.                       13:30:25
10               MS. MEEK:     This is Exhibit 5, starting                   13:31:13
11   at 13:06.                                                               13:31:15
12               (Thereupon, a video recording of Exhibit                    13:31:19
13   5 was played.)                                                          13:31:19
14   BY MR. SIEGEL:                                                          13:32:08
15      Q.       I think you mentioned this before.            So            13:32:08
16   you knew that some of the other students were                           13:32:12
17   parting?                                                                13:32:14
18      A.       That's correct.                                             13:32:14
19      Q.       They were moving out of Phillips' way?                      13:32:16
20      A.       Yes.                                                        13:32:19
21      Q.       To allow a path for him?                                    13:32:19
22               Okay.    And you saw that Phillips was                      13:32:22
23   starting to walk through your group?                                    13:32:24
24      A.       Yes.                                                        13:32:26
25      Q.       All right.     He was going forward, right?                 13:32:26


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                         Transcript of Nicholas Sandmann
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1       A.     Right.                                                        13:32:29
2              MR. SIEGEL:     Okay.    This is -- I will                    13:32:29
3    say for the record this is Exhibit 9, video 10,                         13:32:34
4    which is actually a video that your counsel                             13:32:40
5    produced this from, and at 1:28.                                        13:32:43
6              MS. MEEK:     Starting at the beginning of                    13:32:59
7    Exhibit 9.                                                              13:33:01
8              (Thereupon, a video recording of Exhibit                      13:33:04
9    9 was played.)                                                          13:33:04
10   BY MR. SIEGEL:                                                          13:33:10
11      Q.     So first I will ask you, do you know who                      13:33:10
12   took this video?                                                        13:33:13
13      A.     Not off the top of my head.                                   13:33:14
14             MR. SIEGEL:     Okay.                                         13:33:16
15      A.     I don't --                                                    13:33:21
16      Q.     Do you happen to know how it came into                        13:33:21
17   you or your counsel's possession?                                       13:33:24
18             If you know -- in general, Nick, if I                         13:33:27
19   ask you a question like that, if -- if you know                         13:33:29
20   something that he told you, then, you know, don't                       13:33:32
21   tell me that.                                                           13:33:34
22             Do you have any independent knowledge of                      13:33:35
23   where this video came from?                                             13:33:36
24      A.     I would say with all the things we                            13:33:38
25   produced, it's not easy for me to look -- look at                       13:33:40


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1    one angle and compartmentalize where that came                          13:33:44
2    from and draw it out.                                                   13:33:50
3              I would know if I looked through things                       13:33:51
4    that I had, how we obtained it.        But off the top                  13:33:53
5    of my head, I don't know.                                               13:33:56
6       Q.     So right where we paused, which is at 5                       13:33:58
7    seconds --                                                              13:34:02
8              MR. SIEGEL:     Is that right?                                13:34:03
9              MS. MEEK:     Yes.                                            13:34:03
10   BY MR. SIEGEL:                                                          13:34:04
11      Q.     So there are now students who were on at                      13:34:04
12   least three sides of Phillips, right?                                   13:34:07
13      A.     Give or take on his side.        But yes, for                 13:34:12
14   the most part.                                                          13:34:15
15             MR. SIEGEL:     Okay.   Let's keep going a                    13:34:17
16   bit.                                                                    13:34:19
17             (Thereupon, a video recording of Exhibit                      13:34:23
18   9 was played.)                                                          13:34:23
19   BY MR. SIEGEL:                                                          13:34:29
20      Q.     Are you able -- there we go.                                  13:34:29
21             So can you point the cursor to -- I                           13:34:37
22   think that is you, Nick, where Jessie is pointing                       13:34:39
23   the cursor?                                                             13:34:43
24      A.     Yes.                                                          13:34:44
25             MR. SIEGEL:     Okay.                                         13:34:45


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1               MS. MEEK:     We are at 12 seconds.                          13:34:45
2    BY MR. SIEGEL:                                                          13:34:48
3       Q.      Right.     And so at that point, there are                   13:34:48
4    several rows of students between you and where                          13:34:50
5    Mr. Phillips is, right?                                                 13:34:53
6       A.      Correct.                                                     13:34:54
7               MR. SIEGEL:     Okay.    Let's restart.                      13:34:55
8               (Thereupon, a video recording of Exhibit                     13:34:58
9    3 was played.)                                                          13:34:58
10              MR. SIEGEL:     Okay.    So where did you                    13:35:14
11   stop?                                                                   13:35:17
12              MS. MEEK:     26 seconds.                                    13:35:17
13   BY MR. SIEGEL:                                                          13:35:19
14      Q.      So is it fair to say this is what you                        13:35:19
15   were describing to Ms. Guthrie, the students are                        13:35:21
16   parting from Mr. Phillips as he is moving                               13:35:25
17   forward?                                                                13:35:28
18      A.      Right.     It gets to be the solid.       Now                13:35:28
19   you've got this kind of ring in the middle as he                        13:35:31
20   walks through.                                                          13:35:35
21      Q.      Okay.    And in this video, the direction                    13:35:35
22   he's moving in is towards the Lincoln Memorial,                         13:35:39
23   right?                                                                  13:35:42
24      A.      Right.                                                       13:35:42
25              MR. SIEGEL:     And why don't we watch it                    13:35:46


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1    just until the end, and then we will come back to                       13:35:49
2    26.                                                                     13:35:53
3               MS. MEEK:     From the beginning?       Nathan,              13:35:54
4    did you say from the beginning?                                         13:35:57
5               MR. SIEGEL:     No.     No.   No.   Just I think             13:35:59
6    there is like literally one more second, just so                        13:36:00
7    we watch it all the way through in realtime.                            13:36:04
8               (Thereupon, a video recording from                           13:36:07
9    Exhibit 3 was played.)                                                  13:36:07
10   BY MR. SIEGEL:                                                          13:36:07
11         Q.   It looks like this cuts off like maybe                       13:36:07
12   shortly before he gets -- approaches where you                          13:36:10
13   are?                                                                    13:36:12
14         A.   Correct.                                                     13:36:13
15              MR. SIEGEL:     Okay.     So now go back to                  13:36:15
16   26.                                                                     13:36:17
17              (Thereupon, a video recording from                           13:36:40
18   Exhibit 3 was played.)                                                  13:36:40
19   BY MR. SIEGEL:                                                          13:36:40
20         Q.   Okay.    So that is like a second or a                       13:36:40
21   half second, you know, before the video cuts off,                       13:36:43
22   where after he started walking through the group.                       13:36:46
23              So would you agree that at this point                        13:36:51
24   there are a bunch of people that are behind                             13:36:53
25   Mr. Phillips?                                                           13:36:56


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1       A.     People that aren't students.                                  13:36:57
2       Q.     Well, do you know who they are?                               13:36:59
3       A.     Some of them were -- are random people.                       13:37:01
4    I've never seen.     Some of them, it looks like                        13:37:09
5    they are part of the indigenous people's rally                          13:37:12
6    that was what Nathan Phillips was a part of.           And              13:37:17
7    I mean, that's all I can say.                                           13:37:22
8              But all of them are adults, or -- and                         13:37:24
9    you can tell by what they look like or whatever,                        13:37:27
10   and they are -- they are not students.                                  13:37:31
11      Q.     What about --                                                 13:37:35
12             MR. SIEGEL:     Jessica, look -- look --                      13:37:36
13   put the -- why don't you point at Mr. Phillips.                         13:37:42
14   Right.                                                                  13:37:46
15   BY MR. SIEGEL:                                                          13:37:46
16      Q.     Now, look -- do you see the back row                          13:37:46
17   behind him?                                                             13:37:49
18      A.     Correct.                                                      13:37:50
19      Q.     Do you know who those people are?                             13:37:51
20      A.     So there's that guy and the -- it looks                       13:37:52
21   like he goes from orange to green to white, like                        13:37:56
22   that beanie with the phone camera covering his                          13:37:59
23   face.                                                                   13:38:04
24      Q.     No.    I mean even behind him.                                13:38:04
25      A.     Even behind him?                                              13:38:06


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                        Transcript of Nicholas Sandmann
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1       Q.     Do you see there is a --                                      13:38:08
2              MR. SIEGEL:     Jessica, if you could --                      13:38:09
3    the row -- there is a row of people behind him,                         13:38:11
4    sort of encircling.                                                     13:38:15
5              MS. MEEK:     Here?                                           13:38:17
6              MR. SIEGEL:     Him, yes.                                     13:38:18
7    BY MR. SIEGEL:                                                          13:38:19
8       Q.     Behind him, behind that fellow with --                        13:38:19
9    the African American fellow with the three                              13:38:20
10   beanies, as you say.      Behind him.    Do you see                     13:38:24
11   there is a row of people?                                               13:38:26
12      A.     That aren't even looking in this                              13:38:28
13   direction?    Like you can see the side profile on                      13:38:30
14   the video?                                                              13:38:35
15      Q.     But they are physically behind                                13:38:36
16   Mr. Phillips, right?                                                    13:38:39
17      A.     I mean, they are behind him, but they're                      13:38:40
18   not even paying attention to what's going on.                           13:38:42
19      Q.     How do you know?      You don't know that                     13:38:45
20   any of them are paying attention?                                       13:38:47
21      A.     Well, they're not even looking in the                         13:38:48
22   direction of it all.                                                    13:38:51
23      Q.     All of them are not?                                          13:38:52
24      A.     No, the -- those two people that we just                      13:38:52
25   pointed at are --                                                       13:38:54


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                         Transcript of Nicholas Sandmann
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1       Q.     I'm talking about all of the people that                      13:38:54
2    are behind where the fellow with the African                            13:38:57
3    American -- the African American fellow with, you                       13:39:00
4    say, the green beanie.       You could tell that none                   13:39:03
5    of them are paying attention to what is                                 13:39:06
6    happening?                                                              13:39:08
7       A.     I'm -- I'm confused on who you are                            13:39:08
8    asking is paying attention and who is not.                              13:39:11
9       Q.     Okay.    Maybe I -- let me -- I'm going to                    13:39:13
10   move the --                                                             13:39:19
11             Do you see there is kind of a line of                         13:39:23
12   people?   Do you see where I'm moving the cursor?                       13:39:27
13      A.     I see that.                                                   13:39:27
14      Q.     Do you know who those people are?                             13:39:28
15      A.     I do not.     They don't -- they appear to                    13:39:29
16   not even be boys.      So they wouldn't go to my                        13:39:31
17   school.                                                                 13:39:34
18      Q.     But whether they went to your school or                       13:39:34
19   not, would you agree that they are physically                           13:39:36
20   behind Mr. Phillips, right?                                             13:39:39
21      A.     They are behind them -- him.                                  13:39:40
22             I would note that who is even closer to                       13:39:42
23   Mr. Phillips is this ring of people with phones                         13:39:45
24   out --                                                                  13:39:49
25             MR. SIEGEL:     Right.                                        13:39:49


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                         Transcript of Nicholas Sandmann
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1       A.     -- that do not go to my school and could                      13:39:49
2    be associated with Mr. Phillips.                                        13:39:54
3       Q.     Do you know whether --                                        13:39:56
4       A.     I do not, no.                                                 13:39:57
5       Q.     Do you know whether Nathan Phillips knew                      13:39:58
6    who all of those people who you are referring to                        13:40:02
7    were?                                                                   13:40:06
8       A.     No, I don't know.                                             13:40:07
9       Q.     And would you agree that physically,                          13:40:09
10   regardless of who you think they were or weren't,                       13:40:13
11   that there -- at this point, there are a number                         13:40:15
12   of people behind Mr. Phillips?                                          13:40:20
13      A.     Yes.    I -- I would -- I would add,                          13:40:22
14   though, that there is -- they are more spaced out                       13:40:25
15   behind him than they are behind me.                                     13:40:28
16      Q.     Okay.    So the only difference is they                       13:40:32
17   are a little bit more spaced out?                                       13:40:35
18      A.     Yes.    There is room over there.       It's                  13:40:37
19   packed in on this side of the picture.                                  13:40:39
20      Q.     Okay.    Well, do you see any room                            13:40:41
21   actually right behind where Mr. Phillips is?             Do             13:40:43
22   you see, it looks like, three or four people                            13:40:46
23   holding cameras up?                                                     13:40:49
24      A.     To me, it looks like those group of                           13:40:50
25   students you referenced are about five to ten                           13:40:53


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                         Transcript of Nicholas Sandmann
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1    feet from this group of camera people.                                  13:40:58
2       Q.     Okay.                                                         13:41:00
3       A.     That I referenced, that there is space                        13:41:01
4    here.                                                                   13:41:03
5              Meanwhile, over here, everyone is                             13:41:03
6    shoulder to shoulder packed in.                                         13:41:05
7       Q.     Okay.    Fair enough.      They are not as                    13:41:07
8    packed in, right?                                                       13:41:09
9       A.     Right.                                                        13:41:10
10      Q.     But there certainly are a fair number of                      13:41:10
11   people who are physically behind him, right?                            13:41:13
12      A.     Right.                                                        13:41:15
13      Q.     And you have no idea whether Nathan                           13:41:15
14   Phillips knows who they are?                                            13:41:17
15      A.     Right.     I don't know.                                      13:41:20
16             MR. SIEGEL:     Let's hand Nick and his                       13:41:33
17   counsel Exhibit 10.                                                     13:41:35
18   BY MR. SIEGEL:                                                          13:41:51
19      Q.     So Nick, you are aware, of course, that                       13:41:51
20   your counsel produced a bunch of texts.          Are                    13:41:55
21   these texts from your phone?                                            13:41:58
22      A.     Yes.                                                          13:42:00
23      Q.     Okay.    So these are texts that you sent                     13:42:01
24   or received?                                                            13:42:06
25      A.     Correct.                                                      13:42:07


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                         Transcript of Nicholas Sandmann
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1       Q.     Okay.    You mentioned, I think -- does he                    13:42:09
2    go by Steve Schaeper or Dave Schaeper?                                  13:42:15
3       A.     Steve.                                                        13:42:19
4       Q.     And who is he?                                                13:42:19
5       A.     He was one of my best friends, or he is.                      13:42:20
6       Q.     So let's go to the page that is marked                        13:42:24
7    309, NS 309.                                                            13:42:29
8       A.     Okay.                                                         13:42:36
9       Q.     Okay.    And if you go to the second text                     13:42:37
10   down, which is marked 498 on the side.                                  13:42:40
11      A.     Yes.                                                          13:42:45
12      Q.     Do you see that it's Steve Schaeper to                        13:42:45
13   you?                                                                    13:42:49
14      A.     Yes.                                                          13:42:49
15      Q.     And the time stamp on that is January                         13:42:50
16   19th at 8:29 p.m., right?                                               13:42:54
17      A.     Right.                                                        13:42:57
18      Q.     So this is on the 19th, the day after                         13:42:57
19   this incident?                                                          13:43:03
20      A.     Correct.                                                      13:43:04
21      Q.     Could you just read into the record what                      13:43:04
22   Steve text to you?                                                      13:43:07
23      A.     Steven texted:      Can I ask what made you                   13:43:09
24   stand in front of the Indian guy?                                       13:43:13
25      Q.     Okay.    And then read your responses,                        13:43:15


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1    which look like they are in the next two texts,                         13:43:18
2    499 and 500.                                                            13:43:21
3          A.    I said:   Yeah.                                             13:43:23
4                And then I followed up with the whole                       13:43:25
5    thing with the black people calling us things and                       13:43:28
6    the guy moving through the crowd trying to                              13:43:31
7    intimidate us.                                                          13:43:33
8          Q.    And then go on to the first one, 501 on                     13:43:35
9    page 310.                                                               13:43:39
10         A.    It just made me want to stand up for the                    13:43:40
11   school.                                                                 13:43:42
12         Q.    So you perceived that Mr. Phillips                          13:43:44
13   moving through the crowd is trying to intimidate                        13:43:48
14   us?                                                                     13:43:53
15         A.    I perceived that when he came to me and                     13:43:53
16   his drum directly came into contact with my                             13:43:59
17   shoulder and the drum stick that he was using to                        13:44:03
18   beat it was a couple centimeters from my face.                          13:44:10
19         Q.    But here you texted to Steve that the                       13:44:13
20   guy moving through the crowd was trying to                              13:44:19
21   intimidate.                                                             13:44:21
22         A.    Yes.                                                        13:44:24
23         Q.    Why did you perceive that him moving                        13:44:24
24   through the crowd was trying to intimidate us?                          13:44:27
25   By us, you mean the group of students --                                13:44:32


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1       A.     Yes.                                                          13:44:34
2       Q.     -- collectively?                                              13:44:35
3              So why did you perceive that his moving                       13:44:35
4    through the crowd, which you just saw, right, was                       13:44:37
5    trying to intimidate you collectively?                                  13:44:40
6       A.     Because when you look at pictures of the                      13:44:43
7    Lincoln Memorial, there was hundreds of feet of                         13:44:45
8    space to get there that did not involve walking                         13:44:49
9    through a group of students that had been there                         13:44:52
10   for some time.                                                          13:44:55
11      Q.     So in the -- in the video that we just                        13:44:56
12   saw, do you remember when I asked you about the                         13:45:00
13   people behind him, is it your contention that                           13:45:03
14   there was hundreds of feet of space there for him                       13:45:06
15   to go to the Lincoln Memorial?                                          13:45:09
16      A.     It's my contention that there was space                       13:45:11
17   before he even came over to us.                                         13:45:13
18      Q.     Okay.    And do you have any idea whether                     13:45:15
19   Mr. Phillips intended to go to the Lincoln                              13:45:18
20   Memorial before he came over to you?                                    13:45:20
21      A.     I don't before, but now he said that's                        13:45:22
22   where he was trying to go.                                              13:45:26
23      Q.     Where did he say that?                                        13:45:28
24      A.     He's admitted that in public interviews,                      13:45:29
25   that he was trying to get to the Lincoln Memorial                       13:45:33


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1    obviously before Mr. Phillips gave any interviews                       13:48:45
2    or anything like that, right?                                           13:48:49
3       A.     Right.                                                        13:48:49
4       Q.     At that moment, why did you perceive                          13:48:49
5    Mr. Phillips walking through the students as they                       13:48:52
6    were parting as trying to intimidate you                                13:48:55
7    collectively?                                                           13:48:58
8       A.     Because if he wanted to get to where he                       13:48:59
9    was going, he could have just not walked through                        13:49:04
10   our group in the first place; or if he wanted to                        13:49:07
11   get, you know, behind us instead of walking                             13:49:13
12   through us, he could have gone out to where there                       13:49:17
13   was only this small amount of people, like I                            13:49:20
14   mentioned, that were not students and gone                              13:49:25
15   around.                                                                 13:49:28
16      Q.     Okay.                                                         13:49:28
17      A.     The -- the need to keep making us move                        13:49:29
18   for him and then eventually stopping at me and                          13:49:33
19   getting in my face convinced me that he was there                       13:49:36
20   to intimidate us, not to move through.                                  13:49:39
21      Q.     And what did you think he was trying to                       13:49:42
22   intimidate you to do?                                                   13:49:44
23      A.     I don't know if he was trying to get me                       13:49:46
24   to do anything.                                                         13:49:48
25      Q.     Well, you said us, you.        I mean, in                     13:49:49


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1    these texts you say he was trying to intimidate                         13:49:53
2    us, right, like the students collectively?                              13:49:56
3       A.     Right.                                                        13:49:57
4       Q.     So what did you think he was trying to                        13:49:58
5    intimidate the group?      How was he trying to                         13:50:00
6    intimidate the group?      What does that mean?                         13:50:03
7              MR. McMURTRY:      Objection.    I think he's                 13:50:05
8    answered it.      But go ahead.    We will try again.                   13:50:07
9       A.     I mean, generally, and any other school                       13:50:10
10   field trip I had been a part of from that point                         13:50:16
11   in the Catholic school system down to first                             13:50:18
12   grade, people that were not -- were not approved                        13:50:22
13   or whatever, nobody got that close to students,                         13:50:25
14   which is my point, that the closer he got and                           13:50:30
15   when he got that close to me, I figured that,                           13:50:34
16   based on all my experience, in which this is not                        13:50:38
17   supposed to happen and does not happen, that he                         13:50:43
18   was trying to intimidate us and something was                           13:50:45
19   going wrong here.                                                       13:50:49
20   BY MR. SIEGEL:                                                          13:50:50
21      Q.     And what did you think he was trying                          13:50:50
22   to -- did you think he was trying to intimidate                         13:50:52
23   you to do something?                                                    13:50:56
24      A.     I -- I don't know.                                            13:50:57
25      Q.     Okay.     And how did you think that                          13:50:59


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1    standing in front of Mr. Phillips was standing up                       13:51:03
2    for the school?                                                         13:51:07
3       A.     Because we -- the students of the school                      13:51:09
4    had stood there long enough and taken all kinds                         13:51:13
5    of insults from the Hebrew Israelites, then had                         13:51:17
6    had the Native American -- or Mr. Phillips, the                         13:51:24
7    Native American, walk through us or whatever.                           13:51:28
8    And by the time he got in my face, when he could                        13:51:31
9    have kept -- he could have even kept going                              13:51:34
10   through the students if he wanted to, I figured                         13:51:37
11   was it time for someone to plant their foot and                         13:51:41
12   stand there where I had been and just face up.                          13:51:44
13   And to me, that was standing up for the school,                         13:51:49
14   because I wasn't going to move.                                         13:51:53
15      Q.     And what message was being communicated                       13:51:58
16   by standing up for the school?        What does that                    13:52:01
17   mean?                                                                   13:52:04
18      A.     Well, it means that we can come to                            13:52:04
19   Washington, DC and protest something that we                            13:52:07
20   believe to be deeply wrong and not be harassed on                       13:52:10
21   our way out.                                                            13:52:14
22      Q.     Okay.    It's your -- your interpretation                     13:52:16
23   of what you observed, right, at that moment, was                        13:52:26
24   that Mr. Phillips was trying to intimidate you,                         13:52:29
25   right?                                                                  13:52:33


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1       A.     Right.                                                        13:52:33
2       Q.     Do you know for a fact whether that is                        13:52:33
3    true?                                                                   13:52:37
4       A.     No.                                                           13:52:37
5       Q.     Possibly, you just perceived it?                              13:52:39
6       A.     I mean, I guess.                                              13:52:42
7       Q.     Your text also said:       The whole thing                    13:52:46
8    with the black people calling us things.                                13:52:49
9              How did the black people calling us                           13:52:52
10   things relate to your deciding to stand in front                        13:52:54
11   of Mr. Phillips?                                                        13:52:57
12      A.     Well, as I mentioned --                                       13:52:58
13             MR. McMURTRY:      Objection.    Just go ahead                13:53:00
14   and answer it.                                                          13:53:01
15      A.     As I mentioned, we -- we had already                          13:53:02
16   taken many insults from them.        And at one point,                  13:53:06
17   I just felt like enough is enough, we don't need                        13:53:11
18   to respond to them anymore with chants:                                 13:53:16
19   Someone's just got to stand here, be still and                          13:53:19
20   put their foot down.                                                    13:53:22
21             MR. SIEGEL:     Okay.    Let's hand Nick                      13:53:31
22   Exhibit 11.     And you can go ahead and hand him                       13:53:34
23   12, too, while we are at it.                                            13:53:44
24             MS. MEEK:     Okay.                                           13:53:46
25   BY MR. SIEGEL:                                                          13:53:56


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1       Q.     Nick, I'm confident you are more versed                       13:53:56
2    in social media than I am.       This appears to be                     13:54:00
3    some kind of DM message?                                                13:54:03
4       A.     Yes.                                                          13:54:05
5       Q.     What is it --                                                 13:54:06
6              MR. McMURTRY:      Can we just go ahead -- I                  13:54:06
7    haven't finished reading it yet.                                        13:54:08
8              MR. SIEGEL:     Oh, yeah, yeah.      Sure, of                 13:54:10
9    course.   I apologize.                                                  13:54:11
10             MR. McMURTRY:      Go ahead and read it.                      13:54:12
11   And when you are done reading it, let me know.                          13:54:14
12             THE WITNESS:     I read it.                                   13:54:55
13             MR. McMURTRY:      Okay.   Go ahead.                          13:54:56
14   BY MR. SIEGEL:                                                          13:54:56
15      Q.     So just explain for the record for those                      13:54:56
16   less literate in social media what this is.                             13:55:00
17      A.     This is a direct message conversation                         13:55:03
18   between me and Kyle Kashuv on the Twitter app.                          13:55:06
19      Q.     Okay.    And the time stamp on that                           13:55:12
20   appears to be January 19th, 2019, at 5:59 a.m.?                         13:55:17
21      A.     Correct.                                                      13:55:22
22      Q.     Were you still on the bus home at that                        13:55:22
23   point, or do you remember where you sent that                           13:55:24
24   from?                                                                   13:55:26
25      A.     I believe I was still on the bus.                             13:55:27


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1       Q.     Okay.    And I think that at least from                       13:55:30
2    the communications that you have produced that                          13:55:35
3    this seems to be your first one to anyone                               13:55:38
4    describing what happened?                                               13:55:46
5       A.     Right.                                                        13:55:47
6       Q.     Okay.    And who is Kyle Kashuv?                              13:55:47
7       A.     Kyle Kashuv is kind of a conservative                         13:55:50
8    influencer and younger personality that is                              13:55:57
9    popular with demographics that I would assume are                       13:56:03
10   mostly people around my age.                                            13:56:07
11      Q.     Okay.    And why were you a big fan at the                    13:56:08
12   time?                                                                   13:56:11
13      A.     I -- he -- I liked him a lot for being                        13:56:11
14   able to speak a message that I, for the most                            13:56:16
15   part, agreed with, as such, at basically my age.                        13:56:20
16      Q.     Okay.    And what is TPUSA?                                   13:56:25
17      A.     TPUSA stands for Turning Point USA,                           13:56:32
18   which is an organization run by Charlie Kirk.                           13:56:38
19      Q.     And what is it?                                               13:56:42
20      A.     They run -- and I'm -- I'm not sure how                       13:56:43
21   accurate this is.      But they run chapters on                         13:56:45
22   college campuses all across the country, and they                       13:56:48
23   are a student -- a conservative student activist                        13:56:52
24   organization that I guess kind of is there to                           13:56:57
25   combat liberal ideas on college campuses and                            13:57:03


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1    spread more conservative ideas.                                         13:57:08
2       Q.     Okay.    And why are you a big fan of                         13:57:11
3    TPUSA?                                                                  13:57:14
4       A.     I think -- I think that I was impressed                       13:57:17
5    with them because they were able to do what no                          13:57:19
6    one else was really doing, which was reaching out                       13:57:23
7    to people my age or whatever and taking a more                          13:57:26
8    active role.                                                            13:57:31
9              It's not like they were some news                             13:57:33
10   company that just believes what they believe and                        13:57:37
11   writes about it.     Like they actually come to                         13:57:40
12   campuses and are more on the ground.                                    13:57:42
13      Q.     Okay.    And so let's go to Exhibit 12                        13:57:46
14   now.                                                                    13:57:50
15             It looks like Exhibit 12 was sent a                           13:57:50
16   couple minutes later.      The one to Charlie Kirk                      13:57:54
17   was sent a couple minutes later than the one to                         13:57:58
18   Kyle Kashuv?                                                            13:58:04
19      A.     Yes.                                                          13:58:05
20      Q.     And it looks to me like it's the same --                      13:58:06
21   the text is the same other than, obviously, one                         13:58:08
22   is to Charlie and one is to Kyle?                                       13:58:11
23      A.     Yes.    I think I just copied, pasted them                    13:58:13
24   and changed the names.                                                  13:58:16
25             MR. SIEGEL:     Okay.                                         13:58:17


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1              MR. McMURTRY:      The question -- I'm sorry                  13:58:17
2    to interrupt you.      I lost -- these exhibits                         13:58:19
3    aren't marked.     What is this --                                      13:58:22
4              MR. SIEGEL:     That was 10.                                  13:58:24
5              MR. McMURTRY:      10.                                        13:58:25
6              MR. SIEGEL:     10 is attached.      11 is Kyle               13:58:26
7    Kashuv.   And 12 is Charlie Kirk.                                       13:58:29
8              MR. McMURTRY:      Thank you.                                 13:58:33
9    BY MR. SIEGEL:                                                          13:58:34
10      Q.     So let's use the Charlie Kirk one                             13:58:34
11   because the print is a lot bigger.                                      13:58:37
12             The second sentence -- or the third                           13:58:40
13   sentence, I guess, Nick, says:        As the march                      13:58:42
14   ended, we were waiting for our busses at the                            13:58:44
15   Lincoln Memorial and members of the Indigenous                          13:58:47
16   People's March approached me (I was wearing a                           13:58:49
17   MAGA hat).    A man plays drum in my face.        But                   13:58:53
18   unlike others at my school, I didn't step out of                        13:58:54
19   the way because he was trying to intimidate us.                         13:58:57
20             Right?                                                        13:59:01
21      A.     Right.                                                        13:59:02
22      Q.     So again, you were -- you were aware                          13:59:02
23   that others -- other students were stepping out                         13:59:04
24   of Phillips' way?                                                       13:59:07
25      A.     Right.                                                        13:59:09


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1          Q.   But you didn't because you thought he                        13:59:09
2    was trying to intimidate you collectively?                              13:59:12
3          A.   Yes, me and other students at the                            13:59:17
4    school.                                                                 13:59:21
5               MR. SIEGEL:       Okay.     Let's go to Exhibit              13:59:22
6    13.                                                                     13:59:40
7               MR. McMURTRY:       Do you want him to read                  13:59:59
8    the whole thing or are you going to ask him                             14:00:01
9    about --                                                                14:00:04
10              MR. SIEGEL:       No.     I'm going to ask him               14:00:04
11   about a few -- as with many of these texts, they                        14:00:06
12   are not even continuous, so...                                          14:00:10
13   BY MR. SIEGEL:                                                          14:00:13
14         Q.   So, Nick, again, I will just ask you to                      14:00:13
15   confirm this exhibit, which is Bates numbered NS                        14:00:17
16   326 through 335.       These are texts that you                         14:00:21
17   exchanged from your phone?                                              14:00:26
18         A.   Yes.                                                         14:00:27
19         Q.   It looks like many of these were                             14:00:27
20   exchanged with Mara Schutt?                                             14:00:31
21         A.   Schutt.                                                      14:00:33
22         Q.   Schutt?     Who is she?                                      14:00:34
23         A.   She is a friend that went to Notre Dame.                     14:00:36
24         Q.   Okay.     Okay.    So let's go to 327.        And            14:00:54
25   do you see the text marked 547 at the bottom of                         14:00:59


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1    I'm sorry -- did you also interpret his drumming                        14:03:07
2    as trying to intimidate?                                                14:03:11
3       A.     Yes.                                                          14:03:12
4       Q.     Why?                                                          14:03:13
5       A.     Because at one point, his drum came up                        14:03:13
6    against my shoulder, arm area; and the rest of                          14:03:17
7    the time, his drum stick was close enough to hit                        14:03:22
8    my face, if he messed up at all.       And I felt that                  14:03:27
9    him invading my personal space was representative                       14:03:31
10   of him trying to intimidate me.                                         14:03:36
11      Q.     Okay.    When people feel that their                          14:03:40
12   personal space is invaded, right, they often kind                       14:03:47
13   of back away a little bit, right?                                       14:03:49
14      A.     Right.                                                        14:03:52
15      Q.     Why didn't you do that?                                       14:03:52
16      A.     It's worth mentioning that where I was                        14:03:53
17   located in this crowd of people was on a chunk of                       14:03:56
18   ice on one of these stairs.      I wasn't on flat                       14:03:59
19   ground.   And so with all the kids around me, I                         14:04:05
20   didn't really feel that I could move without                            14:04:07
21   slipping and falling.                                                   14:04:10
22      Q.     Okay.    And we will get to some video of                     14:04:11
23   where you were.                                                         14:04:16
24      A.     Okay.                                                         14:04:17
25      Q.     It would be fair to say that the reason                       14:04:22


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1    you decided to stand there was not because of the                          14:04:24
2    ice, it was because of your perception of what                             14:04:28
3    Mr. Phillips was doing to try to intimidate you?                           14:04:31
4       A.      I think it was a combination.                 Because           14:04:34
5    the longer it went on, the more I felt like                                14:04:36
6    getting out of there.                  But at first, I didn't              14:04:39
7    want to.    And then when I did, I realized I                              14:04:42
8    didn't have the option to.                                                 14:04:47
9       Q.      Okay.         And we will see some video, and                   14:04:48
10   you can tell us at what point later on you felt                            14:04:50
11   like you wanted to get out.                                                14:04:54
12      A.      Okay.                                                           14:04:56
                        Name Redacted
13      Q.      Now,                    responds to you:   Also thought         14:04:56
14   you should know that this guy goes around the                              14:05:09
15   country doing this and that he has done the same                           14:05:11
16   situations with another high school.                   At 49.              14:05:15
17      A.      Uh-huh.                                                         14:05:21
18      Q.      And then your next response on 551 is:                          14:05:21
19   I heard that.         Apparently, he also tried to do it                   14:05:24
20   to Covington Latin earlier, too.                  I hope the               14:05:28
21   truth hits them.                                                           14:05:32
22              What -- what were you talking about?                            14:05:34
23      A.      I was told, which I'm not sure at this                          14:05:35
24   point if it turned out being true, but it was                              14:05:39
25   unconfirmed that earlier that Nathan Phillips had                          14:05:43


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1              MR. SIEGEL:     Okay.                                         14:08:14
2              MR. McMURTRY:     I'm saying, just to be                      14:08:14
3    clear, we are out of that territory now.                                14:08:15
4              MR. SIEGEL:     Okay.     Fair enough.                        14:08:18
5    BY MR. SIEGEL:                                                          14:08:23
6       Q.     Okay.    So if you look at text 573 on                        14:08:23
7    335 -- and again, this is the text exchange you                         14:08:29
8    were having with her on -- it looks like the                            14:08:33
9    night of January 19th?                                                  14:08:36
10      A.     Yes.                                                          14:08:38
11      Q.     Okay.    So on 573,     Name Redacted   texts:   Me           14:08:39
12   too because you did nothing wrong and this guy                          14:08:45
13   does this for a living to ruin -- that's young --                       14:08:47
14      A.     Yeah.                                                         14:08:54
15      Q.     -- kids' lives.       I think roles were                      14:08:54
16   reversed and you were acting like the adult and                         14:08:56
17   he was the kid.                                                         14:08:59
18             You respond:     I agree.      He was trying to               14:09:00
19   intimidate young kids.                                                  14:09:02
20             So why did you think Phillips was acting                      14:09:05
21   like a kid and you the adult?                                           14:09:08
22      A.     Because I think it's childish as a elder                      14:09:13
23   to get in the face of a stranger that also                              14:09:18
24   happens to be a child at 16 and get in their face                       14:09:22
25   for several minutes.      I think that's childish.                      14:09:28


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1       Q.      Okay.     But you don't think that deciding                  14:09:32
2    to stand your ground in that situation was?                             14:09:35
3       A.      No.     I think that's very mature.                          14:09:38
4       Q.      When -- could anyone disagree with you                       14:09:45
5    about that?                                                             14:10:01
6       A.      They could.     I don't think they are                       14:10:01
7    right.                                                                  14:10:04
8       Q.      You just -- you would disagree with                          14:10:04
9    them, right?       You wouldn't agree with their                        14:10:07
10   opinion?                                                                14:10:09
11      A.      Right.                                                       14:10:10
12      Q.      Okay.     Did you think that by not                          14:10:10
13   parting, along with the other students who were                         14:10:12
14   doing that, that you were acting like the adult?                        14:10:15
15              MR. McMURTRY:     Objection.   Go ahead.                     14:10:19
16      A.      No.     I think I was acting like the adult                  14:10:20
17   for staying calm in a situation that was very                           14:10:22
18   high pressure.                                                          14:10:31
19   BY MR. SIEGEL:                                                          14:10:32
20      Q.      Do you know what Name Redacted was                           14:10:32
21   referring to when she texted:       Phillips ruins                      14:10:34
22   young people's lives for a living?                                      14:10:37
23      A.      I do not.                                                    14:10:40
24              MR. SIEGEL:     Okay.                                        14:10:41
25      A.      Now I think it's in reference to                             14:10:42


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1    facts, there is no need to mark it as                                   14:13:25
2    confidential, his recollection.                                         14:13:29
3              MR. SIEGEL:     Okay.                                         14:13:29
4              MR. McMURTRY:      I think the whole report,                  14:13:30
5    obviously, was confidential, and I would like to                        14:13:31
6    treat the portions of the report as confidential.                       14:13:34
7    But to the extent you are asking him questions                          14:13:37
8    about what he thought or felt or said --                                14:13:39
9              MR. SIEGEL:     Sure.                                         14:13:41
10             MR. McMURTRY:      -- that's fine.      Okay.                 14:13:43
11             MR. SIEGEL:     I will isolate this as much                   14:13:46
12   as possible.                                                            14:13:46
13             MR. McMURTRY:      Okay.                                      14:13:46
14             THE WITNESS:     Okay.     I read it.                         14:13:46
15   BY MR. SIEGEL:                                                          14:13:48
16      Q.     So you have read it?                                          14:13:48
17             So the examiner quotes you as saying:           I             14:13:51
18   felt Phillips was creepy and weird and I didn't                         14:13:54
19   know his intentions.                                                    14:13:57
20             Did you say that to the -- whichever                          14:13:59
21   examiner was recording this report?                                     14:14:01
22      A.     I believe I did.                                              14:14:03
23      Q.     Okay.     Why did you think he was creepy                     14:14:05
24   and weird?                                                              14:14:08
25      A.     Because, as I said before, in my                              14:14:08


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1    experience, adults don't get that close to kids,                        14:14:10
2    especially for that long.                                               14:14:13
3       Q.     Okay.     Do you believe respecting your                      14:14:15
4    elders is a value that you hold?                                        14:14:25
5       A.     Yes.     It's part of how I was raised.                       14:14:27
6       Q.     If a teenager sees an older person                            14:14:31
7    walking in his or her direction and other people                        14:14:34
8    are parting for that person as he moves forward,                        14:14:37
9    is it a respectful thing to do to move out of the                       14:14:39
10   way as well?                                                            14:14:43
11      A.     I would agree.      But it's not my                           14:14:44
12   responsibility to slip on the steps and                                 14:14:47
13   potentially break an arm or something to make                           14:14:51
14   sure he can get through.                                                14:14:54
15      Q.     Well, there were lots of other kids on                        14:14:56
16   the steps, right?                                                       14:14:58
17      A.     But not all the kids were on ice.                             14:14:59
18      Q.     And other kids moved away, right?                             14:15:02
19      A.     Right.                                                        14:15:04
20      Q.     And I think you said before, that                             14:15:05
21   originally, you were -- you were making a                               14:15:07
22   decision, right, that you didn't want to move                           14:15:10
23   because you felt he was trying to intimidate you?                       14:15:12
24      A.     Correct.                                                      14:15:15
25      Q.     Right?     So do you -- even if a teenager                    14:15:16


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1    thinks that an older person might be trying to                          14:15:27
2    intimidate them, you see that that person is                            14:15:29
3    walking forward and other people are parting for                        14:15:34
4    him, isn't the respectful thing to do to move out                       14:15:36
5    of his way as well?                                                     14:15:41
6       A.     Not if he's trying to intimidate me.                          14:15:42
7       Q.     You don't think that even if the older                        14:15:45
8    person -- even if you think the older person is                         14:15:47
9    trying to intimidate you, you don't think the                           14:15:49
10   respectful thing to do is to just move out of the                       14:15:52
11   way?                                                                    14:15:55
12      A.     I can't see why I would.       If -- if they                  14:15:55
13   want to intimidate me, which I would assume then                        14:15:58
14   means they exhibit a dislike of me, I can't find                        14:16:01
15   any compelling reason as to why I would equally                         14:16:05
16   return the respect to clear a place for them to                         14:16:09
17   move.                                                                   14:16:12
18      Q.     Do you think people could disagree with                       14:16:14
19   you about that?                                                         14:16:17
20      A.     They could.                                                   14:16:18
21      Q.     Do you have any idea what in the Native                       14:16:22
22   American culture would be considered the                                14:16:36
23   respectful thing to do in that situation?                               14:16:38
24      A.     I would assume the respectful thing is                        14:16:40
25   probably to just move out of the way regardless.                        14:16:43


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1       Q.     But you disagree with that?                                   14:16:45
2       A.     Well, it's not how I was raised.                              14:16:48
3              MR. SIEGEL:     Let's go to Exhibit 15.                       14:16:52
4    After this one, we will take a break.                                   14:16:58
5              MR. McMURTRY:     Okay.   Just for the                        14:17:18
6    record, 15 is also marked as confidential.                              14:17:19
7              MR. SIEGEL:     Yes.                                          14:17:28
8              (The following portion from Page 195,                         14:17:28
9    Line 11 to Page 199, Line 17 was designated                             14:17:28
10   Confidential and is bound separately.)                                  14:17:28
11   <-- CONFIDENTIAL                                                        14:22:39
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1       Q.     Okay.     But given that it did happen,                       14:20:33
2    right?                                                                  14:20:41
3       A.     Right.                                                        14:20:42
4       Q.     How did what happened promote not being                       14:20:42
5    intimidated by leftists?                                                14:20:46
6       A.     Because there -- a lot of the                                 14:20:48
7    commentators and people who are weighing in on                          14:20:55
8    what happened to me made kind of the slogan of                          14:20:57
9    stand your ground, whatever.                                            14:21:01
10             So even whether this was my goal or not                       14:21:03
11   or whether I wanted it to happen or not, I became                       14:21:06
12   kind of this poster for not being intimidated and                       14:21:10
13   standing your ground.                                                   14:21:15
14      Q.     Were the leftists who you are saying you                      14:21:17
15   are humorously referring to, right -- but did the                       14:21:23
16   leftists mean Mr. Phillips?                                             14:21:26
17      A.     No.     I would -- I would attribute that                     14:21:28
18   comment more to the members of Congress and other                       14:21:31
19   people on the political left that decided that                          14:21:34
20   they should weigh in on what happened.        Because I                 14:21:39
21   would say there is a whole lot more than me --                          14:21:45
22   there is a whole lot more standing that I did                           14:21:49
23   than me just physically standing there.                                 14:21:52
24      Q.     Okay.     Now, those -- the other                             14:21:55
25   students -- other students, right, parted for                           14:21:58


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1    Phillips, correct, and you didn't?                                      14:22:01
2       A.       Hut-uhn.                                                    14:22:03
3       Q.       Couldn't Phillips have perceived that                       14:22:04
4    you intended to stop his path forward?                                  14:22:07
5                MR. McMURTRY:     Objection.                                14:22:10
6       A.       He could have.     I think he would have                    14:22:10
7    figured out really quickly, if he tried to move                         14:22:13
8    anywhere else, that I wasn't going to follow                            14:22:18
9    them.                                                                   14:22:22
10   BY MR. SIEGEL:                                                          14:22:23
11      Q.       So you think you could have -- you think                    14:22:23
12   he could have figured that out, and we will talk                        14:22:26
13   about that, but would you acknowledge that he                           14:22:30
14   could have perceived that it was your intention                         14:22:33
15   to stop his path forward?                                               14:22:35
16      A.       Right.                                                      14:22:37
17               MR. SIEGEL:     Okay.    Let's break.                       14:22:39
18               (This concludes the Confidential                            14:22:50
19   portion.)                                                               14:22:50
20               THE VIDEOGRAPHER:       We are going off the                14:22:50
21   record.     The time is 2:22 p.m.                                       14:22:51
22               (Thereupon, there was a recess taken at                     14:22:54
23   2:22 p.m.)                                                              14:22:54
24               THE VIDEOGRAPHER:       We are back on the                  14:41:34
25   record.     The time is 2:41 p.m.                                       14:41:35


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                           Transcript of Nicholas Sandmann
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1                (Thereupon, the proceedings were resumed                    14:41:39
2    at 2:41 p.m.)                                                           14:41:39
3    BY MR. SIEGEL:                                                          14:41:40
4       Q.       Nick, in one of the clips from the                          14:41:40
5    Guthrie interview that we played for you earlier,                       14:41:43
6    you said:     He also had a -- referring to                             14:41:47
7    Phillips:     He also had a companion that also had                     14:41:50
8    a drum and a cameraman with him.                                        14:41:54
9                Do you remember that?                                       14:41:58
10      A.       Yes.                                                        14:41:59
11      Q.       Okay.    Was that one of the reasons you                    14:41:59
12   felt that Phillips was trying to intimidate the                         14:42:02
13   group, you saw he had a cameraman with him?                             14:42:04
14      A.       Yes.    That seemed odd.                                    14:42:09
15      Q.       Okay.    And -- and why did you say that                    14:42:11
16   he had a cameraman with him?                                            14:42:13
17      A.       I saw someone following him as he walked                    14:42:15
18   towards the students that was filming him.                              14:42:22
19      Q.       Okay.    And by saying he, meaning                          14:42:27
20   Phillips had a cameraman with him, was it your                          14:42:30
21   perception that that was like somebody that                             14:42:33
22   Phillips had brought with him?                                          14:42:36
23      A.       Yes.    Now, I -- that was my perception                    14:42:38
24   from standing there.                                                    14:42:41
25      Q.       Okay.    And if you recall, just off the                    14:42:45


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                           Transcript of Nicholas Sandmann
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1    top of your head, whom you were referring to?                           14:42:48
2       A.       Not off the top of my head.         I can                   14:42:52
3    describe to you what his -- one of his companions                       14:42:55
4    looked like that had the second drum, but I -- I                        14:43:00
5    can't remember off the top of my head what the                          14:43:04
6    cameraman looked like.                                                  14:43:07
7       Q.       Okay.    So we are going to show you some                   14:43:08
8    video, and I'm going to ask if you can point out                        14:43:13
9    who it was that you were referring to.            Okay?                 14:43:16
10      A.       Okay.                                                       14:43:19
11      Q.       Before we do, just the person with the                      14:43:20
12   drum, what do you remember he looked like?                              14:43:25
13      A.       He has a -- almost like a baseball hat                      14:43:27
14   kind of thing on that is completely white and                           14:43:33
15   this sort of handlebar mustache.           And he is                    14:43:37
16   holding a smaller drum.         The drum he has is                      14:43:44
17   smaller than Phillips'.                                                 14:43:47
18      Q.       Okay.    And I will ask you to point him                    14:43:49
19   out, too.                                                               14:43:52
20      A.       Okay.                                                       14:43:54
21      Q.       This is Exhibit 9, which is video 10.                       14:43:54
22   Again, the one produced by your counsel.                                14:43:58
23               So is that the cameraman you are                            14:44:02
24   referring to?       There is a fellow who is holding                    14:44:06
25   up a camera there with the --                                           14:44:09


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                         Transcript of Nicholas Sandmann
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1       A.     Yes, that the cursor is on --                                 14:44:11
2              MR. SIEGEL:     Yeah.                                         14:44:13
3       A.     -- with the red hat.       That is him.                       14:44:13
4       Q.     It looks like a -- it looks like a Reds                       14:44:16
5    hat?                                                                    14:44:18
6       A.     It does.     It does.                                         14:44:18
7       Q.     I'm going to refer to him as the man                          14:44:19
8    with the Reds hat.      Okay?                                           14:44:22
9       A.     Okay.                                                         14:44:24
10      Q.     And I think it's pretty -- the fellow                         14:44:25
11   with the white hat sort of behind him to the                            14:44:30
12   right, is that the -- that's the drummer?                               14:44:33
13      A.     I --                                                          14:44:35
14             MR. SIEGEL:     Let's -- you know what,                       14:44:37
15   let's -- let's move it forward about nine                               14:44:38
16   seconds, where I think -- we'll play it for about                       14:44:41
17   nine seconds.                                                           14:44:44
18             (Thereupon, a video recording of Exhibit                      14:44:47
19   9 was played.)                                                          14:44:47
20   BY MR. SIEGEL:                                                          14:44:52
21      Q.     Okay.    So you can see a little clearer                      14:44:52
22   here.   He has a mustache, wearing glasses, right?                      14:44:55
23      A.     Right.                                                        14:44:59
24      Q.     Okay.    So sitting here today, do you                        14:44:59
25   think Mr. Phillips had anything to do with                              14:45:10


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                          Transcript of Nicholas Sandmann
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1       A.      Yes.                                                         14:49:35
2       Q.      Okay.    And the student who was doing the                   14:49:36
3    up and hands down motion is standing to your                            14:49:42
4    right, correct?                                                         14:49:46
5       A.      Correct.                                                     14:49:47
6               MR. SIEGEL:     Let's go about 10 more                       14:49:51
7    seconds.                                                                14:49:53
8               (Thereupon, a video recording of Exhibit                     14:49:58
9    16 was played.)                                                         14:49:59
10              MR. SIEGEL:     Go back just a little bit.                   14:50:11
11   BY MR. SIEGEL:                                                          14:50:16
12      Q.      So in those 10 seconds, Nick, it looks                       14:50:16
13   like you moved to your right a little bit?                              14:50:19
14      A.      I'm not sure if I moved or the people                        14:50:22
15   around me did.      I'm pretty -- I'm almost positive                   14:50:27
16   that I did not move and the people around me                            14:50:31
17   shifted and that's why it looks like I'm in a                           14:50:35
18   different spot.                                                         14:50:39
19              MR. SIEGEL:     Okay.    So let's go -- let's                14:50:39
20   go back to 7 seconds.                                                   14:50:42
21              (Thereupon, a video recording of Exhibit                     14:50:47
22   16 was played.)                                                         14:50:47
23              MR. SIEGEL:     And we are going to go                       14:50:51
24   through this frame by frame.         Okay?   Stop.                      14:50:53
25   BY MR. SIEGEL:                                                          14:51:06


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                         Transcript of Nicholas Sandmann
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1       Q.     You -- you looked down, right?                                14:51:06
2       A.     Right.                                                        14:51:09
3       Q.     And you mentioned before that that's                          14:51:09
4    where it could be slippery in parts.          So you                    14:51:12
5    looked down, right?                                                     14:51:16
6       A.     Right.                                                        14:51:17
7              MR. SIEGEL:     Okay.    Keep going.                          14:51:19
8    BY MR. SIEGEL:                                                          14:51:38
9       Q.     Didn't you just move a little to your                         14:51:38
10   right?                                                                  14:51:41
11             MR. McMURTRY:      Objection.                                 14:51:41
12      A.     I -- I honestly can't tell with the way                       14:51:41
13   it's rotating.                                                          14:51:44
14             I guess the perspective makes me seem as                      14:51:47
15   if I'm moving; or if I moved, I can't tell.                             14:51:51
16      Q.     You can't tell.      But it's possible that                   14:51:54
17   you did move a little to your right at that                             14:51:57
18   point?                                                                  14:51:59
19             MR. McMURTRY:      Objection.    Go ahead.                    14:51:59
20      A.     I mean, it could be.       It depends.                        14:52:00
21      Q.     Okay.    You would agree at this point you                    14:52:01
22   were actually on the opposite side of the fellow                        14:52:03
23   with the black sweatshirt than you were when we                         14:52:05
24   looked at that about two seconds earlier?                               14:52:10
25             MR. McMURTRY:      Objection.    Go ahead.                    14:52:17


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1    BY MR. SIEGEL:                                                          14:52:18
2          Q.   Right.                                                       14:52:18
3          A.   Yeah, we're -- we're on -- we don't line                     14:52:18
4    up the same way anymore.        But I -- I don't know                   14:52:21
5    if that is because he moved or I moved or it's                          14:52:24
6    just a different angle of the camera or what it                         14:52:28
7    is.                                                                     14:52:30
8               MR. SIEGEL:     Okay.    Let's go -- you can                 14:52:36
9    just play it normal, normal speed from here.                            14:52:38
10              (Thereupon, a video recording of Exhibit                     14:52:53
11   16 was played.)                                                         14:52:53
12   BY MR. SIEGEL:                                                          14:52:53
13         Q.   All right.     I'm going to play this                        14:52:53
14   again, because it -- do you see the -- in the                           14:52:55
15   frame right now, there is a -- someone wearing a                        14:53:01
16   brown hoodie?                                                           14:53:05
17         A.   Yeah.                                                        14:53:06
18         Q.   There is someone wearing a green hoodie?                     14:53:07
19         A.   Yes.                                                         14:53:10
20         Q.   And there is a student in between them?                      14:53:11
21         A.   Yes.                                                         14:53:14
22         Q.   Do you know who the student in between                       14:53:15
23   them is?                                                                14:53:17
24         A.   Yes.                                                         14:53:17
25         Q.   Who is that?                                                 14:53:18


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1       A.      That is Sam Paley.                                           14:53:19
2       Q.      Okay.     So we're just going to go back to                  14:53:21
3    10 seconds.       And I'm going to ask you to see, can                  14:53:22
4    you make out what Sam Paley is saying.                                  14:53:25
5       A.      Okay.                                                        14:53:32
6               (Thereupon, a video recording of Exhibit                     14:53:32
7    16 was played.)                                                         14:53:32
8       A.      He said -- I think he said, hey, Law.                        14:53:32
9    And Law -- because that is John Lawrie.              That is            14:53:38
10   his nickname.                                                           14:53:43
11              MR. SIEGEL:     Okay.    Okay.    Let's                      14:53:44
12   restart.                                                                14:53:49
13              MS. MEEK:     We are restarting at 13,                       14:53:50
14   Exhibit 16.                                                             14:53:54
15              (Thereupon, a video recording of Exhibit                     14:53:58
16   16 was played.)                                                         14:53:58
17              MR. SIEGEL:     Where did we stop?                           14:54:13
18              MS. MEEK:     Paused at 30.      I think we                  14:54:14
19   need to go a bit further to be --                                       14:54:16
20   BY MR. SIEGEL:                                                          14:54:16
21      Q.      Some of the students at this point are                       14:54:16
22   doing what is referred to as the tomahawk chop?                         14:54:19
23      A.      Yes.                                                         14:54:22
24      Q.      Were you doing it?                                           14:54:23
25      A.      No.                                                          14:54:25


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1       Q.     Why weren't you doing it?                                     14:54:26
2       A.     I don't know.                                                 14:54:28
3              MR. McMURTRY:      I think he answered that                   14:54:28
4    before.   But go ahead.      You can answer again.                      14:54:30
5       A.     As I said, I did not feel a need to or                        14:54:33
6    any reason to.                                                          14:54:36
7    BY MR. SIEGEL:                                                          14:54:37
8       Q.     Did you consider doing a tomahawk chop                        14:54:37
9    there to be disrespectful to Mr. Phillips?                              14:54:42
10      A.     As I said before, I am completely                             14:54:45
11   uneducated on the origins of the tomahawk chop,                         14:54:52
12   why it may or may not be seen as disrespectful;                         14:54:55
13   and, therefore, I really don't have any informed                        14:54:59
14   opinion on it whatsoever.                                               14:55:02
15      Q.     Okay.    And -- and is that still true                        14:55:10
16   today?                                                                  14:55:11
17      A.     That is true today.       I -- I, yes,                        14:55:12
18   understand why some people consider it                                  14:55:14
19   disrespectful.     But other times, Indians will --                     14:55:17
20   Native Americans will run out to people doing the                       14:55:21
21   tomahawk chop.     I don't understand it.                               14:55:24
22      Q.     And at the time of this incident did you                      14:55:37
23   have any understanding that some people consider                        14:55:39
24   it disrespectful to Native Americans to do the                          14:55:41
25   tomahawk chop?                                                          14:55:45


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1       A.      I think I knew at that point in time                         14:55:46
2    that to some Native Americans it was                                    14:55:48
3    disrespectful and that to others it -- that it --                       14:55:50
4    other Indians -- or Native Americans are fine                           14:55:53
5    with it.                                                                14:55:59
6               At that point, I knew it was                                 14:56:02
7    controversial.                                                          14:56:03
8       Q.      Did you -- do you have an understanding                      14:56:04
9    that some Native Americans feel like it makes fun                       14:56:06
10   of their culture?                                                       14:56:09
11      A.      As I said, I -- I really don't know why                      14:56:10
12   they find it disrespectful.       I guess it makes fun                  14:56:12
13   of them somewhat.                                                       14:56:17
14      Q.      So earlier you said that you felt                            14:56:18
15   insulted and, you know, mocked by the BHIs.                             14:56:20
16              Is it your contention that you felt that                     14:56:26
17   you were mocked by the BHIs but Mr. Phillips                            14:56:28
18   couldn't have felt that he was being mocked by                          14:56:33
19   the students at that point?                                             14:56:35
20      A.      I never claimed that he felt like we                         14:56:36
21   weren't mocking him.     I mean, he's entitled to                       14:56:41
22   feel however he wants to.      What I'm saying is                       14:56:45
23   that I -- from my perception, it didn't seem like                       14:56:50
24   anyone ever was mocking him.                                            14:56:55
25              MR. SIEGEL:   Let's go back to 24 seconds                    14:57:00


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1    and go frame by frame.       No.   Go back to 24 and                    14:57:03
2    then start frame by frame.                                              14:57:22
3              MS. MEEK:     Yeah, I did.                                    14:57:25
4              MR. SIEGEL:     Is that what you did?                         14:57:26
5    Okay.                                                                   14:57:28
6    BY MR. SIEGEL:                                                          14:57:34
7       Q.     Aren't you doing the tomahawk chop                            14:57:35
8    there?                                                                  14:57:37
9       A.     No.     I think I had raised my hand up to                    14:57:37
10   point at something.      I don't know what I'm -- I                     14:57:40
11   don't -- I'm not -- I have my hands like right                          14:57:43
12   here.                                                                   14:57:46
13             I think there is a difference between                         14:57:49
14   this and this, is what I'm getting at.                                  14:57:51
15      Q.     So it's your testimony that you weren't                       14:57:55
16   in any way even sort of slightly trying to join                         14:57:57
17   in with the tomahawk chop?                                              14:58:00
18      A.     No.     I think -- I think when you listen                    14:58:03
19   to the video with the audio, and maybe it's from                        14:58:05
20   a different angle, you can hear me with my hand                         14:58:08
21   up kind of like shrugging and asking what is                            14:58:12
22   going on right now.                                                     14:58:15
23      Q.     Okay.     Well, if you hear that at any                       14:58:16
24   point in any of the videos, just point it out.                          14:58:18
25      A.     Okay.                                                         14:58:22


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1              MR. SIEGEL:     Okay.     So let's keep going                 14:58:22
2    in realtime.                                                            14:58:24
3              (Thereupon, a video recording of Exhibit                      14:58:37
4    16 was played.)                                                         14:58:37
5    BY MR. SIEGEL:                                                          14:58:44
6       Q.     So at this point, there are still at                          14:58:44
7    least two or three rows of students between you                         14:58:48
8    and wherever the camera is?                                             14:58:52
9       A.     Yes.                                                          14:58:54
10             MR. SIEGEL:     Okay.     Let's keep going.                   14:58:58
11             MS. MEEK:     I just paused at 32, and I'm                    14:59:00
12   continuing from that point.                                             14:59:03
13             MR. SIEGEL:     Now, this is at 37, right?                    14:59:10
14             MS. MEEK:     Yes.                                            14:59:13
15   BY MR. SIEGEL:                                                          14:59:13
16      Q.     Now, at this point, there are a bunch of                      14:59:13
17   students to Mr. Phillips' right and to the right                        14:59:16
18   of some of the other individuals, the one with                          14:59:19
19   the drum and the one with the camera, right?                            14:59:24
20      A.     Right.                                                        14:59:27
21      Q.     Couldn't someone perceive that there                          14:59:28
22   were students who were swarming around him at                           14:59:32
23   this point?                                                             14:59:35
24             MR. McMURTRY:        Objection.   Go ahead.                   14:59:35
25      A.     I mean, to me, not really.                                    14:59:36


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1                If you look at a couple of the students                     14:59:39
2    there, they don't really look like they are                             14:59:42
3    swarming.     They are looking off at something                         14:59:45
4    else.    They are not even -- they are at best half                     14:59:47
5    interested in what's going on right now.             You can            14:59:52
6    see them all looking in a different direction.                          14:59:55
7                MR. SIEGEL:     Okay.     Let's go back and --              14:59:58
8    to 32 seconds again.                                                    14:59:59
9                (Thereupon, a video recording of Exhibit                    15:00:04
10   16 was played.)                                                         15:00:04
11               MR. SIEGEL:     You can stop.                               15:00:21
12   BY MR. SIEGEL:                                                          15:00:21
13      Q.       So, it could -- I mean, it's just a                         15:00:21
14   matter of opinion, right?           Somebody could                      15:00:24
15   perceive that there are students now who have                           15:00:26
16   sort of swarmed around Phillips on both sides,                          15:00:29
17   right?                                                                  15:00:32
18      A.       Yeah.    I mean, someone could look at it                   15:00:32
19   that way if they wanted to.                                             15:00:35
20               MR. SIEGEL:     Okay.     Now let's go back to              15:00:37
21   32 seconds.                                                             15:00:40
22               MS. MEEK:     And for the record, a moment                  15:00:43
23   ago, I just stopped at 44 seconds.           Now I'm going              15:00:44
24   back to 32 seconds.                                                     15:00:49
25               (Thereupon, a video recording of Exhibit                    15:00:53


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1    16 was played.)                                                         15:00:53
2               MR. SIEGEL:     Okay.    Just go back and                    15:00:56
3    start again.                                                            15:00:59
4    BY MR. SIEGEL:                                                          15:01:09
5       Q.      Okay.    So this is at 32 seconds.        Where              15:01:09
6    I showed you this before, there are at this point                       15:01:11
7    still several of the students, right, between you                       15:01:13
8    and where the camera is, right?                                         15:01:16
9       A.      Yes.                                                         15:01:18
10              MR. SIEGEL:     Okay.    So let's go about 12                15:01:19
11   more seconds.                                                           15:01:21
12              (Thereupon, a video recording of Exhibit                     15:01:23
13   16 was played.)                                                         15:01:23
14              MR. SIEGEL:     Okay.    So where is it now,                 15:01:36
15   Jessica?                                                                15:01:39
16              MS. MEEK:     44 seconds.                                    15:01:39
17   BY MR. SIEGEL:                                                          15:01:41
18      Q.      So in those 12 seconds, those several                        15:01:41
19   rows of students who were in front of you before                        15:01:43
20   have parted for Mr. Mr. Phillips, right?                                15:01:48
21      A.      Right.                                                       15:01:51
22      Q.      Okay.    And there are students behind you                   15:01:52
23   who are parting as well, right?                                         15:01:53
24              MR. McMURTRY:      Objection.    I'm not --                  15:01:53
25   part, you mean -- it looks to me like they are                          15:01:55


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                           Transcript of Nicholas Sandmann
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1    moving away.                                                            15:01:58
2                MR. SIEGEL:     Moving to the side.                         15:01:58
3                MR. McMURTRY:      Well, no, I don't even                   15:01:59
4    see that.     But go ahead.      Ask him the questions.                 15:02:01
5    He can --                                                               15:02:03
6    BY MR. SIEGEL:                                                          15:02:03
7       Q.       Okay.    Are there students behind you who                  15:02:03
8    are moving to the side?                                                 15:02:06
9       A.       I mean, it looks like some of the                           15:02:07
10   students behind me are moving.                                          15:02:09
11               MR. SIEGEL:     Right.                                      15:02:11
12      A.       I don't -- I don't necessarily know -- I                    15:02:11
13   don't know if I would say they are moving aside.                        15:02:12
14               MR. SIEGEL:     Okay.    Let's watch the next               15:02:16
15   few seconds.                                                            15:02:18
16               (Thereupon, a video recording of Exhibit                    15:02:21
17   16 was played.)                                                         15:02:21
18   BY MR. SIEGEL:                                                          15:02:31
19      Q.       Okay.    Now, most of the students behind                   15:02:31
20   you have moved to the side, right?                                      15:02:34
21      A.       I mean, most.      There are still, it looks                15:02:36
22   like, three rows deep behind me.                                        15:02:39
23      Q.       It's more -- there are some students at                     15:02:41
24   the top of the stairs, right?                                           15:02:44
25      A.       Right.    And I can count the blue                          15:02:46


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                           Transcript of Nicholas Sandmann
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1    sweatshirt, the black, and then the head popping                        15:02:48
2    out behind him who were all one after another.                          15:02:51
3       Q.       Okay.    Fair enough.     So it would be                    15:02:52
4    three rows of students had moved behind you to                          15:02:53
5    the side?                                                               15:02:57
6                MR. McMURTRY:      Objection.                               15:02:58
7       A.       At least three rows of students are                         15:02:58
8    still behind me at this point.                                          15:03:01
9    BY MR. SIEGEL:                                                          15:03:03
10      Q.       Directly behind you?       No, no, no.        I             15:03:03
11   understand that.       But the three rows -- the                        15:03:06
12   several rows of students who were most                                  15:03:08
13   immediately behind you are not --                                       15:03:10
14      A.       Are not there --                                            15:03:12
15      Q.       They have all moved to the side,                            15:03:13
16   correct?                                                                15:03:15
17      A.       Correct.                                                    15:03:15
18               MR. McMURTRY:      Objection.                               15:03:16
19   BY MR. SIEGEL:                                                          15:03:18
20      Q.       So were you aware at the time that                          15:03:18
21   students behind you were moving to the side?                            15:03:29
22               MR. McMURTRY:      Objection.    Go ahead.                  15:03:31
23      A.       I don't really think I was.         Most of my              15:03:33
24   attention was taken up by Nathan Phillips.                              15:03:35
25      Q.       Okay.    But certainly Mr. Phillips could                   15:03:39


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                         Transcript of Nicholas Sandmann
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1    have perceived that people behind you were moving                       15:03:42
2    to the side?                                                            15:03:45
3       A.     I mean, yes, he could have.         He                        15:03:46
4    definitely saw that there's -- I don't know how                         15:03:48
5    many feet of -- excuse me -- I don't know how                           15:03:53
6    many feet of space in between me and the kid with                       15:03:56
7    the white hat holding on to a sweatshirt, but we                        15:04:00
8    are clearly not shoulder to shoulder.                                   15:04:07
9              So it even looks to me as if he just                          15:04:10
10   went around to my right, he had even more room to                       15:04:13
11   keep walking if that is what he wanted to do.                           15:04:17
12      Q.     Okay.    And so we've seen, you know, in                      15:04:20
13   front of you, there were several students, or a                         15:04:25
14   lot of students, who moved to the side, right?                          15:04:29
15      A.     Right.                                                        15:04:32
16      Q.     Now, behind you, there were students who                      15:04:32
17   moved to the side, right?                                               15:04:35
18      A.     Right.                                                        15:04:36
19      Q.     So, I mean, physically, you could have                        15:04:37
20   done the same thing, right?        You could have                       15:04:40
21   done -- you could have moved aside as the other                         15:04:42
22   students did?                                                           15:04:45
23      A.     I could have moved and risked falling                         15:04:46
24   down the steps and, you know, potentially in my                         15:04:49
25   fall bumping right into Mr. Phillips and not                            15:04:52


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                         Transcript of Nicholas Sandmann
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1              MR. McMURTRY:      Objection.                                 15:07:14
2       A.     I mean, there was never a point where I                       15:07:16
3    was unable to walk -- to walk away.         It was just,                15:07:18
4    in my head, a cost/benefit of what -- if I move                         15:07:23
5    now, there is a chance I fall and hit people,                           15:07:26
6    especially the person that is in my face, and I                         15:07:29
7    don't know how that's going to play out.                                15:07:32
8       Q.     Okay.    But at the point that you first                      15:07:37
9    made your decision to stay there, you were, as                          15:07:40
10   you said in all of the texts, right, feeling that                       15:07:44
11   Mr. Phillips was trying to intimidate you and the                       15:07:50
12   group and you didn't want that to happen?                               15:07:54
13      A.     Right.                                                        15:07:57
14             MR. SIEGEL:     Okay.    Let's go to -- let's                 15:07:58
15   keep going a little bit.                                                15:08:01
16             MS. MEEK:     We are at 52 seconds, which                     15:08:02
17   is where we were paused before.         Continuing on.                  15:08:06
18             (Thereupon, a video recording of Exhibit                      15:08:11
19   16 was played.)                                                         15:08:11
20   BY MR. SIEGEL:                                                          15:08:12
21      Q.     Okay.    Now you see there are a couple of                    15:08:12
22   students who have now -- who were sort of right                         15:08:14
23   behind you, and they have moved over some, right?                       15:08:17
24      A.     Right.                                                        15:08:20
25             MR. SIEGEL:     Okay.    Keep going.                          15:08:22


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                           Transcript of Nicholas Sandmann
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1       A.       No.     I was not paying attention to                       15:09:40
2    behind me.                                                              15:09:43
3                MR. SIEGEL:     Okay.    Let's go.                          15:09:48
4                MS. MEEK:     We just paused at 32.       I'm               15:09:49
5    restarting from that point.                                             15:09:54
6                MR. SIEGEL:     Just stop a second.       So                15:09:55
7    again, where are we at, 1:34?                                           15:09:57
8                MS. MEEK:     Yes.                                          15:10:00
9    BY MR. SIEGEL:                                                          15:10:01
10      Q.       Again, the fellow in the black hoodie                       15:10:01
11   has crossed all the way over from one side to the                       15:10:04
12   other, right?                                                           15:10:06
13      A.       Right.                                                      15:10:06
14      Q.       And again, there is space for you on                        15:10:07
15   your left side and behind you still at this                             15:10:09
16   point, right?                                                           15:10:11
17      A.       Right.     And at this point, his companion                 15:10:11
18   that I described is right next to him, because                          15:10:14
19   seeing him a couple frames ago.                                         15:10:18
20               And if it's me, Phillips and him, he's                      15:10:21
21   got a clear shot up and around me if he wants to                        15:10:23
22   go there.                                                               15:10:27
23      Q.       Okay.     And do you -- why does the fact                   15:10:28
24   that his companion who is next to him on the                            15:10:32
25   right side mean he has a free shot?                                     15:10:35


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                           Transcript of Nicholas Sandmann
                          Conducted on 9/13/2021 & 9/14/2021           224

1       A.       Because he has a -- by free shot, I mean                    15:10:39
2    he has a free lane to move.                                             15:10:42
3                Like, as we said earlier, when he got                       15:10:44
4    into the group, I at that point didn't know that                        15:10:47
5    he wanted to go to the Lincoln.           So in my mind,                15:10:51
6    if -- if I don't know what he wants to do and                           15:10:56
7    where he wants to go, I -- and with the ice                             15:10:59
8    coming into play, it really didn't seem like                            15:11:03
9    there was much of a reason to move because I                            15:11:06
10   didn't know where he was trying to go.            And if he             15:11:09
11   wanted to go there, he could have made that clear                       15:11:12
12   to me.   I would have moved -- there is a chance I                      15:11:15
13   could have moved, but --                                                15:11:18
14      Q.       And how would he have made that clear to                    15:11:21
15   you in your mind; to say:         Excuse me.     May I                  15:11:25
16   pass?                                                                   15:11:30
17      A.       Yeah.    I mean, you do that in public all                  15:11:30
18   the time.                                                               15:11:33
19      Q.       I just want to go back to -- so now you                     15:11:33
20   say your companion -- the person you called his                         15:11:36
21   companion is on the right side, right?                                  15:11:37
22      A.       Right.                                                      15:11:40
23      Q.       His companion is actually physically to                     15:11:41
24   his right?                                                              15:11:44
25      A.       Yes.                                                        15:11:44


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                         Transcript of Nicholas Sandmann
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1    people moved.                                                           15:14:23
2              MR. SIEGEL:     Okay.     Let's go to Exhibit                 15:14:25
3    17, which is video 8 of the stip.                                       15:14:27
4              MR. McMURTRY:      Exhibit 17?                                15:14:39
5              MR. SIEGEL:     Yeah, Exhibit 17, video 8                     15:14:41
6    of the stip.                                                            15:14:45
7              (Thereupon, a video recording of Exhibit                      15:15:07
8    17 was played.)                                                         15:15:07
9    BY MR. SIEGEL:                                                          15:15:14
10      Q.     Okay.     Zero seconds.     So, again, Nick, I                15:15:14
11   will ask you the same question.         Do you see where                15:15:19
12   your hand is up?                                                        15:15:21
13             MR. McMURTRY:      Where the cursor is?                       15:15:26
14             MR. SIEGEL:     Yeah, where the cursor is.                    15:15:28
15      A.     I can't even be sure that that is my                          15:15:30
16   hand, to be honest with you.         I don't -- I don't                 15:15:33
17   think it is my hand.                                                    15:15:44
18      Q.     You think that's not your hand?                               15:15:46
19      A.     No.     I do see a hand in the crowd,                         15:15:47
20   but --                                                                  15:15:50
21             MR. McMURTRY:      I'm sorry.     I was just                  15:15:50
22   thinking out loud.      I apologize.                                    15:15:53
23             MR. SIEGEL:     All right.      Human nature.                 15:15:55
24             Okay.     So let's go ahead and just play                     15:15:57
25   that in realtime.                                                       15:16:00


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                           Transcript of Nicholas Sandmann
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1                (Thereupon, a video recording of Exhibit                    15:16:03
2    17 was played.)                                                         15:16:03
3                MS. MEEK:     Paused at 9 seconds.                          15:16:13
4                MR. SIEGEL:     Can we make out Nick?                       15:16:18
5    BY MR. SIEGEL:                                                          15:16:22
6       Q.       That's you, where the cursor is                             15:16:22
7    pointing?                                                               15:16:24
8       A.       Yes.                                                        15:16:24
9       Q.       Okay.    So at this point, it looks like                    15:16:25
10   you were standing somewhat to Mr. Phillips' left?                       15:16:27
11      A.       Correct.                                                    15:16:31
12      Q.       Okay.    And again, at this point, there                    15:16:32
13   are students between you and Phillips?                                  15:16:35
14      A.       Correct.                                                    15:16:38
15      Q.       And there are students -- quite a few                       15:16:38
16   students behind you, right, in the rows right                           15:16:42
17   behind you?                                                             15:16:46
18      A.       Right.                                                      15:16:46
19               MR. SIEGEL:     Okay.    Let's restart.                     15:16:47
20               MS. MEEK:     Restarting at 9 seconds.                      15:16:49
21               (Thereupon, a video recording of Exhibit                    15:16:54
22   17 was played.)                                                         15:16:54
23   BY MR. SIEGEL:                                                          15:16:56
24      Q.       Okay.    Again, some students in front of                   15:16:56
25   you have parted, right, moved out of the way,                           15:16:59


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                         Transcript of Nicholas Sandmann
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1    between where you and Phillips are, right?                              15:17:02
2       A.     Right.                                                        15:17:05
3       Q.     Okay.    And there are still some students                    15:17:06
4    standing behind you?                                                    15:17:09
5       A.     Right.                                                        15:17:10
6              MR. SIEGEL:     Okay.    Where are we now?                    15:17:22
7    Are we at 15?                                                           15:17:25
8              MS. MEEK:     Yes, this is 15.                                15:17:27
9              MR. SIEGEL:     Okay.    Look at yourself and                 15:17:28
10   play a couple more seconds.                                             15:17:30
11             (Thereupon, a video recording of Exhibit                      15:17:34
12   17 was played.)                                                         15:17:34
13   BY MR. SIEGEL:                                                          15:17:36
14      Q.     Do you see you look down?                                     15:17:36
15      A.     Not really.                                                   15:17:45
16      Q.     Okay.    Let's go back and look at that                       15:17:45
17   again.                                                                  15:17:47
18             (Thereupon, a video recording of Exhibit                      15:17:50
19   17 was played.)                                                         15:17:50
20   BY MR. SIEGEL:                                                          15:17:56
21      Q.     Do you see that looking down?                                 15:17:56
22      A.     Yeah.    I'm looking down that way.                           15:17:58
23             MR. SIEGEL:     Okay.                                         15:18:01
24             MS. MEEK:     We are at 16 seconds.                           15:18:03
25             MR. SIEGEL:     Now, just frame -- go frame                   15:18:14


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                         Transcript of Nicholas Sandmann
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1    by frame a little bit more.                                             15:18:16
2              (Thereupon, a video recording of Exhibit                      15:18:19
3    17 was played.)                                                         15:18:19
4              MR. SIEGEL:     Okay.    Stop.                                15:18:20
5    BY MR. SIEGEL:                                                          15:18:21
6       Q.     So it looks like the camera is blocked                        15:18:21
7    by the white hat, right?                                                15:18:24
8       A.     Right.                                                        15:18:26
9       Q.     But it looks like at this point there is                      15:18:27
10   nobody between you and Mr. Phillips?                                    15:18:30
11      A.     Correct.                                                      15:18:32
12      Q.     Okay.    And it looks like at this point                      15:18:33
13   you and Phillips are kind of facing each other?                         15:18:41
14      A.     Right.                                                        15:18:43
15             MR. SIEGEL:     Okay.    All right.    Let's go               15:18:51
16   a few more seconds.                                                     15:18:53
17             MS. MEEK:     Starting at 16.                                 15:19:00
18             (Thereupon, a video recording of Exhibit                      15:19:02
19   17 was played.)                                                         15:19:02
20   BY MR. SIEGEL:                                                          15:19:06
21      Q.     Do you see now Phillips has turned to                         15:19:06
22   his left -- I mean, to his left a little bit,                           15:19:10
23   right?                                                                  15:19:12
24      A.     Right.                                                        15:19:12
25      Q.     And he's looking -- he's not looking at                       15:19:13


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1    you now, right?                                                         15:19:15
2       A.      Correct.                                                     15:19:16
3       Q.      He is looking -- you are sort of looking                     15:19:16
4    at him, but he's not looking at you, right?                             15:19:18
5       A.      Right.                                                       15:19:20
6       Q.      He's looking up towards his left?                            15:19:21
7       A.      Right.                                                       15:19:25
8               MR. SIEGEL:     Where are we now, at 20                      15:19:25
9    seconds?                                                                15:19:26
10              MS. MEEK:     Yes.                                           15:19:27
11   BY MR. SIEGEL:                                                          15:19:28
12      Q.      And so right now, the -- the student who                     15:19:28
13   is standing right in front of Phillips is                               15:19:32
14   Cammeron, right?                                                        15:19:37
15      A.      Correct.                                                     15:19:40
16              MR. SIEGEL:     Okay.    So let's go -- just                 15:19:41
17   another second frame by frame.                                          15:19:42
18              (Thereupon, a video recording of Exhibit                     15:19:46
19   17 was played.)                                                         15:19:46
20              MR. SIEGEL:     Now stop.     Where are we                   15:19:52
21   now?                                                                    15:19:54
22              MS. MEEK:     21 seconds.                                    15:19:54
23   BY MR. SIEGEL:                                                          15:19:56
24      Q.      Now, Cammeron has just moved over,                           15:19:56
25   right?                                                                  15:20:01


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1       A.       Right.                                                      15:20:01
2       Q.       Moved over to his right?                                    15:20:01
3       A.       Right.                                                      15:20:04
4       Q.       So he is no longer standing in front of                     15:20:04
5    Phillips, right?                                                        15:20:07
6       A.       Right.                                                      15:20:08
7       Q.       And so do you know why Mr. Phillips                         15:20:09
8    turned to his left after first facing you and                           15:20:15
9    looked towards his left?                                                15:20:20
10      A.       No.                                                         15:20:22
11      Q.       Is it possible that he was trying to see                    15:20:24
12   if Cammeron and you would move out of his way?                          15:20:26
13               MR. McMURTRY:      Objection.                               15:20:32
14      A.       That's possible.      But if you rewind the                 15:20:33
15   video a couple of seconds, you will see that                            15:20:37
16   there was a lot less students to go through if he                       15:20:40
17   had gone to my right, which the other angle shows                       15:20:44
18   when his companion gets up next to him.                                 15:20:48
19      Q.       At this -- right now, you are saying                        15:20:51
20   there is lots of room on the right?                                     15:20:53
21      A.       No.   I'm saying if you rewind it a                         15:20:55
22   couple seconds ago, you will see a lot less                             15:20:58
23   students, and they are a lot more spread out to                         15:21:01
24   my right.                                                               15:21:04
25               MR. SIEGEL:     Let's go back a couple --                   15:21:05


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1              MR. McMURTRY:      To his right.                              15:21:05
2    BY MR. SIEGEL:                                                          15:21:06
3       Q.     You are saying to your --                                     15:21:06
4       A.     No.     To -- to my left.     My right now on                 15:21:06
5    the video.                                                              15:21:12
6              MR. McMURTRY:      We are at five hours now.                  15:21:12
7    You can go over, but --                                                 15:21:14
8              MR. SIEGEL:     Are we?                                       15:21:16
9              MR. McMURTRY:      Yes.                                       15:21:17
10             MR. SIEGEL:     Okay.     Let's go back over                  15:21:17
11   those two frames.                                                       15:21:19
12             MS. MEEK:     Starting at 19 seconds.                         15:21:20
13             (Thereupon, a video recording of Exhibit                      15:21:33
14   17 was played.)                                                         15:21:33
15             MR. SIEGEL:     Okay.     So keep going.                      15:21:34
16             THE WITNESS:     Right there.                                 15:21:37
17   BY MR. SIEGEL:                                                          15:21:37
18      Q.     Okay.     So -- so your testimony is that,                    15:21:37
19   if I understand what you are saying, is that if                         15:21:43
20   Mr. Phillips at that point wanted to try to                             15:21:47
21   find -- find a path, he could have made a better                        15:21:49
22   decision by looking to your right?                                      15:21:57
23      A.     Right.     He could have gone around that                     15:21:59
24   kid with what I think is a Notre Dame Irish                             15:22:01
25   beanie on and gotten all the way up to the kid                          15:22:08


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                           Transcript of Nicholas Sandmann
                          Conducted on 9/13/2021 & 9/14/2021           234

1    with both the sweatshirt and the red hat.                               15:22:11
2       Q.       And it's your testimony he should have                      15:22:14
3    walked right through those snow piles?                                  15:22:16
4       A.       Why?    I mean, what -- why wouldn't he be                  15:22:18
5    able to?     Is there a chance that he would have                       15:22:21
6    fallen maybe?                                                           15:22:24
7       Q.       Your testimony is that a 65-year-old man                    15:22:26
8    should have just walked right through the snow                          15:22:30
9    piles.     Do you see there are like three snow                         15:22:33
10   piles on the three steps?                                               15:22:36
11      A.       Oh, I mean --                                               15:22:37
12      Q.       Is it visible here?                                         15:22:39
13               MR. McMURTRY:      You don't need to argue                  15:22:39
14   it out with him.       Just -- just answer the                          15:22:41
15   question.     Is there a question?                                      15:22:42
16      A.       My --                                                       15:22:44
17               MR. McMURTRY:      Wait a second.     Let's see             15:22:45
18   if there's a question.                                                  15:22:46
19   BY MR. SIEGEL:                                                          15:22:47
20      Q.       I just want to say, your testimony is                       15:22:47
21   that a roughly 65-year-old man could have walked                        15:22:49
22   up through those three snow piles to your right?                        15:22:54
23               MR. McMURTRY:      First off, objection.                    15:22:57
24   You have already suggested that Nick should have                        15:22:58
25   walked up that way as if he did something wrong.                        15:23:01


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                           Transcript of Nicholas Sandmann
                          Conducted on 9/13/2021 & 9/14/2021           236

1                If it wasn't for him, then it wouldn't                      15:23:56
2    have been for me either.                                                15:23:58
3                It seems like Mr. Phillips and I both                       15:24:00
4    made the same judgment right here that we both                          15:24:02
5    prefer not to move on the snow and ice.            That is              15:24:05
6    my point.                                                               15:24:10
7       Q.       And your contention is you made a                           15:24:10
8    different judgment than all the other students                          15:24:13
9    who were standing on those same steps and moved                         15:24:16
10   to the side?                                                            15:24:19
11      A.       Yes, the same way that Phillips did.                        15:24:21
12      Q.       Well, how do you know what judgment                         15:24:23
13   Phillips made?                                                          15:24:25
14      A.       Because I -- I saw what judgment he made                    15:24:26
15   because I was two feet in front of him and I saw                        15:24:29
16   where he moved.                                                         15:24:31
17      Q.       You don't know what was in his mind?                        15:24:32
18      A.       Oh, I'm not -- I'm not claiming I knew                      15:24:36
19   what was in his mind.        I'm saying I saw the                       15:24:39
20   result of his thinking in his actions.                                  15:24:42
21      Q.       Right.     So let's go back to the                          15:24:45
22   question.     Right?                                                    15:24:48
23      A.       Okay.                                                       15:24:49
24      Q.       So we have established that initially                       15:24:49
25   you and Phillips came face to face?                                     15:24:52


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                         Transcript of Nicholas Sandmann
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1       A.     Right.                                                        15:24:54
2       Q.     And Phillips turns to his left?                               15:24:55
3       A.     Right.                                                        15:24:56
4       Q.     He is looking at Cammeron?                                    15:24:57
5       A.     Right.                                                        15:25:00
6       Q.     Right?     And Cammeron moves --                              15:25:00
7       A.     Right.                                                        15:25:02
8       Q.     -- to the right?      And then Phillips                       15:25:02
9    turns back towards you, right?                                          15:25:04
10      A.     Right.                                                        15:25:06
11      Q.     So isn't it possible that Mr. Phillips                        15:25:06
12   at that point was trying to see if you all would                        15:25:10
13   create a path to his left --                                            15:25:16
14             MR. McMURTRY:      Objection.                                 15:25:18
15   BY MR. SIEGEL:                                                          15:25:18
16      Q.     -- so he could move that way?                                 15:25:18
17      A.     Correct.     But I don't think there is a                     15:25:20
18   difference.    Because the way this is being shaped                     15:25:23
19   is that if I moved, he would have had a safer                           15:25:27
20   path.   When in reality, the conditions on my                           15:25:31
21   left, where we can see that it's clear and where                        15:25:34
22   I actually was, were the same; and mine, if not,                        15:25:37
23   might have been a little worse.                                         15:25:44
24      Q.     Well, again, that is not my question.                         15:25:45
25             My question is, it's possible that                            15:25:48


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                        Transcript of Nicholas Sandmann
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1    Phillips was, when he turned to his left and                            15:25:52
2    looked at Cammeron and Cammeron moved out of the                        15:25:56
3    way, looked back and looked at you, that Phillips                       15:25:59
4    was trying to see if you guys would both move to                        15:26:03
5    create a path for him to go towards what would                          15:26:08
6    now be where you are standing?                                          15:26:14
7                MR. McMURTRY:     Objection.                                15:26:15
8    BY MR. SIEGEL:                                                          15:26:16
9       Q.       Slightly to your right.         Isn't that                  15:26:16
10   possible?                                                               15:26:18
11               MR. McMURTRY:     Objection.      Go ahead.                 15:26:19
12      A.       It's possible he was thinking that.                         15:26:20
13   Again, he never made that clear.                                        15:26:22
14   BY MR. SIEGEL:                                                          15:26:25
15      Q.       He never made that clear, meaning he                        15:26:25
16   didn't articulate it --                                                 15:26:28
17      A.       Correct.                                                    15:26:29
18      Q.       -- to you at the -- at the moment?                          15:26:30
19      A.       Correct.                                                    15:26:31
20               MR. SIEGEL:     Okay.   Okay.     Let's just go             15:26:31
21   a little bit more.                                                      15:26:48
22               MS. MEEK:     We were just discussing a                     15:26:50
23   frame at 20 seconds.        I will continue the video                   15:26:53
24   from that point.                                                        15:26:56
25               MR. McMURTRY:     We are at five hours and                  15:26:57


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                         Transcript of Nicholas Sandmann
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1    black hoodie?                                                           15:31:24
2              Who is the fellow in the Notre Dame hat                       15:31:26
3    right behind you, a little to your left?                                15:31:31
4       A.     I think I was able to identify him on                         15:31:33
5    the stills.     It's kind of hard to right here.                        15:31:36
6    But I would assume -- I would guess, based off                          15:31:40
7    this picture, that it's Chase Donahue.                                  15:31:44
8       Q.     Chase Donahue?      Okay.                                     15:31:47
9       A.     I could be wrong.                                             15:31:50
10      Q.     Is he somebody you knew?                                      15:31:51
11      A.     He was in my grade, yeah.                                     15:31:52
12             MR. SIEGEL:     Okay.    Let's go ahead.                      15:32:02
13             (Thereupon, a video recording of Exhibit                      15:32:05
14   18 was played.)                                                         15:32:05
15   BY MR. SIEGEL:                                                          15:32:07
16      Q.     Okay.    From that angle, Nick, didn't you                    15:32:07
17   just move over to your right a little?                                  15:32:10
18      A.     Can you rewind it?                                            15:32:13
19             MR. SIEGEL:     Sure.                                         15:32:15
20             MR. McMURTRY:      Can you go frame by frame                  15:32:15
21   backwards?                                                              15:32:18
22             MS. MEEK:     Not on a VLC player.      I'm                   15:32:19
23   starting at 3:07.                                                       15:32:27
24             MR. McMURTRY:      Do it frame by frame,                      15:32:29
25   please.                                                                 15:32:31


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                           Transcript of Nicholas Sandmann
                          Conducted on 9/13/2021 & 9/14/2021           243

1                I mean, I can't -- you say this stuff.                      15:32:32
2    I can't see it.        I'm just trying to know whether                  15:32:34
3    I need to object or not.                                                15:32:36
4                You are saying he moved forward.            Can             15:32:38
5    you identify where he moved --                                          15:32:41
6                MR. SIEGEL:     No.     My question was, you                15:32:43
7    moved to your right?                                                    15:32:46
8                (Thereupon, a video recording of Exhibit                    15:32:58
9    18 was played.)                                                         15:32:58
10               MS. MEEK:     We just did frame by frame                    15:33:29
11   from 3:07 to 3:12.                                                      15:33:31
12   BY MR. SIEGEL:                                                          15:33:35
13         Q.    So from that vantage point, Nick, is                        15:33:35
14   when you moved some to your right?                                      15:33:36
15         A.    I answered so as I may have.         It's                   15:33:38
16   somewhat hard to tell with the video.            Whoever                15:33:41
17   recorded this, it's kind of shaky.           I could have.              15:33:44
18   It's -- it's -- I can't put a definite answer on                        15:33:49
19   it.                                                                     15:33:53
20         Q.    Okay.    And at this point, it looks like                   15:33:56
21   there are still maybe one or two rows of students                       15:33:59
22   between you and the camera?                                             15:34:02
23         A.    Correct.                                                    15:34:04
24               MR. SIEGEL:     Okay.     Let's keep going                  15:34:08
25   realtime.                                                               15:34:12


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                          Transcript of Nicholas Sandmann
                         Conducted on 9/13/2021 & 9/14/2021                                    245

1       A.      Correct.                                                                             15:35:37
                                                                               Name Redacted
2       Q.      You are a little bit to his right.                                                   15:35:38
3    is a little bit to his left.                   Right?                                           15:35:41
4       A.      Yes.                                                                                 15:35:43
5               MR. SIEGEL:       Okay.            Let's go.                                         15:35:48
6               MS. MEEK:     Continuing on from 3:32.                                               15:35:49
7               (Thereupon, a video recording of Exhibit                                             15:35:55
8    18 was played.)                                                                                 15:35:55
9               MS. MEEK:     Paused at 3:37.                                                        15:35:57
10   BY MR. SIEGEL:                                                                                  15:36:02
                                   Name Redacted         Name Redacted
11      Q.      Okay.    So now                     --                    sort of                    15:36:02
12   moving over to the side, right?                     He is moving                                15:36:09
13   over to your left.       And the other guy, the blue                                            15:36:12
14   ski hat --                                                                                      15:36:21
15      A.      Joe.                                                                                 15:36:22
16      Q.      -- Joe is moving over to your right?                                                 15:36:22
17      A.      Right.                                                                               15:36:25
18      Q.      Okay.    And let's go -- okay.                           And you                     15:36:28
19   are still standing in front of the fellow with                                                  15:36:36
20   the black sweatshirt sort of to his right, right?                                               15:36:40
21      A.      Right.                                                                               15:36:44
22              MR. SIEGEL:       Okay.            Let's play it.                                    15:36:44
23              MS. MEEK:     Playing from 3 minutes and 37                                          15:36:46
24   seconds.                                                                                        15:36:51
25              (Thereupon, a video recording of Exhibit                                             15:36:54


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                          Transcript of Nicholas Sandmann
                         Conducted on 9/13/2021 & 9/14/2021            246

1    18 was played.)                                                         15:36:54
2               MS. MEEK:     Paused at 3 minutes and 42                     15:36:55
3    seconds.                                                                15:36:58
4    BY MR. SIEGEL:                                                          15:36:58
5       Q.      Okay.    Nick, do we see you look down                       15:36:58
6    again?                                                                  15:37:01
7       A.      Yeah.                                                        15:37:02
8       Q.      And did you move a little bit over to                        15:37:03
9    your left?                                                              15:37:06
10      A.      My left?                                                     15:37:07
11      Q.      Your left as you were standing there?                        15:37:10
12      A.      Can you replay it?                                           15:37:13
13              MR. SIEGEL:     Sure.                                        15:37:15
14              MS. MEEK:     Going back to 3:37.      We will               15:37:19
15   pause at 3:42.                                                          15:37:24
16   BY MR. SIEGEL:                                                          15:37:26
17      Q.      Just to get it into the record, so now                       15:37:26
18   you are to the right of the fellow in the black                         15:37:29
19   sweatshirt who you don't know, right?                                   15:37:32
20      A.      Right.                                                       15:37:34
21              MR. SIEGEL:     Go ahead and play it.                        15:37:34
22              (Thereupon, a video recording of Exhibit                     15:37:37
23   18 was played.)                                                         15:37:37
24   BY MR. SIEGEL:                                                          15:37:43
25      Q.      It seems like you just moved over a                          15:37:43


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                         Transcript of Nicholas Sandmann
                        Conducted on 9/13/2021 & 9/14/2021             247

1    little to your left?                                                    15:37:46
2       A.     I think the guy behind me moved.          I                   15:37:47
3    think I kind of -- if I moved over, it may have                         15:37:49
4    been two inches, an inch.         I think I was just                    15:37:52
5    kind of resetting my footing on the step.                               15:37:55
6              MR. McMURTRY:      We do need to wrap it up.                  15:37:59
7    BY MR. SIEGEL:                                                          15:38:02
8       Q.     Okay.     So -- so you may have been                          15:38:02
9    repositioning yourself a little bit, just                               15:38:03
10   resetting your footing?                                                 15:38:07
11      A.     Yeah, resetting my footing.         If I moved,               15:38:08
12   it was very minimal to where it was not -- was                          15:38:11
13   not noticeable, for the most part, besides when                         15:38:14
14   you slow down the frame.                                                15:38:17
15      Q.     Well, you say it's not noticeable for                         15:38:18
16   the most part.      Can you say that it's absolutely                    15:38:20
17   not noticeable to somebody who was watching this                        15:38:23
18   at the time?                                                            15:38:26
19      A.     No.     I'm -- I'm just saying that the                       15:38:26
20   movement in which I did was minimal.          It's not                  15:38:30
21   like I slid over a foot or two.         I moved six                     15:38:33
22   inches at the most.                                                     15:38:39
23             MR. SIEGEL:     Okay.     And at this point,                  15:38:50
24   you're -- let's go six more seconds, and then we                        15:38:53
25   will --                                                                 15:38:54


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                         Transcript of Nicholas Sandmann
                        Conducted on 9/13/2021 & 9/14/2021             248

1              MS. MEEK:     Starting at 3:42.                               15:38:55
2              MR. SIEGEL:     Yes.                                          15:38:57
3              (Thereupon, a video recording of Exhibit                      15:39:00
4    18 was played.)                                                         15:39:00
5    BY MR. SIEGEL:                                                          15:39:04
6       Q.     So at this point, you are right in front                      15:39:04
7    of Nathan Phillips, right?                                              15:39:07
8       A.     Right.                                                        15:39:09
9              MR. SIEGEL:     Okay.    Let's call it a day                  15:39:10
10   and come back tomorrow.                                                 15:39:12
11             MR. McMURTRY:      See you in the morning.                    15:39:13
12             MR. SIEGEL:     For my prep purposes, how                     15:39:14
13   long did we go today?                                                   15:39:16
14             THE VIDEOGRAPHER:       Counsel, would you                    15:39:19
15   like to go off the record and I can tell you the                        15:39:20
16   full amount?                                                            15:39:22
17             MR. SIEGEL:     Sure.                                         15:39:23
18             THE VIDEOGRAPHER:       We are going off the                  15:39:24
19   record.   The time is 3:39 p.m.                                         15:39:25
20             (Off the record at 3:39 p.m.)                                 15:39:29
21   Tuesday, September 14, 2021 Continuation of the                         09:14:27
22   deposition of Nicholas Sandmann                                         09:14:27
23             THE VIDEOGRAPHER:       This begins day two,                  09:14:35
24   continuing the deposition of Nicholas Sandmann in                       09:14:37
25   the matter of Nicholas Sandmann, et al. versus                          09:14:39


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                         Transcript of Nicholas Sandmann
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1              MR. SIEGEL:       Right.    Exhibit 18, video                 09:19:34
2    2 -- video 17.      Okay.    We will go with that.      I               09:19:37
3    will double check it just to make sure of it.                           09:19:41
4              (Thereupon, a video recording of Exhibit                      09:19:44
5    18 was played.)                                                         09:19:44
6    BY MR. SIEGEL:                                                          09:19:51
7       Q.     Do you -- do you hear a couple of kids                        09:19:51
8    saying:   You can't move him?                                           09:19:53
9       A.     No.     You can replay it.                                    09:19:55
10             MR. SIEGEL:       Yeah.    Let's replay it.                   09:19:59
11             MS. MEEK:     Starting again at 4:38.                         09:20:02
12             (Thereupon, a video recording of Exhibit                      09:20:07
13   18 was played.)                                                         09:20:07
14   BY MR. SIEGEL:                                                          09:20:12
15      Q.     Did you hear that?                                            09:20:12
16      A.     Yes.                                                          09:20:14
17      Q.     Okay.     Did you hear that at the time?                      09:20:14
18      A.     I'm not sure if I did.         And from this, I               09:20:19
19   can't really tell who said it.                                          09:20:22
20      Q.     Okay.     And what do you understand it to                    09:20:25
21   mean?                                                                   09:20:33
22             MR. McMURTRY:       Objection.    Go ahead.                   09:20:33
23      A.     I understand that based off whoever --                        09:20:35
24   whoever said it, whether it was a student from                          09:20:39
25   Cov Cath, a third party or someone associated                           09:20:43


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                         Transcript of Nicholas Sandmann
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1    with Mr. Phillips, that Mr. Phillips would be                           09:20:46
2    unable to move me.                                                      09:20:52
3    BY MR. SIEGEL:                                                          09:20:55
4       Q.     Okay.    Do you -- whoever said it, right,                    09:20:55
5    do you think it would be fair to say that that                          09:21:03
6    could be interpreted as taunting Mr. Phillips?                          09:21:05
7              MR. McMURTRY:      Objection.                                 09:21:11
8       A.     No.                                                           09:21:12
9    BY MR. SIEGEL:                                                          09:21:13
10      Q.     And why not?                                                  09:21:13
11      A.     Because I -- whoever said it was, I                           09:21:14
12   think -- or I think was noticing how close                              09:21:20
13   Mr. Phillips was to me and simply stating the                           09:21:23
14   obvious, that Mr. Phillips could not move me.                           09:21:28
15      Q.     Okay.    So, what, they were in your --                       09:21:32
16   so --                                                                   09:21:38
17             MR. McMURTRY:      He answered the question.                  09:21:41
18             MR. SIEGEL:     No.   That's fair.                            09:21:43
19   BY MR. SIEGEL:                                                          09:21:45
20      Q.     And so, your -- in your opinion, they                         09:21:45
21   weren't in any way -- well, I will rephrase it.                         09:21:47
22             Do you think that was disrespectful to                        09:21:51
23   Mr. Phillips, whoever said it?                                          09:21:53
24             MR. McMURTRY:      Objection.                                 09:21:56
25      A.     No, because I don't think Mr. Phillips                        09:21:57


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                         Transcript of Nicholas Sandmann
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1    has a right to move me.                                                 09:21:59
2    BY MR. SIEGEL:                                                          09:22:03
3       Q.     Okay.    Would it be fair to say that                         09:22:03
4    people -- someone could reasonably disagree with                        09:22:07
5    you about whether that was disrespectful to him                         09:22:10
6    in that moment?                                                         09:22:13
7              MR. McMURTRY:      Objection.                                 09:22:14
8       A.     I disagree with that.                                         09:22:14
9              MR. SIEGEL:     Yeah, I understand you                        09:22:16
10   would disagree with it.                                                 09:22:17
11      A.     No, I don't think it's reasonable to                          09:22:19
12   think that.                                                             09:22:21
13      Q.     Okay.    So you -- you think that your                        09:22:21
14   opinion is the only reasonable opinion?                                 09:22:23
15             MR. McMURTRY:      Objection.                                 09:22:25
16      A.     I didn't say that.       I think it's just                    09:22:25
17   unreasonable to think that it would be respectful                       09:22:28
18   to be able to move me out of the way.                                   09:22:31
19   BY MR. SIEGEL:                                                          09:22:35
20      Q.     Well, what the person said was:         You                   09:22:35
21   can't move him, right?                                                  09:22:39
22      A.     Right.                                                        09:22:41
23      Q.     So what -- so why do you think it would                       09:22:42
24   be disrespectful to think that Mr. Phillips could                       09:22:49
25   move you out of the way?                                                09:22:56


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                         Transcript of Nicholas Sandmann
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1       A.     Because Mr. Phillips and I have never                         09:22:58
2    known each other for our entire lives, and for                          09:23:01
3    him to physically move me out of the way would                          09:23:06
4    involve him in some way using some kind of force                        09:23:10
5    to alter where I was.      And to me, that's very                       09:23:14
6    disrespectful to put your hands on someone you                          09:23:18
7    don't know.                                                             09:23:21
8       Q.     Okay.    What about, do you think it would                    09:23:22
9    be disrespectful for Mr. Phillips to -- strike                          09:23:26
10   that.                                                                   09:23:35
11             Okay.    Let's keep going.                                    09:23:44
12             MS. MEEK:     Starting at 4:43.                               09:23:46
13             MR. SIEGEL:     Listen here, because it's                     09:23:48
14   literally like two or three seconds.          Okay?     We              09:23:49
15   will replay it, if we need to.                                          09:23:51
16             (Thereupon, a video recording of Exhibit                      09:23:55
17   18 was played.)                                                         09:23:55
18   BY MR. SIEGEL:                                                          09:23:56
19      Q.     Did you hear somebody say:        Get him?                    09:23:56
20      A.     It kind of cut off.                                           09:23:58
21             MR. SIEGEL:     It actually was                               09:24:00
22   literally -- listen to it again.                                        09:24:01
23             (Thereupon, a video recording of Exhibit                      09:24:17
24   18 was played.)                                                         09:24:17
25      A.     Yes, I hear that.                                             09:24:18


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1    BY MR. SIEGEL:                                                          09:24:20
2       Q.     Okay.    Did you hear that at the time?                       09:24:20
3       A.     It's possible.                                                09:24:22
4       Q.     Do you know who said either one of                            09:24:31
5    those?                                                                  09:24:33
6       A.     No.                                                           09:24:33
7       Q.     Okay.    What do you understand it to                         09:24:34
8    mean?                                                                   09:24:39
9              MR. McMURTRY:      Objection.    Go ahead.                    09:24:40
10      A.     To be honest, I don't really know what                        09:24:41
11   they mean by that.      I -- I don't -- I don't                         09:24:44
12   really know.                                                            09:24:51
13   BY MR. SIEGEL:                                                          09:24:52
14      Q.     Okay.    Could that be interpreted as                         09:24:52
15   disrespectful to Phillips?                                              09:24:55
16             MR. McMURTRY:      Objection.                                 09:24:57
17   BY MR. SIEGEL:                                                          09:24:58
18      Q.     In your opinion.                                              09:24:58
19      A.     That could be interpreted.                                    09:25:00
20      Q.     Okay.    Now, at this point -- let's                          09:25:02
21   just --                                                                 09:25:04
22             MR. SIEGEL:     For the record, the time                      09:25:05
23   code?                                                                   09:25:07
24             MS. MEEK:     4 minutes and 46 seconds.                       09:25:08
25   BY MR. SIEGEL:                                                          09:25:12


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                          Transcript of Nicholas Sandmann
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1          Q.   Okay.    So at this point, there is                          09:25:12
2    still -- this is a little bit of an angle, but                          09:25:15
3    there are still several rows of space behind you,                       09:25:19
4    right, where there -- where there are not any                           09:25:22
5    kids?                                                                   09:25:24
6          A.   Correct.                                                     09:25:24
7               MR. McMURTRY:      Objection.    Go ahead.                   09:25:24
8          A.   Correct.                                                     09:25:26
9               MR. SIEGEL:     Okay.    Let's keep playing                  09:25:26
10   it.                                                                     09:25:29
11              (Thereupon, a video recording of Exhibit                     09:25:30
12   18 was played.)                                                         09:25:30
13              MS. MEEK:     I just paused at 5 minutes.                    09:25:46
14   BY MR. SIEGEL:                                                          09:25:50
15         Q.   Okay.    So in that roughly 15 seconds we                    09:25:50
16   saw, right, the students have all kind of filled                        09:25:52
17   back in, right?                                                         09:25:56
18         A.   Right.                                                       09:25:57
19         Q.   And so you have several kids that are                        09:25:58
20   right behind you at that point and closer on your                       09:26:04
21   side, et cetera, right?                                                 09:26:06
22         A.   Correct.                                                     09:26:07
23         Q.   Okay.    And you testified before that the                   09:26:08
24   longer it went on, the more I felt like getting                         09:26:13
25   out of there; at first I didn't want to; then                           09:26:17


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                         Transcript of Nicholas Sandmann
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1    when I did, I realized I didn't have the option.                        09:26:19
2    Was this about the point where you were sort of                         09:26:23
3    thinking I wish I could get out of here?                                09:26:26
4       A.     Yes.    After a couple minutes, when I                        09:26:29
5    realized that he wasn't going to move around me                         09:26:32
6    or go anywhere else, it started to make me feel                         09:26:36
7    uncomfortable.     Because in my opinion, it was                        09:26:42
8    very awkward, and I -- I just felt as if the                            09:26:45
9    longer he stayed there, the more weird the                              09:26:51
10   encounter was, which made me want to leave more.                        09:26:57
11             MR. SIEGEL:     Okay.    Let's go to -- can                   09:27:02
12   you hand, Nick and Todd, Exhibit 19, which is --                        09:27:06
13   the Bates numbers are NS 105 and 106.                                   09:27:14
14             Nick, you have the same initials as me,                       09:27:21
15   and this completely confounds me throughout this                        09:27:25
16   case.   I keep thinking I'm looking at my name.                         09:27:28
17   BY MR. SIEGEL:                                                          09:27:36
18      Q.     So this is -- this appears to be --                           09:27:36
19   well, you tell us what this is.                                         09:27:37
20      A.     This is an e-mail I sent the time day                         09:27:39
21   after the encounter to my principal.                                    09:27:41
22      Q.     Okay.    And I take it you -- you wrote                       09:27:49
23   this, right?                                                            09:27:52
24      A.     Correct.                                                      09:27:53
25      Q.     Okay.    I'm going to try to go -- do you                     09:27:54


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                         Transcript of Nicholas Sandmann
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1    see the sentence that's maybe about a third of                          09:28:07
2    the way down where it says:        We did the normal                    09:28:10
3    spirit cheers?                                                          09:28:13
4              I'm actually going to start on the next                       09:28:15
5    one, which says:     At this point, I was in the                        09:28:18
6    middle surrounded.                                                      09:28:20
7       A.     Okay.                                                         09:28:22
8              MR. McMURTRY:      Where are we?                              09:28:23
9       A.     I see it, at this point.                                      09:28:23
10   BY MR. SIEGEL:                                                          09:28:26
11      Q.     So you say:     At this point, I was in the                   09:28:26
12   middle surrounded by all other 250-ish students.                        09:28:28
13             So do you -- when you said 250-ish in                         09:28:33
14   the e-mail, do you believe that is about accurate                       09:28:36
15   in terms of the number of students who were                             09:28:39
16   there?   And Covington students, is what I mean.                        09:28:44
17      A.     To be honest, at this point -- and even                       09:28:47
18   now I don't know the actual total number of                             09:28:50
19   students there.     And at the time of writing this                     09:28:53
20   e-mail, I was under a lot of duress and just                            09:28:57
21   writing off the top of my head.         So I would not                  09:29:01
22   take this 250 number literally.                                         09:29:05
23      Q.     Okay.    Fair enough.                                         09:29:07
24             So a couple of sentences later, you say:                      09:29:12
25   Our students moved out of his way.         It was as if                 09:29:16


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                         Transcript of Nicholas Sandmann
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1    he was trying to make a path through our section,                       09:29:20
2    which was obviously unsafe.                                             09:29:23
3              So it appeared to you that Phillips was                       09:29:25
4    trying to make a path through the students?                             09:29:32
5       A.     Yes, based off their reaction.                                09:29:34
6       Q.     Okay.     Did you think all the other                         09:29:38
7    students were doing something that was unsafe?                          09:29:47
8       A.     No.     I -- I meant, obviously, unsafe,                      09:29:50
9    and then as in unsafe that Nathan Phillips was                          09:29:54
10   walking through our section.                                            09:29:58
11      Q.     No, I understand that.          I'm sorry.    I --            09:30:05
12   I -- that was a confusing question.                                     09:30:07
13             Did you think that by making a path for                       09:30:10
14   Mr. Phillips, right, so that he continued to walk                       09:30:14
15   forward, the other students were allowing him to                        09:30:17
16   do something that was unsafe?         Is that clear?                    09:30:23
17      A.     Yes.     I --                                                 09:30:28
18             MR. McMURTRY:        Objection to the form of                 09:30:28
19   the question.      Go ahead.     Sorry.                                 09:30:30
20      A.     I meant this as what Nathan Phillips was                      09:30:32
21   doing was unsafe for us as students.                                    09:30:35
22   BY MR. SIEGEL:                                                          09:30:40
23      Q.     Okay.     And why did you think it was                        09:30:40
24   unsafe?                                                                 09:30:44
25      A.     As I testified earlier, this is based                         09:30:44


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                          Transcript of Nicholas Sandmann
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1    off of my understanding of how field trips                              09:30:49
2    operate ever since I had been in first grade,                           09:30:52
3    which was that we don't -- we don't let, you                            09:30:56
4    know, strangers who are not affiliated or cleared                       09:30:59
5    with the school to walk through that closely to                         09:31:05
6    us.                                                                     09:31:10
7               I mean, our school even has whole                            09:31:11
8    programs set up to like basically background                            09:31:16
9    checking, clear volunteers.         So this was out of                  09:31:20
10   the ordinary to me.                                                     09:31:23
11         Q.   Okay.    Did you feel like you had better                    09:31:25
12   judgment about what was safe at that moment than                        09:31:47
13   Mr. Phillips?                                                           09:31:49
14              MR. McMURTRY:      Objection.    Go ahead.                   09:31:50
15         A.   I wasn't really -- I wasn't really                           09:31:51
16   thinking as to -- in the moment as to what --                           09:31:54
17   whether Mr. Phillips was or was not thinking                            09:31:59
18   about what was safe.       I was only reacting off of                   09:32:02
19   what I was thinking.                                                    09:32:06
20   BY MR. SIEGEL:                                                          09:32:09
21         Q.   Okay.    You then say -- you also write to                   09:32:09
22   Principal Roe:      As he approached me, he realized                    09:32:23
23   I was not moving and locked eye contact with me.                        09:32:26
24              Right?                                                       09:32:30
25         A.   Right.                                                       09:32:30


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                         Transcript of Nicholas Sandmann
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1       Q.     So your perception was that Phillips                          09:32:33
2    realized you were not moving, and then he locked                        09:32:37
3    eye contact with you?                                                   09:32:40
4       A.     Correct.                                                      09:32:42
5              MR. McMURTRY:      Objection.    Go ahead.                    09:32:42
6    BY MR. SIEGEL:                                                          09:32:43
7       Q.     Did you feel like the two of you were at                      09:32:43
8    an impasse?                                                             09:32:46
9              MR. McMURTRY:      Objection.    Go ahead.                    09:32:48
10      A.     In some form of it, yes.                                      09:32:51
11   BY MR. SIEGEL:                                                          09:32:55
12      Q.     Okay.    Isn't it possible he locked eye                      09:32:55
13   contact with you because he realized you were the                       09:33:00
14   only student who wasn't moving and he perceived                         09:33:03
15   that you were intentionally blocking him?                               09:33:07
16             MR. McMURTRY:      Objection.                                 09:33:10
17      A.     I don't think that's possible.                                09:33:10
18   BY MR. SIEGEL:                                                          09:33:12
19      Q.     Why?                                                          09:33:12
20             MR. McMURTRY:      Objection.                                 09:33:13
21      A.     Because when he first looked at me, he                        09:33:14
22   was still next to Joe and the other student on my                       09:33:19
23   right, left on the video.       And so there is no way                  09:33:23
24   for me to block him when I'm five or six feet                           09:33:26
25   away from him.     He waited to come up to me and                       09:33:30


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                         Transcript of Nicholas Sandmann
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1    then claim that I blocked him.                                          09:33:33
2       Q.     So when do you maintain he first --                           09:33:36
3    he -- let's go back a second.                                           09:33:40
4              The other students are parting, right?                        09:33:45
5              At what point do you maintain that                            09:33:47
6    Phillips locked eye contact with you?                                   09:33:49
7       A.     At some -- at some point before -- a                          09:33:52
8    couple of seconds before he approached me.              He              09:33:55
9    looked at me and then walked towards me.                                09:33:59
10      Q.     So he was -- wasn't he walking -- he was                      09:34:01
11   walking through the students, right?                                    09:34:07
12      A.     Right.                                                        09:34:09
13      Q.     And he was walking forward, right?                            09:34:09
14      A.     Right.                                                        09:34:12
15      Q.     So he was walking towards you, right?                         09:34:12
16      A.     Right.                                                        09:34:19
17      Q.     And then stopped in front of you?                             09:34:19
18      A.     No.    Because as we saw yesterday, he                        09:34:22
19   went a little bit to the left, and then he came                         09:34:25
20   back.                                                                   09:34:27
21      Q.     Well, Correct.      So he first stopped in                    09:34:28
22   front of you?                                                           09:34:30
23             MR. McMURTRY:      Objection.                                 09:34:31
24   BY MR. SIEGEL:                                                          09:34:31
25      Q.     And then he went a little to the left.                        09:34:31


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                         Transcript of Nicholas Sandmann
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1    Then he looked back to you, right?                                      09:34:33
2              MR. McMURTRY:        Objection.                               09:34:35
3       A.     Right.                                                        09:34:36
4    BY MR. SIEGEL:                                                          09:34:37
5       Q.     We saw that on the video, right?                              09:34:37
6       A.     Right.                                                        09:34:41
7       Q.     So he -- it's the point where you say --                      09:34:41
8    you are saying he locked eye contact with you                           09:34:44
9    when he kind of first came to you, before he                            09:34:48
10   moved to the -- before he looked to the left and                        09:34:51
11   then looked back?                                                       09:34:54
12      A.     Well, I think -- I -- when I describe                         09:34:55
13   when he locked eye contact with me, that was when                       09:34:57
14   he came back after he had gone off to the left.                         09:35:00
15      Q.     Got it.     Okay.                                             09:35:06
16             Okay.     So we saw this on the video,                        09:35:15
17   right, when he first approached you, approached                         09:35:20
18   where you were, right?                                                  09:35:23
19      A.     Uh-huh.                                                       09:35:24
20      Q.     And then he looked to the left?                               09:35:25
21      A.     Right.                                                        09:35:26
22      Q.     He looks at Cammeron?        Is that Cammeron?                09:35:27
23      A.     I think Cammeron and Joe.                                     09:35:35
24      Q.     So Cammeron.        And then Cammeron moves                   09:35:37
25   over?                                                                   09:35:40


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1       A.     That is a question that can't be --                           09:36:40
2    that's compounded in a way that doesn't allow me                        09:36:44
3    to answer it correctly.       I contend that he locked                  09:36:47
4    eyes with me because I wasn't moving, but I did                         09:36:51
5    not block him.                                                          09:36:55
6    BY MR. SIEGEL:                                                          09:36:57
7       Q.     Well, I -- I understand that that's what                      09:36:57
8    you contend.     Okay?                                                  09:37:00
9       A.     Yes.                                                          09:37:01
10      Q.     But my question is, okay, so he locks                         09:37:01
11   eye contact with you because you weren't moving?                        09:37:05
12      A.     Right.                                                        09:37:08
13      Q.     Right?                                                        09:37:09
14             MR. McMURTRY:      Objection.    I don't think                09:37:10
15   he testified that he locked eye contact with him.                       09:37:11
16             MR. SIEGEL:     That is exactly what he                       09:37:14
17   just testified to.                                                      09:37:15
18             MR. McMURTRY:      Well, let's read it back                   09:37:16
19   so I can be educated.                                                   09:37:18
20             MR. SIEGEL:     Okay.                                         09:37:20
21             MR. McMURTRY:      If he -- he may have                       09:37:21
22   answered one of your leading questions                                  09:37:23
23   incorrectly, but I mean --                                              09:37:25
24             MR. SIEGEL:     I think you are really                        09:37:27
25   crossing over the line here now, Todd.                                  09:37:28


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1    266, Line 21 to Page 267, Line 8 were read back                         09:39:17
2    by the reporter.)                                                       09:39:17
3                MR. SIEGEL:     Okay?                                       09:39:17
4                MR. McMURTRY:      Okay.                                    09:39:18
5                MR. SIEGEL:     That's fine.                                09:39:25
6    BY MR. SIEGEL:                                                          09:39:29
7       Q.       So I understand you contend that --                         09:39:29
8    so -- okay.        And I will rephrase the question.                    09:39:31
9                So he locked eye contact with you                           09:39:42
10   because you were the only student who wasn't                            09:39:46
11   moving, right?                                                          09:39:48
12      A.       Yes.                                                        09:39:49
13      Q.       So couldn't he have perceived that you                      09:39:50
14   were intentionally blocking him?                                        09:39:58
15               MR. McMURTRY:      Objection.     Go ahead.                 09:39:59
16      A.       I mean, he could perceive whatever he                       09:40:00
17   wants to.     That doesn't mean it's actually                           09:40:03
18   truthful.                                                               09:40:05
19               MR. SIEGEL:     Okay.      Let's go.                        09:40:07
20      Q.       Do you see the sentence that has the                        09:40:23
21   word "elder" in it?                                                     09:40:26
22      A.       Yes.                                                        09:40:28
23      Q.       I'm aware what happened to Elder; and as                    09:40:28
24   I saw the cameras, I was determined to not have                         09:40:33
25   that happen to our school.                                              09:40:36


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1    compared to what was happening there, but just,                         09:42:10
2    you know, a news headline, which I didn't want.                         09:42:14
3       Q.      Okay.    You then say:     I am sure he                      09:42:23
4    wanted to intimidate me or get a reaction as he                         09:42:25
5    moved into my personal space and hit the drum                           09:42:29
6    harder than he had before.                                              09:42:32
7               What reaction did you think Phillips                         09:42:35
8    wanted to get out of you?                                               09:42:37
9       A.      I would say something other than me --                       09:42:39
10   something -- I think Nathan Phillips wanted a                           09:42:46
11   reaction out of me that he could legitimately                           09:42:49
12   claim was disrespectful.                                                09:42:54
13      Q.      And why do you think that?                                   09:42:55
14      A.      Because when he came -- when he walked                       09:42:58
15   over, there was -- he already had people from the                       09:43:01
16   indigenous people's rally filming before he had                         09:43:06
17   even gotten -- gotten into the middle of the                            09:43:11
18   group.    And in my opinion, you usually don't film                     09:43:15
19   things unless you are expecting something to                            09:43:19
20   happen.                                                                 09:43:21
21      Q.      And what is the basis of your statement                      09:43:21
22   that Nathan Phillips had people filming?                                09:43:24
23      A.      Based off what I noticed and then                            09:43:30
24   footage afterwards where one of the men that was                        09:43:35
25   filming and -- or one of the men that was a part                        09:43:38


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1    of the group with Nathan Phillips walks up to                           09:43:42
2    Mr. Phillips and says:        We got him, Grandpa.       We             09:43:45
3    won.    We won.                                                         09:43:49
4       Q.      Okay.    And what did you understand that                    09:43:50
5    man -- what do you understand that to mean?                             09:43:57
6       A.      To me, it means --                                           09:43:59
7       Q.      Just for the record, we will show it                         09:44:02
8    later, but I think that is the guy in the Reds                          09:44:04
9    cap, right?                                                             09:44:07
10      A.      Right.                                                       09:44:08
11      Q.      So when the guy in the Reds cap -- when                      09:44:08
12   the man in the Reds cap said that, what did you                         09:44:10
13   understand that to mean?                                                09:44:12
14      A.      To me that means that they got their                         09:44:13
15   captured moment on camera and they planned to                           09:44:17
16   post it, which turned out to be exactly what they                       09:44:20
17   did.                                                                    09:44:23
18              Nathan Phillips was already behind a                         09:44:23
19   camera at the Lincoln Memorial some like 45                             09:44:25
20   minutes to an hour later, before I even knew what                       09:44:29
21   was happening.                                                          09:44:32
22      Q.      Do you have any facts to support -- do                       09:44:33
23   you know if the man in the Reds hat ever posted                         09:44:38
24   anything on social media?                                               09:44:42
25      A.      Personally, I am not sure.                                   09:44:45


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1       Q.     Do you believe he did?                                        09:44:47
2       A.     Well, I think that the other guy, the                         09:44:48
3    guy in the white hat with the -- I'm not sure.                          09:44:50
4    I -- I'm pretty -- I can't remember at this point                       09:44:53
5    who had the camera, but I'm --                                          09:44:56
6       Q.     Well, we went over that earlier, right?                       09:44:58
7       A.     Yes.                                                          09:45:00
8       Q.     We were talking about a man in the Reds                       09:45:01
9    hat?                                                                    09:45:04
10      A.     Yeah.    I -- I think the video exists.       I               09:45:05
11   don't know if it exists on social media.          I think               09:45:08
12   it does, but --                                                         09:45:11
13      Q.     Okay.                                                         09:45:13
14      A.     -- I'm not -- I'm not entirely sure.                          09:45:13
15      Q.     So other than that, do you have any                           09:45:15
16   facts to support the contention that Nathan                             09:45:18
17   Phillips had any involvement in asking,                                 09:45:19
18   suggesting, planning that anyone film this event?                       09:45:31
19      A.     Yes.    Because --                                            09:45:36
20      Q.     What is the basis of that?                                    09:45:38
21      A.     Because of what was said afterwards.                          09:45:39
22             To me, when they come up to him                               09:45:42
23   afterwards and say, we got him, we won, that                            09:45:45
24   demonstrates a clear, for lack of a better word,                        09:45:49
25   conspiracy between them to capture something.                           09:45:55


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1       Q.     Okay.    And that's entirely based on the                     09:45:58
2    assumption, right, that what you understood the                         09:46:01
3    man in the Reds hat to mean when he said, we got                        09:46:04
4    him, is that we got him on camera, right, we got                        09:46:09
5    him on the camera?                                                      09:46:12
6       A.     Right.    And to be honest, they didn't                       09:46:13
7    even have to capture me on their camera because                         09:46:15
8    there was someone from the Black Hebrew                                 09:46:18
9    Israelites filming as well.        There were other                     09:46:20
10   random people filming.                                                  09:46:24
11             The fact that it got on so many digital                       09:46:26
12   cameras is enough to where they didn't need to                          09:46:28
13   record it.                                                              09:46:31
14             And even one of the people from the                           09:46:32
15   Indigenous People's March did post it on social                         09:46:35
16   media, the Titano (phonetically spelled) video.                         09:46:40
17      Q.     Do you know if Nathan Phillips had                            09:46:44
18   anything to do with Hyas Titano filming this                            09:46:47
19   event?                                                                  09:46:53
20      A.     Not a -- no, not -- not completely.                           09:46:53
21      Q.     But even a little bit?                                        09:46:56
22             MR. McMURTRY:      Objection.                                 09:47:00
23   BY MR. SIEGEL:                                                          09:47:01
24      Q.     What do you mean by -- fair enough.                           09:47:01
25             What do you mean by not completely?                           09:47:03


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1          A.       I mean, I can't -- I can't a hundred                        09:47:05
2    percent say for sure that an hour before this                              09:47:08
3    that -- or five minutes before this, when they                             09:47:10
4    saw something happening, that they spoke to each                           09:47:13
5    other and said, hey, I'm going to go and you film                          09:47:16
6    it.        I -- I can't prove that.                                        09:47:20
7          Q.       Okay.    In the next sentence, you say:                     09:47:22
8    The only response I gave him was to be a bigger                            09:47:57
9    person and stand there without responding.                                 09:48:00
10                  And when you said -- when you wrote, the                    09:48:03
11   only response I gave him to be -- was to be a                              09:48:05
12   bigger person, did you mean to be a bigger person                          09:48:09
13   than Mr. Phillips was being?                                               09:48:12
14         A.       Right.                                                      09:48:13
15         Q.       Okay.    Let's go to --                                     09:48:14
16                  MR. McMURTRY:      Are we done with 19?                     09:48:25
17                  MR. SIEGEL:     We are done with 19.          Let's         09:48:28
18   go to 20.        And 20, for the record, is NS 102 to                      09:48:30
19   104.                                                                       09:48:45
20   BY MR. SIEGEL:                                                             09:48:49
21         Q.       Do you want to tell us what this is,                        09:48:49
22   Nick?                                                                      09:48:52
23         A.       This was my first public statement                          09:48:52
24   released to the world, I guess.                                            09:48:55
25         Q.       Okay.    Go to the second page, which is                    09:49:00


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1    NS 103.   And turn your attention to the second                         09:49:16
2    paragraph, the one that says:        I never felt.                      09:49:26
3    Right?                                                                  09:49:29
4              So the statement says:        I never felt                    09:49:30
5    like I was blocking the Native American                                 09:49:32
6    protester.    He did not make any attempt to go                         09:49:35
7    around me.    It was clear to me that he was                            09:49:38
8    singling me out for a confrontation; although,                          09:49:40
9    I'm not sure why.                                                       09:49:43
10             Okay.    Now, when -- you were standing in                    09:49:45
11   front of him, right?                                                    09:49:48
12      A.     Right.                                                        09:49:49
13      Q.     Phillips -- Phillips couldn't have gone                       09:49:50
14   forward without running into you, right?                                09:49:53
15             MR. McMURTRY:      Objection.    Go ahead.                    09:49:55
16   BY MR. SIEGEL:                                                          09:49:57
17      Q.     I mean, if he just continued to move                          09:49:57
18   forward, he would have physically knocked into                          09:49:59
19   you?                                                                    09:50:01
20      A.     He would hit me, yes.                                         09:50:01
21      Q.     Right.    So -- and you thought he should                     09:50:04
22   have tried to go around you, right?         And I think                 09:50:06
23   you testified about that.                                               09:50:09
24             So if he needed to try to go around you                       09:50:10
25   to move forward, how were you not blocking him?                         09:50:14


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1              MR. McMURTRY:      Objection.                                 09:50:17
2       A.     Because blocking requires some sort of                        09:50:18
3    active attempt to cut someone off.                                      09:50:23
4              MR. SIEGEL:     Right.                                        09:50:28
5       A.     And I did not -- I was -- I was standing                      09:50:29
6    there.   He had the option to go around me                              09:50:33
7    whatever way he would choose, or he could have                          09:50:36
8    gone back out the way that he entered the group                         09:50:42
9    and taken, you know, use of the hundreds of feet                        09:50:44
10   of space that the memorial offers to get wherever                       09:50:48
11   he was trying to get.                                                   09:50:51
12      Q.     And you testified -- we testified before                      09:50:52
13   on one of the other videos that was taken from                          09:50:55
14   the top, right?                                                         09:50:58
15      A.     Right.                                                        09:50:59
16      Q.     That there were certainly people behind                       09:50:59
17   him at that moment, right?                                              09:51:01
18      A.     Right.    But not near as many as there                       09:51:03
19   were behind me.                                                         09:51:06
20      Q.     Okay.    What does blocking mean to you?                      09:51:06
21             MR. McMURTRY:      Objection.    Go ahead.                    09:51:13
22      A.     Blocking to me means that you actively                        09:51:15
23   try to cut someone off from further continuing in                       09:51:19
24   the way that they are trying to go.                                     09:51:24
25   BY MR. SIEGEL:                                                          09:51:27


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1       Q.     Okay.     So you were -- you were standing                    09:51:27
2    there, right?                                                           09:51:30
3       A.     Right.                                                        09:51:31
4       Q.     And you were standing there                                   09:51:31
5    deliberately.      So -- so if he couldn't continue                     09:51:34
6    to go in the way that he had been going and he                          09:51:40
7    needed to go around you, how is that not blocking                       09:51:43
8    him?                                                                    09:51:48
9              MR. McMURTRY:      Objection to the form.                     09:51:48
10      A.     Because at that point, he wasn't trying                       09:51:50
11   to go anywhere else.                                                    09:51:52
12             I mean, like you -- like you said, I                          09:51:57
13   didn't know at that point that he wanted to go to                       09:52:00
14   the Lincoln Memorial.      And when he's standing in                    09:52:02
15   front of me with his drum, he's making no effort                        09:52:06
16   or any kind of signal to me that he is trying to                        09:52:09
17   move somewhere else.      Like, he is planted in                        09:52:12
18   front of me.                                                            09:52:15
19   BY MR. SIEGEL:                                                          09:52:17
20      Q.     Okay.     You say that you didn't feel like                   09:52:17
21   you were blocking --                                                    09:52:22
22      A.     Right.                                                        09:52:24
23      Q.     -- Mr. Phillips, right?                                       09:52:25
24             And why was that the way that you felt?                       09:52:27
25      A.     Well, as I said --                                            09:52:29


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1       Q.     Is that what you just said?                                   09:52:33
2       A.     Yes.     He wasn't trying to go anywhere.                     09:52:34
3       Q.     But that -- your perception is that he                        09:52:38
4    wasn't trying to go anywhere, right, that he --                         09:52:41
5    your perception was that he never had any                               09:52:44
6    intention of going anywhere?                                            09:52:47
7       A.     No.     The reality of it is, is that for                     09:52:48
8    those minutes --                                                        09:52:52
9              MR. SIEGEL:     Right.                                        09:52:53
10      A.     -- when he stood there, his feet were                         09:52:53
11   planted, and he did not take even the slightest                         09:52:55
12   step in any direction.                                                  09:52:58
13      Q.     Okay.     And again, I think we went over                     09:52:59
14   this before, but I will -- I will say it again.                         09:53:02
15             Isn't it -- it's possible that the                            09:53:08
16   reason he did that is because he perceived by                           09:53:12
17   that point that you didn't want to let him go?                          09:53:16
18             MR. McMURTRY:      Objection.                                 09:53:18
19      A.     Well, as I said before, he can perceive                       09:53:19
20   whatever he wants to.                                                   09:53:22
21   BY MR. SIEGEL:                                                          09:53:23
22      Q.     Okay.     And, in fact, couldn't this be                      09:53:23
23   the fact that given that you -- you perceived                           09:53:27
24   that it was unsafe for him to be sort of moving                         09:53:31
25   in the first place, he could have perceived                             09:53:34


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1    unsafe at that point to try to, like, maneuver                          09:53:36
2    around you?                                                             09:53:39
3                MR. McMURTRY:      Objection.                               09:53:40
4       A.       Again, he can perceive what he wants to.                    09:53:40
5    BY MR. SIEGEL:                                                          09:53:44
6       Q.       Okay.    In your opinion, what would it                     09:53:44
7    have looked like if you had blocked him, if you                         09:54:02
8    were blocking him?                                                      09:54:04
9       A.       In my opinion, for me to block him, he                      09:54:06
10   would have had to have taken a step or a half                           09:54:11
11   step in another direction, other than standing                          09:54:14
12   there, even forward, and it would have required                         09:54:18
13   me to meet him in the corresponding way, wherever                       09:54:21
14   he went, to, you know, basically not let him go                         09:54:27
15   anywhere.                                                               09:54:31
16      Q.       Okay.    And that's your understanding or                   09:54:31
17   definition of blocking in this context?                                 09:54:34
18      A.       Yes.                                                        09:54:37
19      Q.       All right.     Let's play a clip from your                  09:54:38
20   interview with Ms. Guthrie.                                             09:55:13
21               Actually, you know what, I think -- I                       09:55:39
22   think we can skip that.         Let's go to Exhibit 21.                 09:55:42
23   I will represent this is the only other page from                       09:56:12
24   the Shelton report.                                                     09:56:16
25               MR. McMURTRY:      Yeah.   Let me just look                 09:56:21


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1    specifically about any of the words, but you --                         09:58:59
2    you -- I think you testified before that                                09:59:04
3    Mr. Phillips, that he didn't request you to move,                       09:59:09
4    right, or ask you to move, okay, verbally?               In             09:59:14
5    other words, he didn't -- he didn't say anything                        09:59:20
6    to you.                                                                 09:59:21
7       A.      Correct.                                                     09:59:23
8       Q.      Is that right?                                               09:59:23
9               Okay.    Now, the -- the people that                         09:59:24
10   were -- and I think we saw in the video, it was                         09:59:27
11   Exhibit 18, right, particularly, there is a point                       09:59:32
12   of maybe a minute, a minute and a half into the                         09:59:35
13   encounter, where all the students are sort of                           09:59:39
14   kind of filling back in and they are kind of                            09:59:42
15   around you on all sides at that point, right?                           09:59:46
16      A.      Right.                                                       09:59:48
17      Q.      Now, those folks were -- many of them                        09:59:49
18   were your friends, right?        Some of them were your                 09:59:57
19   friends?                                                                10:00:00
20      A.      Some of them.                                                10:00:00
21      Q.      And they were certainly your fellow                          10:00:00
22   students, right?                                                        10:00:03
23      A.      Right.                                                       10:00:04
24      Q.      So you didn't -- did you ever ask any of                     10:00:05
25   those students if they would move so that you                           10:00:12


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                         Transcript of Nicholas Sandmann
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1    could move away a little?                                               10:00:18
2       A.     No.                                                           10:00:19
3       Q.     Do you have any reason to believe that                        10:00:22
4    if you had asked one or two of them to do that,                         10:00:27
5    that they would not have let you go?                                    10:00:31
6       A.     No.                                                           10:00:33
7       Q.     Okay.    So you said you felt like you                        10:00:34
8    were being, at least at one point, at some point                        10:01:00
9    in the encounter, right, blocked by the crowd?                          10:01:03
10      A.     Right.                                                        10:01:06
11      Q.     So why do you contend that you felt like                      10:01:07
12   you were being blocked but Mr. Phillips couldn't                        10:01:09
13   have felt the same way?                                                 10:01:14
14             MR. McMURTRY:      Objection.                                 10:01:17
15      A.     I don't -- I don't think I specifically                       10:01:17
16   ever labeled the crowd as blocking me, but I                            10:01:20
17   think that I -- I've -- I've always used that I                         10:01:26
18   was just surrounded on all sides and there was no                       10:01:33
19   room to -- to move in any direction.                                    10:01:37
20   BY MR. SIEGEL:                                                          10:01:39
21      Q.     So maybe we will cut through it.                              10:01:39
22             So is your testimony that you did not                         10:01:41
23   say, as he was being blocked by the crowd, to I                         10:01:44
24   guess it's Doctor Graves-Alcorn?                                        10:01:51
25      A.     I'm not being quoted on that.         And I --                10:01:55


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                           Transcript of Nicholas Sandmann
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1    and what I remember from this trip is that they                         10:02:00
2    took notes and typed up what -- what they                               10:02:03
3    understood and, you know, put it in their own                           10:02:09
4    words.     I don't recall if I ever used the word                       10:02:13
5    blocked to Doctor Graves-Alcorn.                                        10:02:16
6       Q.       Okay.    And so is -- is what Doctor                        10:02:19
7    Graves-Alcorn wrote, just in that sentence, an                          10:02:29
8    inaccurate statement as to what you said to her?                        10:02:41
9                MR. McMURTRY:      Objection.     Go ahead.                 10:02:43
10      A.       I think --                                                  10:02:44
11               MR. SIEGEL:     Who was -- is there -- just                 10:02:44
12   what is your objection?                                                 10:02:45
13               MR. McMURTRY:      I'm not sure who is being                10:02:46
14   blocked?     What are we talking about?         Maybe I                 10:02:48
15   missed it.     But the objection is --                                  10:02:51
16               MR. SIEGEL:     Well, I think --                            10:02:54
17               MR. McMURTRY:      -- that he was being --                  10:02:54
18               MR. SIEGEL:     -- it's his recall they                     10:02:55
19   couldn't move because he was being blocked by the                       10:02:55
20   crowd.     He means Nick, right, in that sentence?                      10:02:56
21               MR. McMURTRY:      And I'm not -- so the                    10:02:59
22   question would be, Nick, did you feel as if you                         10:03:01
23   were blocked by the crowd?         Nick would answer.                   10:03:03
24   And then the follow-up question is what -- did                          10:03:05
25   you state this to the physician?            And he can                  10:03:10


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1    answer.     And he said no.                                             10:03:12
2                MR. SIEGEL:     Yeah.    I think he already                 10:03:12
3    sort of answered the first part of it.                                  10:03:14
4    BY MR. SIEGEL:                                                          10:03:16
5       Q.       So I'm asking did you -- let's break it                     10:03:16
6    down.                                                                   10:03:22
7                Did you tell Doctor Graves-Alcorn that                      10:03:23
8    you were being blocked by the crowd?                                    10:03:26
9       A.       I cannot recall what specific words I                       10:03:29
10   used.     I relayed to the doctors that, especially                     10:03:32
11   when the students filled back in, is that I had                         10:03:38
12   Nathan Phillips in front of me and I had students                       10:03:43
13   all around me and I was at the center of it and I                       10:03:47
14   couldn't -- I couldn't have moved to the side for                       10:03:52
15   Nathan Phillips at that point, really, even if I                        10:03:55
16   wanted to.     I was stuck in the middle.                               10:03:58
17      Q.       Okay.    And then the other part, you                       10:04:00
18   could have asked one or two of the students --                          10:04:03
19      A.       Right.                                                      10:04:06
20      Q.       -- would you give me some space, right?                     10:04:06
21      A.       At the time I didn't really consider                        10:04:08
22   that.                                                                   10:04:11
23      Q.       Okay.    And so my last question is, did                    10:04:11
24   you tell Doctor Graves-Alcorn that you were being                       10:04:26
25   blocked by the crowd?                                                   10:04:30


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                              Transcript of Nicholas Sandmann
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1          A.       I don't recall ever specifically using                    10:04:31
2    that word.                                                               10:04:34
3          Q.       Okay.    And so do you believe that that                  10:04:35
4    is an inaccurate characterization of what you                            10:04:39
5    told her?                                                                10:04:44
6          A.       I think my -- my description was then                     10:04:44
7    followed down to a word that was the wrong word                          10:04:51
8    choice.                                                                  10:04:54
9                   MR. SIEGEL:     Okay.      Let's go to Exhibit            10:05:07
10   22.        What's the time?                                              10:05:10
11                  MR. McMURTRY:      It's 5 after 10.                       10:05:21
12                  MR. SIEGEL:     I'm going to go through --                10:05:23
13   I'm going to suggest we go through -- I think I                          10:05:28
14   have got about two or three more exhibits on this                        10:05:32
15   thing, but I think it will be pretty quick.                  And         10:05:35
16   then we will take a break.                                               10:05:38
17                  MR. McMURTRY:      Fine.     Yes.                         10:05:39
18   BY MR. SIEGEL:                                                           10:05:40
19         Q.       So, Nick, this is a screenshot taken of                   10:05:40
20   a tweet that you posted?                                                 10:05:47
21         A.       Correct.                                                  10:05:52
22         Q.       Is that correct?        And the tweet links to            10:05:53
23   a video?                                                                 10:05:56
24         A.       Right.                                                    10:05:57
25                  MR. SIEGEL:     So let's go to Exhibit 23.                10:05:58


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                         Transcript of Nicholas Sandmann
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1    And I take it the him in this is Mr. Phillips.                          10:34:39
2       A.     Correct.                                                      10:34:44
3       Q.     How did you think smiling at                                  10:34:44
4    Mr. Phillips would communicate the message to him                       10:34:46
5    that he wasn't going to intimidate you?                                 10:34:52
6       A.     To me, usually when I think of someone                        10:34:55
7    smiling, it projects a more friendly -- friendly                        10:34:59
8    image or whatever.      And I -- I assumed that                         10:35:04
9    partly if I gave him a smile, that he might                             10:35:11
10   realize that I was just standing there and he                           10:35:13
11   could back away from me.                                                10:35:17
12      Q.     Okay.    And how is that let him --                           10:35:20
13   letting him know that he wasn't going to                                10:35:31
14   intimidate you?                                                         10:35:33
15             MR. McMURTRY:      Objection.    Go ahead.                    10:35:34
16      A.     I mean, I don't know if it was effective                      10:35:36
17   or it was the right -- right body language choice                       10:35:39
18   to -- to use.     But that's what I was hoping it                       10:35:44
19   would accomplish.                                                       10:35:50
20   BY MR. SIEGEL:                                                          10:35:51
21      Q.     Okay.    And I think you in your -- you                       10:35:51
22   testified before and you wrote in your e-mail to                        10:36:07
23   Principal Roe that you thought that your actions,                       10:36:09
24   right, to stand there and smile was being a                             10:36:18
25   bigger person than Mr. Phillips was being.              Is              10:36:23


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                          Transcript of Nicholas Sandmann
                         Conducted on 9/13/2021 & 9/14/2021            296

1    that fair?                                                              10:36:27
2       A.      Correct.                                                     10:36:28
3       Q.      So do you think a smile that reflects a                      10:36:28
4    belief that you are being a bigger person is not                        10:36:31
5    a smirk?                                                                10:36:36
6       A.      No, I don't think that.                                      10:36:38
7       Q.      What's a smirk to you?                                       10:36:39
8       A.      I don't really know, to be honest with                       10:36:42
9    you.    I -- I -- I would say -- I would say my                         10:36:45
10   best guess or definition of a smirk is a facial                         10:36:51
11   expression that is -- has the appearance of a                           10:36:58
12   smile but is not authentic and meant to kind of                         10:37:04
13   just blow people off.       I -- I mean, I really                       10:37:09
14   don't have any way of defining it.                                      10:37:17
15      Q.      Okay.    And I can show you the exhibit                      10:37:20
16   again, but maybe to save the -- to save us, in                          10:37:29
17   the Shelton interview, you are actually quoted,                         10:37:38
18   and you said other people I guess think my smile                        10:37:41
19   looks like a smirk.                                                     10:37:46
20      A.      Yes.                                                         10:37:47
21      Q.      Is that right?      Is it fair to say                        10:37:47
22   whether your smile looks like a smirk is a matter                       10:37:49
23   of opinion?                                                             10:37:52
24      A.      Oh, I would agree.                                           10:37:52
25      Q.      Okay.    We showed you a video a little                      10:37:54


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                          Transcript of Nicholas Sandmann
                         Conducted on 9/13/2021 & 9/14/2021            299

1    students came up to me and told me things that                          10:40:31
2    they had said or that they had heard.                                   10:40:34
3       Q.      Okay.    And the last question so it's                       10:40:38
4    clear, in any other way, through e-mails or texts                       10:40:52
5    or social media or anything like that, did you --                       10:40:55
6    have you come to learn about anything?           And I'm                10:40:58
7    not talking about anything we saw here today.              So           10:41:00
8    prior to today, have you come to learn                                  10:41:03
9    about any -- did you come to learn about anything                       10:41:05
10   that was said during that encounter that you                            10:41:08
11   thought was inappropriate?                                              10:41:10
12      A.      At this point, I can't recall any -- any                     10:41:11
13   information I may have received or things that I                        10:41:14
14   could have witnessed prior to the -- or now, in                         10:41:17
15   the future of when the event was, at this point                         10:41:23
16   in time that would have been said.                                      10:41:26
17              MR. SIEGEL:     Okay.    All right.    Let's go              10:41:28
18   to Exhibit 16, which is video 2 on the                                  10:41:32
19   stipulation.                                                            10:41:38
20              MS. MEEK:     I'm starting Exhibit 16 at 55                  10:42:00
21   seconds.                                                                10:42:04
22              (Thereupon, a video recording of Exhibit                     10:42:05
23   16 was played.)                                                         10:42:05
24              MS. MEEK:     I just paused at 1 minute and                  10:42:14
25   3 seconds.                                                              10:42:17


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                         Transcript of Nicholas Sandmann
                        Conducted on 9/13/2021 & 9/14/2021             300

1    BY MR. SIEGEL:                                                          10:42:19
2       Q.     Now I'm going to ask you -- let's back 8                      10:42:19
3    seconds -- let's go back to where you started and                       10:42:22
4    ask you to watch it again and focus on Will                             10:42:24
5    Fries.                                                                  10:42:27
6       A.     Okay.                                                         10:42:28
7              MR. McMURTRY:      I can ask which one is                     10:42:28
8    Will Fries?                                                             10:42:30
9              MR. SIEGEL:     Good point.                                   10:42:32
10   BY MR. SIEGEL:                                                          10:42:32
11      Q.     Can you -- let's just for the record,                         10:42:32
12   can you point --                                                        10:42:33
13             MR. McMURTRY:      Okay.     I see him.     Back              10:42:33
14   there in the glasses and the red hat?                                   10:42:35
15             MR. SIEGEL:     Right.      For the record, to                10:42:38
16   be accurate, at 1 minute and 3 seconds, he's the                        10:42:39
17   fellow who kind of -- you see his hand.                                 10:42:44
18             MR. McMURTRY:      His arms are up and you                    10:42:46
19   can't see the hands?                                                    10:42:47
20             MR. SIEGEL:     Okay.      All right.     Let's go            10:42:49
21   back.                                                                   10:42:53
22             (Thereupon, a video recording of Exhibit                      10:42:54
23   16 was played.)                                                         10:42:54
24   BY MR. SIEGEL:                                                          10:42:57
25      Q.     Okay.    What did you hear Will say?                          10:42:57


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                          Transcript of Nicholas Sandmann
                         Conducted on 9/13/2021 & 9/14/2021            301

1       A.      I can make out parts of it.         I think I                10:43:01
2    know what he said.                                                      10:43:04
3       Q.      What do you think he said?                                   10:43:06
4       A.      I will -- I don't want to repeat.                            10:43:08
5       Q.      I'm going to ask you to repeat for the                       10:43:09
6    record.                                                                 10:43:13
7       A.      What I believe was said was grab his                         10:43:13
8    dick and twist it.                                                      10:43:16
9       Q.      Okay.    And he made a twisting motion                       10:43:18
10   with his hand?                                                          10:43:21
11      A.      I believe so.                                                10:43:22
12              MR. SIEGEL:     Okay.    And let's look at                   10:43:23
13   the next exhibit, which is Exhibit 17, video 8.                         10:43:25
14              MS. MEEK:     I'm starting Exhibit 17 at 35                  10:44:10
15   seconds.                                                                10:44:13
16              (Thereupon, a video recording of Exhibit                     10:44:15
17   17 was played.)                                                         10:44:15
18   BY MR. SIEGEL:                                                          10:44:21
19      Q.      Okay.    Do you hear Will saying that too,                   10:44:21
20   same thing, grab his dick and twist it?                                 10:44:26
21      A.      Yes.                                                         10:44:28
22              MR. SIEGEL:     Let's just play a few more                   10:44:29
23   seconds.                                                                10:44:32
24              MS. MEEK:     Starting at 39 seconds.                        10:44:33
25              (Thereupon, a video recording of Exhibit                     10:44:35


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                           Transcript of Nicholas Sandmann
                          Conducted on 9/13/2021 & 9/14/2021           302

1    17 was played.)                                                         10:44:35
2                MR. SIEGEL:     All right.     And let's play               10:44:35
3    it again.     And I want you to look the couple of                      10:44:37
4    students who are to -- sort of to Will Fries'                           10:44:40
5    right.                                                                  10:44:47
6                MS. MEEK:     I will restart at 35                          10:44:48
7    seconds through --                                                      10:44:49
8                MR. SIEGEL:     No.     You can just do 39, go              10:44:50
9    to 39.                                                                  10:44:52
10               (Thereupon, a video recording of Exhibit                    10:44:58
11   17 was played.)                                                         10:44:58
12   BY MR. SIEGEL:                                                          10:45:02
13      Q.       Do you see at least one other student                       10:45:02
14   after Will kind of make a twisting motion?                              10:45:05
15      A.       Yes.                                                        10:45:09
16      Q.       Who is that?                                                10:45:09
17      A.       Well, can you cursor point out which --                     10:45:10
18   which one it was?                                                       10:45:14
19               MR. SIEGEL:     Yeah.     It's the fellow in                10:45:16
20   the -- that one.                                                        10:45:18
21      A.       Okay.    I believe that to be Henry.                        10:45:19
22      Q.       Henry Bennett, right?                                       10:45:22
23      A.       Yes.                                                        10:45:24
24      Q.       And is the fellow next to him named                         10:45:24
25   Cahill, last name Cahill?                                               10:45:28


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                              Transcript of Nicholas Sandmann
                             Conducted on 9/13/2021 & 9/14/2021        303

1          A.       I believe so.                                            10:45:30
2          Q.       Okay.     So did you hear them say that at               10:45:31
3    the time?                                                               10:45:35
4          A.       I don't think I did.       And judging by my             10:45:36
5    facial reaction, it really doesn't change when I                        10:45:41
6    heard that.        So I -- I don't believe I ever did.                  10:45:45
7          Q.       When did you first become aware that he                  10:45:48
8    had said that?                                                          10:45:51
9          A.       I think he might have mentioned it to                    10:45:53
10   me.        And a week -- I don't know, a week or so                     10:45:55
11   after that, he -- he had said that at one point.                        10:46:02
12   But it didn't really stay in the front of my mind                       10:46:04
13   because I didn't do it and it really wasn't my                          10:46:09
14   priority.                                                               10:46:12
15         Q.       What do you think of it?                                 10:46:13
16         A.       I mean, I think it was not the smartest                  10:46:15
17   thing to say.           It was probably inappropriate.                  10:46:20
18                  I know -- I know why he said it.          It's           10:46:23
19   based off a viral Internet video that I guess he                        10:46:27
20   was quoting.           Because he thought others didn't --              10:46:32
21   maybe would find it funny.                                              10:46:37
22         Q.       What is the viral Internet video that he                 10:46:39
23   was quoting?                                                            10:46:42
24         A.       The -- what he is quoting is a video                     10:46:43
25   where there are sports fans at -- and in a fight,                       10:46:47


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                         Transcript of Nicholas Sandmann
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1    and one of the fans stands up and says that line.                       10:46:54
2    And I -- I don't know.       Someone reacts to it.                      10:46:58
3    And that's -- that's what the video is.                                 10:47:04
4       Q.     Okay.    So in the video, is the fan who                      10:47:07
5    says that line saying that to one of the                                10:47:12
6    wrestlers, wrestler one, grab the other                                 10:47:16
7    guy's penis and twist it?                                               10:47:18
8       A.     Yeah, I believe so.        I believe he's                     10:47:19
9    yelling it at the ring.       I don't know.                             10:47:22
10      Q.     He's yelling it at the ring?                                  10:47:24
11      A.     Yeah.                                                         10:47:26
12      Q.     Okay.    So in this situation, when you                       10:47:27
13   and Phillips are face to face and Fries is                              10:47:33
14   yelling it out, whose penis do you understand                           10:47:36
15   Fries is referring to?                                                  10:47:41
16             MR. McMURTRY:      Objection.    I'm just                     10:47:42
17   curious, today or -- I think he said before he                          10:47:43
18   didn't hear it then.                                                    10:47:44
19             MR. SIEGEL:     He didn't hear it then.                       10:47:46
20   BY MR. SIEGEL:                                                          10:47:47
21      Q.     But when you came to learn about it.                          10:47:47
22             MR. McMURTRY:      Okay.    I'm sorry.                        10:47:50
23      A.     I have no idea.      I don't know.                            10:47:50
24   BY MR. SIEGEL:                                                          10:47:53
25      Q.     Okay.    Do you think that was an                             10:47:53


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                          Transcript of Nicholas Sandmann
                         Conducted on 9/13/2021 & 9/14/2021            305

1    appropriate thing to say to an elderly Native                           10:48:11
2    American man?                                                           10:48:13
3               MR. McMURTRY:      Objection.    Go ahead.                   10:48:15
4          A.   Again, I don't know even if he directed                      10:48:16
5    it at Nathan Phillips.        But I can say that he is                  10:48:20
6    a 17-year-old-kid and it was probably just a                            10:48:23
7    poorly timed joke.                                                      10:48:27
8          Q.   Do you think that could be perceived as                      10:48:28
9    disrespectful?                                                          10:48:31
10         A.   Of course.                                                   10:48:32
11         Q.   Okay.    And could it be perceived as                        10:48:32
12   mocking Mr. Phillips?                                                   10:48:37
13         A.   Yes, if you -- if you speculate or                           10:48:38
14   surmise that Will was saying it at Mr. Phillips,                        10:48:40
15   if you take that jump, then yeah.                                       10:48:45
16         Q.   Well, whether he was saying it to you or                     10:48:47
17   to Mr. Phillips, fair to say that it would be --                        10:48:51
18   it could be perceived as mocking Mr. Phillips?                          10:48:54
19         A.   Yes.                                                         10:48:58
20              MR. SIEGEL:     Okay.    Let's go to Exhibit                 10:49:06
21   26.                                                                     10:49:09
22              MR. McMURTRY:      This is 25 here?                          10:49:26
23              MR. SIEGEL:     Yes.    And 25 is NS 780.                    10:49:27
24              (The following portion from Page 306,                        10:49:45
25   Line 2 to Page 307, Line 5 was designated                               10:49:45


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                         Transcript of Nicholas Sandmann
                        Conducted on 9/13/2021 & 9/14/2021             311

1       Q.     So I think somebody says give them the                        10:56:04
2    old, and then I'm not sure what else was said.                          10:56:08
3    Did you hear that?                                                      10:56:11
4       A.     I heard the start of something, but I                         10:56:11
5    can't hear the ending either.                                           10:56:14
6              MR. SIEGEL:     Okay.    Let's go to Exhibit                  10:56:30
7    16, which is video 2.                                                   10:56:34
8              MS. MEEK:     Starting Exhibit 16 at 1:18.                    10:57:02
9              (Thereupon, a video recording of Exhibit                      10:57:09
10   16 was played.)                                                         10:57:09
11             MS. MEEK:     I just paused at 1:20.                          10:57:14
12             MR. SIEGEL:     Okay.    Play it again.                       10:57:16
13             (Thereupon, a video recording of Exhibit                      10:57:26
14   16 was played.)                                                         10:57:26
15   BY MR. SIEGEL:                                                          10:57:31
16      Q.     Did you hear someone shout he ain't                           10:57:31
17   moving?                                                                 10:57:36
18      A.     Yeah.                                                         10:57:36
19      Q.     Did you hear that at the time?                                10:57:40
20      A.     Again, I probably tuned it out --                             10:57:43
21             MR. SIEGEL:     Okay.                                         10:57:46
22      A.     -- or wasn't paying attention.                                10:57:47
23      Q.     What do you understand it to mean                             10:57:52
24   hearing it now?                                                         10:57:54
25      A.     I would guess that they are either                            10:57:57


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                         Transcript of Nicholas Sandmann
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1    referring to me or Mr. Phillips as one of us                            10:58:00
2    wasn't moving, and as an observation, I guess.                          10:58:05
3       Q.     Okay.     And I take it you don't know who                    10:58:13
4    said that?                                                              10:58:15
5       A.     Correct.                                                      10:58:15
6              MR. SIEGEL:     Okay.    Let's restart.                       10:58:26
7              MS. MEEK:     Restarting at 1:22.                             10:58:29
8              (Thereupon, a video recording of Exhibit                      10:58:33
9    16 was played.)                                                         10:58:33
10             MS. MEEK:     Paused at 1:29.                                 10:58:38
11   BY MR. SIEGEL:                                                          10:58:40
12      Q.     Did you hear someone say movable object                       10:58:40
13   or unmovable object?                                                    10:58:43
14      A.     Yes.                                                          10:58:45
15             MR. McMURTRY:      I can't hear any of this                   10:58:46
16   stuff.   You guys are good.                                             10:58:48
17   BY MR. SIEGEL:                                                          10:58:58
18      Q.     Do you understand it to be referring to                       10:58:58
19   you, that you are the unmovable object?                                 10:59:00
20      A.     No.     It could have been either of us at                    10:59:03
21   this point.      We are both standing there.                            10:59:05
22             MR. SIEGEL:     Okay.    Let's keep going.                    10:59:11
23   And I want you to focus on Will Fries again.                            10:59:13
24             MS. MEEK:     Starting at 1:29.                               10:59:18
25             (Thereupon, a video recording of Exhibit                      10:59:20


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1    16 was played.)                                                         10:59:20
2               MS. MEEK:     Pausing at 1:39.                               10:59:32
3               MR. SIEGEL:     Go back a few seconds.       We              10:59:35
4    might have cut that off a bit too early.                                10:59:44
5               MS. MEEK:     Okay.   Restarting at 1:29                     10:59:48
6    through --                                                              10:59:53
7               MR. SIEGEL:     Play another like ten                        10:59:54
8    seconds.                                                                10:59:56
9               MS. MEEK:     Okay.                                          10:59:56
10              (Thereupon, a video recording of Exhibit                     10:59:58
11   16 was played.)                                                         10:59:58
12   BY MR. SIEGEL:                                                          11:00:11
13      Q.      Do you see it looked like Will was                           11:00:11
14   shouting something?                                                     11:00:15
15      A.      Yes.   Yes.                                                  11:00:15
16      Q.      Can you tell what he's saying?                               11:00:17
17      A.      There he was inaudible.       I couldn't even                11:00:20
18   hear his voice.                                                         11:00:23
19              MR. SIEGEL:     If that gives you any more                   11:00:27
20   comfort, Todd --                                                        11:00:34
21              MR. McMURTRY:     I was feeling like there                   11:00:36
22   is something wrong.                                                     11:00:37
23              MR. SIEGEL:     I couldn't hear it either.                   11:00:38
24              MR. McMURTRY:     He keeps answering, and                    11:00:39
25   I'm --                                                                  11:00:44


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1              MR. SIEGEL:     On that one.     All right.                   11:00:44
2    Let's keep going.      And again, I ask you to sort                     11:00:46
3    of focus on Will.                                                       11:00:50
4              THE WITNESS:     Okay.                                        11:00:53
5              MS. MEEK:     All right.    I'm going to go                   11:00:54
6    back to 1:39.                                                           11:00:56
7              MR. SIEGEL:     I think you can actually                      11:00:58
8    start where you are.                                                    11:00:59
9              MS. MEEK:     Okay.   Now we are at 1:42.                     11:01:00
10             (Thereupon, a video recording of Exhibit                      11:01:06
11   16 was played.)                                                         11:01:06
12   BY MR. SIEGEL:                                                          11:01:11
13      Q.     So did you see Will -- you saw Will                           11:01:11
14   shouting something?                                                     11:01:16
15      A.     Yes.                                                          11:01:17
16      Q.     Did he say beat that drum?                                    11:01:17
17      A.     Could you replay it?                                          11:01:20
18             MR. SIEGEL:     Absolutely.                                   11:01:22
19      A.     I heard beat that drum.        I didn't hear                  11:01:23
20   it necessarily from him.                                                11:01:28
21             (Thereupon, a video recording of Exhibit                      11:01:42
22   16 was played.)                                                         11:01:42
23      A.     Yes.                                                          11:01:42
24   BY MR. SIEGEL:                                                          11:01:44
25      Q.     Okay.    What do you think of that                            11:01:44


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1    comment?                                                                11:01:52
2       A.      I don't really know what to make of it.                      11:01:52
3       Q.      Do you think that was -- there was only                      11:01:55
4    one person playing the drum there, right?                               11:01:58
5       A.      Correct.     Well, two, technically.                         11:02:01
6       Q.      So when you hear him saying beat that                        11:02:04
7    drum, he is referring to Mr. Phillips beating the                       11:02:08
8    drum?                                                                   11:02:11
9       A.      I would assume.                                              11:02:12
10      Q.      Okay.    Do you think that that was                          11:02:12
11   respectful to shout at, at Mr. Phillips?                                11:02:14
12      A.      Probably not.                                                11:02:16
13      Q.      Okay.    Do you think that could be                          11:02:17
14   perceived as mocking him?                                               11:02:20
15      A.      You could perceive it that way, yes.                         11:02:21
16      Q.      Okay.    Do you?                                             11:02:24
17      A.      I -- the way I look at it is it's                            11:02:26
18   probably not the smartest thing to do.                                  11:02:30
19              MR. SIEGEL:     Okay.    Let's keep going.                   11:02:38
20              MS. MEEK:     Restarting at 1:52.                            11:02:40
21              (Thereupon, a video recording of Exhibit                     11:02:44
22   16 was played.)                                                         11:02:44
23   BY MR. SIEGEL:                                                          11:03:04
24      Q.      So you are seeing some of the students                       11:03:04
25   going what, what, what, what, what?                                     11:03:09


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                         Transcript of Nicholas Sandmann
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1       A.     Yes.                                                          11:03:11
2       Q.     Do you have any understanding of what                         11:03:11
3    that is in that context?                                                11:03:13
4       A.     We would do what, what, what.         It was                  11:03:15
5    another one of our school spirit chants that we                         11:03:21
6    did when we couldn't hear the opposing team's                           11:03:25
7    cheering section.      So we basically called them                      11:03:30
8    out for being quiet.                                                    11:03:33
9              But I think here, they are doing it                           11:03:35
10   because they -- you can see Mr. Phillips raise                          11:03:38
11   the drum almost -- I think part of it starts to                         11:03:41
12   go past my head.      And I think they are doing that                   11:03:46
13   because they are confused as to what's going on.                        11:03:49
14             MR. SIEGEL:     Okay.    Let's keep going.                    11:03:58
15             MS. MEEK:     I paused before at 2:12.         And            11:04:00
16   now I'm continuing from that point.                                     11:04:04
17             (Thereupon, a video recording of Exhibit                      11:04:08
18   16 was played.)                                                         11:04:08
19             MS. MEEK:     Paused at 2:34.                                 11:04:28
20   BY MR. SIEGEL:                                                          11:04:30
21      Q.     Okay.    So you hear somebody says what's                     11:04:30
22   going on or I don't know what's going on?                               11:04:33
23      A.     Correct.                                                      11:04:35
24      Q.     And the woman wearing that green hat --                       11:04:36
25      A.     Yes.                                                          11:04:43


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                         Transcript of Nicholas Sandmann
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1       Q.     -- says you guys are acting like a mob,                       11:04:43
2    that's what is going on, fucking mob mentality?                         11:04:48
3       A.     Yeah.                                                         11:04:52
4       Q.     Do you agree with her?                                        11:04:53
5       A.     Of course not.                                                11:04:54
6       Q.     Okay.     And why is that?                                    11:04:56
7       A.     Because we weren't.       We are a group of                   11:04:58
8    students and -- whose personal space is being                           11:05:01
9    invaded by adults while we have an entire camera                        11:05:07
10   crew set up to capture it.                                              11:05:11
11      Q.     Do you have any -- do you believe that                        11:05:14
12   that's how she perceived the students' behavior                         11:05:27
13   at that time?                                                           11:05:32
14             MR. McMURTRY:      Objection.                                 11:05:32
15      A.     No.     I think that right here she's                         11:05:33
16   already starting to craft the story that is                             11:05:35
17   eventually going to be taken to social media and                        11:05:38
18   public interviews before I will even know what's                        11:05:43
19   happening.                                                              11:05:48
20   BY MR. SIEGEL:                                                          11:05:49
21      Q.     And what's your basis for saying that?                        11:05:49
22      A.     Because Nathan Phillips was on                                11:05:52
23   television before I even knew what was happening.                       11:05:54
24      Q.     And do you know who that woman is?                            11:05:57
25      A.     No.                                                           11:05:59


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                         Transcript of Nicholas Sandmann
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1       Q.     So what is the -- your basis for saying                       11:06:00
2    that or claiming that she had anything to do with                       11:06:04
3    crafting a story at that moment?                                        11:06:08
4       A.     Because you are asking me what I thought                      11:06:11
5    she was doing, and I'm -- I'm telling you from                          11:06:14
6    this point, I -- that's what I believe she's                            11:06:19
7    doing.                                                                  11:06:23
8       Q.     Okay.    That's your perception of it,                        11:06:24
9    right?                                                                  11:06:27
10      A.     Yes.                                                          11:06:27
11      Q.     Okay.    Just one last time, to make the                      11:06:28
12   record clear, you don't have any other facts                            11:06:43
13   about her, do you, to substantiate that                                 11:06:46
14   perception?                                                             11:06:49
15      A.     Right.    I don't -- I have no idea who                       11:06:50
16   she is.                                                                 11:06:54
17             MR. SIEGEL:     Okay.    Let's keep going.                    11:06:54
18             MS. MEEK:     I'm playing Exhibit 16                          11:07:06
19   starting at 3 minutes and 15 seconds.                                   11:07:09
20             (Thereupon, a video recording of Exhibit                      11:07:13
21   16 was played.)                                                         11:07:13
22             MS. MEEK:     I just paused at 3 minutes                      11:07:20
23   and 20 seconds.                                                         11:07:22
24   BY MR. SIEGEL:                                                          11:07:23
25      Q.     Who is the student with his hand on your                      11:07:23


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                         Transcript of Nicholas Sandmann
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1    shoulders?                                                              11:07:26
2       A.     I believe that's Charlie, but I could be                      11:07:26
3    wrong.   Because earlier he had a red hat on, and                       11:07:34
4    now it looks like a white hat.         So it looks like                 11:07:37
5    Charlie, but I don't know.                                              11:07:42
6              MR. SIEGEL:     Do you want to play it a                      11:07:44
7    few more -- I will tell you, we are going to play                       11:07:46
8    it forward anyway.      So if you are able to see his                   11:07:49
9    face more clearly and, you know, answer on that                         11:07:52
10   basis, let's just -- let me know.                                       11:07:55
11             (Thereupon, a video recording of Exhibit                      11:08:00
12   16 was played.)                                                         11:08:00
13             MS. MEEK:     Paused at 3:22.                                 11:08:02
14      A.     That's Charlie.                                               11:08:05
15   BY MR. SIEGEL:                                                          11:08:07
16      Q.     That's Charlie?      Okay.                                    11:08:07
17             MS. MEEK:     I'm continuing on from that                     11:08:12
18   point.                                                                  11:08:14
19             (Thereupon, a video recording of Exhibit                      11:08:16
20   16 was played.)                                                         11:08:16
21             MS. MEEK:     Paused at 3:32.                                 11:08:24
22   BY MR. SIEGEL:                                                          11:08:27
23      Q.     Okay.    Here again, somebody said you                        11:08:27
24   can't move him?                                                         11:08:31
25      A.     Yeah.                                                         11:08:33


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                         Transcript of Nicholas Sandmann
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1    BY MR. SIEGEL:                                                          11:14:07
2       Q.      Do you hear someone saying this is how                       11:14:07
3    we won this war?                                                        11:14:10
4       A.      No.                                                          11:14:11
5               MR. SIEGEL:     Try it again.                                11:14:12
6       A.      I -- with my best try, I cannot                              11:14:15
7    understand.                                                             11:14:19
8               (Thereupon, a video recording of Exhibit                     11:14:22
9    16 was played.)                                                         11:14:22
10      A.      No.                                                          11:14:26
11   BY MR. SIEGEL:                                                          11:14:27
12      Q.      You can't --                                                 11:14:27
13      A.      I hear this is how, and then the rest is                     11:14:28
14   speculation at best.       I don't -- I can't tell.                     11:14:32
15              MR. SIEGEL:     Okay.   Let's -- okay.                       11:14:43
16   Let's keep going.                                                       11:14:45
17              MS. MEEK:     Restarting at 3:36.                            11:14:47
18              (Thereupon, a video recording of Exhibit                     11:14:49
19   16 was played.)                                                         11:14:49
20              MS. MEEK:     Paused at 3:43.                                11:14:58
21              MR. SIEGEL:     And I'll just -- then we                     11:15:02
22   can -- why don't we just play it so it's clear on                       11:15:02
23   the record.      The video is about to stop.      Go back               11:15:05
24   to 3:43.                                                                11:15:09
25   BY MR. SIEGEL:                                                          11:15:23


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                         Transcript of Nicholas Sandmann
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1       Q.     Okay.    So at this point, which is right                     11:15:23
2    before the video cuts off, Nick, would you agree                        11:15:26
3    that by this point, there are students on all                           11:15:30
4    side of Phillips, right, including behind him?                          11:15:34
5       A.     I mean, behind him to me does not seem                        11:15:37
6    very accurate.     The people immediately behind him                    11:15:42
7    are people from the Indigenous People's March,                          11:15:46
8    and you've got students five or six feet past                           11:15:52
9    that.                                                                   11:15:56
10             MR. SIEGEL:     Right.                                        11:15:56
11      A.     So, I mean, technically, yes, they are                        11:15:57
12   behind him, but not immediately --                                      11:16:00
13      Q.     I understand that.       But in -- and I'm                    11:16:02
14   not asking you who was standing like literally                          11:16:05
15   right immediately behind him.        But in the                         11:16:08
16   direction behind him, right, to his rear, there                         11:16:11
17   are now students standing there, right?                                 11:16:14
18      A.     Correct.                                                      11:16:17
19      Q.     Okay.    So in -- and Nick, you may have                      11:16:17
20   recognized.    I mean, this is what is called the                       11:16:25
21   Titano video, and the -- in this video, you and                         11:16:31
22   Phillips came face to face around 50 seconds, and                       11:16:39
23   the video ends at 3:44.       So that is roughly three                  11:16:44
24   minutes later, right, you are still standing                            11:16:49
25   there?                                                                  11:16:52


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                         Transcript of Nicholas Sandmann
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1    hat and Will Fries.      Okay?                                          11:22:28
2       A.     Okay.                                                         11:22:34
3              (Thereupon, a video recording of Exhibit                      11:23:03
4    28 was played.)                                                         11:23:03
5              MS. MEEK:     Paused at 1:43.                                 11:23:03
6    BY MR. SIEGEL:                                                          11:23:06
7       Q.     Okay.    Towards the end of that you hear                     11:23:06
8    the man in the Reds hat say --                                          11:23:10
9              MR. McMURTRY:      Excuse me.                                 11:23:12
10   BY MR. SIEGEL:                                                          11:23:13
11      Q.     Do you hear the man in the Reds hat say,                      11:23:13
12   if you want to make America great, of course, you                       11:23:16
13   white people go back to Europe where you came                           11:23:21
14   from?                                                                   11:23:23
15      A.     I didn't hear all of that.        I did hear                  11:23:23
16   him telling Will to go back to Europe, and that                         11:23:29
17   this was -- the Reds hat -- red hat guy say this                        11:23:33
18   is our land.                                                            11:23:35
19      Q.     Okay.    So from this video, do you see                       11:23:39
20   that -- you can tell that they are communicating                        11:23:42
21   in some way, right, before the man in the Reds                          11:23:44
22   hat says that?                                                          11:23:48
23             MR. McMURTRY:      Who is communicating?                      11:23:49
24   BY MR. SIEGEL:                                                          11:23:52
25      Q.     Well, the man in the Reds hat is                              11:23:52


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                          Transcript of Nicholas Sandmann
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1    go back -- let's go back to 1:43 and listen to                          11:29:46
2    that again.                                                             11:29:49
3               (Thereupon, a video recording of Exhibit                     11:29:58
4    28 was played.)                                                         11:29:58
5    BY MR. SIEGEL:                                                          11:30:20
6       Q.      Okay.    So that is what you are talking                     11:30:20
7    about.                                                                  11:30:22
8               Is that -- you testified earlier about                       11:30:22
9    Will describing to you that the guy had used the                        11:30:25
10   F word.    Is that what you think Will was                              11:30:27
11   describing to you?                                                      11:30:30
12      A.      Yeah.    Well, in this clip, he said it                      11:30:31
13   twice so far, and I would imagine that he                               11:30:34
14   probably said it other times which aren't in this                       11:30:37
15   section we're watching.                                                 11:30:41
16      Q.      Okay.    Now, I'm going to play that                         11:30:44
17   again.    But this time I want you to look at not                       11:30:55
18   Will but the man you described as the -- the                            11:31:02
19   other man with the drum who has the white hat.                          11:31:08
20      A.      Okay.                                                        11:31:13
21              MR. SIEGEL:     Okay.                                        11:31:14
22      Q.      So he's --                                                   11:31:22
23      A.      He's got the checkered --                                    11:31:24
24              MR. SIEGEL:     Yeah, the checkered hat.                     11:31:27
25              THE WITNESS:     Okay.                                       11:31:30


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                         Transcript of Nicholas Sandmann
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1              (Thereupon, a video recording of Exhibit                      11:31:30
2    28 was played.)                                                         11:31:30
3    BY MR. SIEGEL:                                                          11:31:50
4       Q.     Did you see what Will is saying when                          11:31:50
5    he's saying there appears to be some -- some                            11:31:53
6    communication between the man in the white hat                          11:31:56
7    and the man in the red hat?                                             11:31:59
8       A.     Yes.                                                          11:32:00
9       Q.     Did you hear any of that?                                     11:32:01
10      A.     No.                                                           11:32:02
11      Q.     Okay.    So did you have any idea what                        11:32:03
12   they were saying to each other?                                         11:32:06
13      A.     No.                                                           11:32:08
14             MR. SIEGEL:     Okay.    Let's keep going.                    11:32:11
15             MS. MEEK:     Restarting at 2:05.                             11:32:13
16             (Thereupon, a video recording of Exhibit                      11:32:17
17   28 was played.)                                                         11:32:17
18             MS. MEEK:     Paused at 2:20.                                 11:32:30
19   BY MR. SIEGEL:                                                          11:32:32
20      Q.     Okay.    And you -- it looks like you                         11:32:32
21   motioned to Will, right?                                                11:32:35
22      A.     Right.                                                        11:32:37
23      Q.     And is that -- what were you trying to                        11:32:37
24   communicate to him?                                                     11:32:40
25      A.     To stop talking.                                              11:32:42


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                          Transcript of Nicholas Sandmann
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1       Q.      Okay.     Let's go back to Exhibit 20,                       11:32:45
2    which is your -- the first public statement that                        11:33:10
3    you issued.                                                             11:33:12
4               Just give me a minute here.         Yeah.     Go             11:33:32
5    to the second page, which is NS 103, the first                          11:33:34
6    paragraph.                                                              11:33:39
7       A.      Uh-huh.                                                      11:33:41
8       Q.      Read it to yourself for a second.                            11:33:44
9               MR. McMURTRY:      I'm sorry.    Can you                     11:33:46
10   reorient me as to what you just said?           I was --                11:33:47
11              MR. SIEGEL:     Yes.   It's NS 103.                          11:33:52
12              MR. McMURTRY:      First paragraph?                          11:33:54
13              MR. SIEGEL:     First paragraph.                             11:33:55
14   BY MR. SIEGEL:                                                          11:34:05
15      Q.      Okay.     And Nick, I take it this                           11:34:05
16   paragraph refers to that interaction that we just                       11:34:07
17   watched?                                                                11:34:10
18      A.      Correct.                                                     11:34:11
19      Q.      Okay.     You refer to the man in the red                    11:34:11
20   hat as a member of the protestor's entourage.                           11:34:17
21              What did you mean by a member of the                         11:34:23
22   protestor's entourage?                                                  11:34:25
23      A.      In the same way I referred to the guy                        11:34:29
24   with the white and checkered hat as a companion                         11:34:31
25   of Mr. Phillips.       They followed him over to our                    11:34:35


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1    group.                                                                  11:34:38
2       Q.     Okay.     Did you think that everyone who                     11:34:39
3    followed him was a companion of his?                                    11:34:47
4       A.     I mean, yes.     I made that assumption                       11:34:52
5    because they were over there conducting their own                       11:34:56
6    indigenous people's rally.       I assumed some of                      11:35:00
7    them knew each other.      And it appears afterwards                    11:35:06
8    like they did.      And so when they followed him                       11:35:09
9    over there, I assumed that they were all a part                         11:35:12
10   of the same group.                                                      11:35:16
11      Q.     Okay.     But that was an assumption,                         11:35:18
12   right?                                                                  11:35:21
13      A.     Right.                                                        11:35:22
14      Q.     Okay.     Do you think that what the man in                   11:35:22
15   the Reds hat said to Will reflects anything about                       11:35:31
16   Nathan Phillips?                                                        11:35:36
17      A.     In some ways.                                                 11:35:40
18      Q.     How so?                                                       11:35:48
19      A.     I think that in the way Nathan Phillips                       11:35:49
20   walked up to me and then we had our encounter for                       11:35:58
21   how many minutes, when the guy with the red hat,                        11:36:03
22   as we are calling him, found out that he could                          11:36:08
23   engage Will in an argument, that it kind of                             11:36:11
24   reflects that both of them were trying to make                          11:36:20
25   points.                                                                 11:36:23


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1       Q.     Okay.     Do you -- and why does the fact                     11:36:26
2    that -- why do you attribute what you perceive to                       11:36:32
3    be the intentions of the man in the Reds hat to                         11:36:35
4    Nathan Phillips?                                                        11:36:40
5       A.     No.     I'm not saying that they both had                     11:36:41
6    the same intentions.      I'm just saying that there                    11:36:43
7    is a common link between both of them, that I                           11:36:46
8    believe that Nathan Phillips was -- I believe                           11:36:48
9    that Nathan Phillips stayed in front of me                              11:36:52
10   intentionally; and that once that argument began                        11:36:55
11   between Will and the man with the red hat on,                           11:37:00
12   that the guy in the red hat kept responding to                          11:37:04
13   Will because he was trying to make a point as                           11:37:09
14   well, which I think is clearly expressed when he                        11:37:12
15   tells Will that we stole their land and that he                         11:37:16
16   needs to go back to Europe.                                             11:37:20
17      Q.     And do you think that Nathan Phillips                         11:37:22
18   wanted him to make that point?                                          11:37:27
19      A.     I have no idea.                                               11:37:28
20      Q.     Do you think when Will Fries yelled out                       11:37:30
21   grab his dick and twist it that that said                               11:37:34
22   something about your intentions when you were                           11:37:37
23   standing there?                                                         11:37:40
24      A.     I don't -- I -- I don't think so.                             11:37:40
25      Q.     So why do you see a common link between                       11:37:42


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1       Q.     Okay.    So you perceived that he was                         11:39:04
2    trying to do something even though he wasn't                            11:39:07
3    articulating in words?                                                  11:39:09
4       A.     Correct.                                                      11:39:11
5       Q.     Okay.    I want to show you -- let's call                     11:39:12
6    up -- again, this is one of the videos that your                        11:39:21
7    counsel produced.      It's Exhibit 9.                                  11:39:23
8              MR. McMURTRY:      What number video?                         11:39:32
9              MR. SIEGEL:     It's not marked here, but                     11:39:34
10   we -- I know we called it out before.                                   11:39:36
11             MS. MEEK:     NS 128.                                         11:39:39
12             MR. SIEGEL:     It's NS 128.     But we did                   11:39:41
13   label it as one of the videos.                                          11:39:44
14             MR. McMURTRY:      Okay.                                      11:39:46
15             MS. MEEK:     Video 10.                                       11:39:51
16             MR. SIEGEL:     Okay.                                         11:39:54
17   BY MR. SIEGEL:                                                          11:40:02
18      Q.     So I'm going to ask you, who -- just                          11:40:02
19   watching this, looking at this screenshot, right?                       11:40:04
20      A.     Yes.                                                          11:40:08
21      Q.     Who do you contend is part of Phillips'                       11:40:08
22   entourage?                                                              11:40:11
23      A.     I would say --                                                11:40:14
24      Q.     Why don't you -- yeah, let -- let Jessie                      11:40:16
25   follow with the cursor.                                                 11:40:21


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                           Transcript of Nicholas Sandmann
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1       A.       Okay.    So Nathan Phillips, right?                         11:40:22
2                MR. SIEGEL:     Right.                                      11:40:25
3       A.       The man in the red hat that we see to                       11:40:26
4    his left.     Just above him, the guy with the white                    11:40:29
5    hat.                                                                    11:40:33
6                MR. SIEGEL:     Uh-huh.                                     11:40:34
7       A.       You can't see it from this screenshot,                      11:40:34
8    but there is a man with a snappack that's holding                       11:40:37
9    a professional camera.         And he has a black shirt                 11:40:42
10   on that says Indigenous People's March.                                 11:40:46
11      Q.       I think I know -- I believe that is him.                    11:40:52
12   The fellow with the beard?                                              11:40:53
13      A.       Yes.                                                        11:40:54
14      Q.       Okay.                                                       11:40:56
15      A.       And then there -- there is one more                         11:40:57
16   person who I can't see from the screenshot but is                       11:41:01
17   wearing -- I'm unsure if he has the same                                11:41:05
18   Indigenous People's March black shirt on, but I                         11:41:09
19   remember her having dream catcher earrings and                          11:41:13
20   her attire seemed to suggest that she -- she had                        11:41:17
21   come from the Indigenous People's March as well.                        11:41:22
22      Q.       Okay.    So just stop it there.                             11:41:28
23               There is a woman who had very short                         11:41:30
24   hair.   Is that -- do you think that is who you                         11:41:34
25   are talking about?                                                      11:41:38


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1       A.       I -- I think so.                                            11:41:39
2       Q.       Okay.     We probably will see her at one                   11:41:40
3    point down the road.        So we will just point her                   11:41:43
4    out.     But I think I know who you are talking                         11:41:46
5    about.                                                                  11:41:49
6                Okay.    So I think those were five                         11:41:50
7    people.     Anyone else that you contend was in                         11:41:51
8    Nathan Phillips' entourage?                                             11:41:56
9       A.       I mean, there were other people that I                      11:42:00
10   think probably came from over there, but I                              11:42:02
11   wouldn't say that they were specific -- it would                        11:42:03
12   be too much of a leap at that point to say for                          11:42:05
13   sure.                                                                   11:42:07
14      Q.       Do you assume that Nathan Phillips knew                     11:42:07
15   all five of those people?                                               11:42:10
16      A.       I would say they were familiar with each                    11:42:12
17   other based on the fact that they call him                              11:42:15
18   Grandpa or -- and Elder Nathan at some points                           11:42:20
19   after this thing.                                                       11:42:23
20               I -- to me, Nathan Phillips seems like                      11:42:25
21   somewhat of a leader in organizing their rally.                         11:42:29
22   So I would say they know each other.                                    11:42:36
23      Q.       Okay.    And when you say he -- Nathan                      11:42:39
24   Phillips seems to be a leader organizing their                          11:42:45
25   rally, are you referring to the indigenous                              11:42:49


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1    people's rally that happened earlier?                                   11:42:52
2       A.     Yes.                                                          11:42:55
3       Q.     Okay.    And -- okay.     Okay.   You used the                11:42:55
4    word conspiracy before I think or conspired.                            11:43:26
5       A.     Yes.                                                          11:43:31
6       Q.     Do you believe that all five of those                         11:43:31
7    people conspired with Nathan Phillips in some                           11:43:33
8    way?                                                                    11:43:37
9       A.     I don't know.                                                 11:43:37
10      Q.     Okay.    Do you believe that all five of                      11:43:39
11   them had some prior communication with Nathan                           11:43:48
12   Phillips about this encounter before it happened?                       11:43:50
13      A.     I don't know.                                                 11:43:53
14      Q.     Okay.    And in -- again, I think I can                       11:43:54
15   just read it to you.                                                    11:44:11
16             In the Complaint you filed in ABC's                           11:44:11
17   case, in paragraph 43, you -- you said he                               11:44:14
18   intentionally walked up to the crowd of Cov Cath                        11:44:21
19   students; and in paragraph 44, immediately behind                       11:44:23
20   and around Phillips were several of his own                             11:44:26
21   companions, right?                                                      11:44:29
22      A.     Right.                                                        11:44:31
23      Q.     So this is the point where he is walking                      11:44:31
24   up to you guys.                                                         11:44:33
25             Is it the same people you are referring                       11:44:34


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1    to as his companions?                                                   11:44:36
2       A.     Yes.                                                          11:44:38
3              MR. SIEGEL:     Okay.    And I will just note                 11:44:39
4    for the record the same allegations are in                              11:44:47
5    paragraphs 43 and 44 of your Complaint against                          11:44:49
6    CBS, 73 and 74 for NBC, 42 and 43 for The New                           11:44:52
7    York Times, 42 and 43 for Rolling Stone and 29                          11:44:56
8    and 30 for Gannett.                                                     11:45:00
9              Okay.     Let's go back to Exhibit 29,                        11:45:11
10   which is video 3.                                                       11:45:14
11             MS. MEEK:     Starting at 2:20.                               11:45:43
12             (Thereupon, a video recording of Exhibit                      11:45:51
13   29 was played.)                                                         11:45:51
14             MS. MEEK:     Paused at 2:37.                                 11:46:01
15   BY MR. SIEGEL:                                                          11:46:03
16      Q.     Okay.     So the man in the Reds hat is                       11:46:03
17   continuing to talk to Will, right?                                      11:46:06
18      A.     Yes.                                                          11:46:08
19      Q.     And did you -- at this point, did you                         11:46:08
20   hear what they were saying?                                             11:46:11
21      A.     No.                                                           11:46:13
22      Q.     If you can recall?                                            11:46:13
23      A.     No.     And in this frame, I'm exiting.                       11:46:14
24             MR. SIEGEL:     Okay.    So that's -- yeah,                   11:46:20
25   that's -- let's go back to -- to the beginning                          11:46:22


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1    again and get that point where you are exiting.                         11:46:25
2                (Thereupon, a video recording of Exhibit                    11:46:41
3    29 was played.)                                                         11:46:42
4    BY MR. SIEGEL:                                                          11:46:50
5       Q.       Okay.    So we see you walking off, right,                  11:46:50
6    towards the -- maybe the last five seconds of                           11:46:54
7    that, of that frame.                                                    11:46:57
8                So -- so recognizing that you didn't                        11:46:59
9    hear it at the time, the man in the Reds hat                            11:47:05
10   says:     We were here already.       We were here                      11:47:09
11   already.     We had a demonstration here and now you                    11:47:13
12   come here and F-ing do this.          You're being white.               11:47:16
13               Do you have any understanding what he                       11:47:20
14   was talking about?                                                      11:47:22
15      A.       I think he was saying that they had                         11:47:23
16   scheduled their indigenous people's rally before                        11:47:25
17   we started showing up for our busses.                                   11:47:30
18      Q.       Okay.    And why did you move away at that                  11:47:36
19   point?                                                                  11:47:40
20      A.       My teacher -- one of my teachers came up                    11:47:41
21   to me, Ms. Hagedorn, and told us that the busses                        11:47:44
22   were here and it was time to leave, and so I                            11:47:48
23   exited.                                                                 11:47:51
24      Q.       Okay.    And we have counted -- it looks                    11:47:54
25   like the total amount of time that you were                             11:48:03


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1    standing in front of Nathan Phillips was about                          11:48:05
2    six minutes.                                                            11:48:08
3       A.     Okay.                                                         11:48:09
4       Q.     Does that seem correct?                                       11:48:10
5       A.     That seems accurate.                                          11:48:12
6       Q.     Okay.    And so for that six minutes, you                     11:48:12
7    didn't move from your spot, right?                                      11:48:15
8       A.     Right.                                                        11:48:16
9       Q.     And then you exited when Ms. Hagedorn                         11:48:17
10   came?                                                                   11:48:20
11      A.     Correct.                                                      11:48:20
12             MR. SIEGEL:     Okay.    Okay.   Let's play                   11:48:21
13   the next 17 seconds, I guess.                                           11:48:27
14             MS. MEEK:     Starting at 2:37.                               11:48:31
15             (Thereupon, a video recording of Exhibit                      11:48:34
16   29 was played.)                                                         11:48:34
17   BY MR. SIEGEL:                                                          11:48:53
18      Q.     So you hear the man in the reads cap say                      11:48:53
19   I got him man, I got him man, we are not alone?                         11:48:57
20      A.     Yes.                                                          11:49:01
21      Q.     Do you have any understanding of what he                      11:49:03
22   meant by that?                                                          11:49:05
23      A.     Not -- not really.       At that point, maybe                 11:49:07
24   he got Will, he beat him in the argument they                           11:49:10
25   were having or whatever.       I'm not sure.                            11:49:14


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1       Q.     Okay.    Okay.    Let's keep going.     And                   11:49:23
2    again, I will ask you to just sort of focus on                          11:49:32
3    whatever communication you might be able to hear                        11:49:36
4    from the man in the Reds hat.        Okay?                              11:49:38
5       A.     Okay.                                                         11:49:41
6              MS. MEEK:     Restarting at 2:54.                             11:49:42
7              (Thereupon, a video recording of Exhibit                      11:49:46
8    29 was played.)                                                         11:49:46
9              MS. MEEK:     Paused at 3:07.                                 11:49:57
10   BY MR. SIEGEL:                                                          11:49:59
11      Q.     Okay.    So do you see it looks like the                      11:49:59
12   man in the red hat is talking to the man in the                         11:50:02
13   white hat?                                                              11:50:05
14      A.     Yes.                                                          11:50:05
15      Q.     Can you hear anything the man in the                          11:50:05
16   white hat is saying?                                                    11:50:08
17      A.     I heard him say close your eyes at one                        11:50:10
18   point, but I could not really make out most of                          11:50:13
19   what he was saying.                                                     11:50:17
20             MR. SIEGEL:      Okay.   Let's just listen to                 11:50:18
21   that one more time.                                                     11:50:20
22             (Thereupon, a video recording of Exhibit                      11:50:44
23   29 was played.)                                                         11:50:45
24   BY MR. SIEGEL:                                                          11:50:46
25      Q.     The reason I ask, I thought I heard the                       11:50:46


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1    man in the Reds hat say close your eyes.                                11:50:49
2       A.     I think he's saying close your eyes and                       11:50:52
3    you will see our people.                                                11:50:55
4              MR. SIEGEL:     Right.                                        11:50:56
5       A.     And then I thought at the end I heard                         11:50:57
6    him repeat twice, we F-ing won, we F-ing won.           I               11:50:59
7    heard -- that's what I can hear.                                        11:51:05
8       Q.     The man in the Reds hat saying that?                          11:51:06
9       A.     Yes.                                                          11:51:09
10      Q.     Yes, he says -- I think he says he won,                       11:51:10
11   he F-ing won, right?                                                    11:51:14
12      A.     I heard we, not he, like him --                               11:51:17
13             MR. SIEGEL:     Okay.    Let's just go back                   11:51:21
14   and hear that one more time, maybe the last                             11:51:23
15   like -- the last seven seconds of it.                                   11:51:27
16             (Thereupon, a video recording of Exhibit                      11:51:43
17   29 was played.)                                                         11:51:44
18   BY MR. SIEGEL:                                                          11:51:47
19      Q.     What does that sound like?                                    11:51:47
20      A.     It could be he -- I think -- it sounds                        11:51:49
21   to me like he's -- he's talking about                                   11:51:53
22   Mr. Phillips.                                                           11:51:59
23      Q.     Right.    And he says he won, he F-ing                        11:51:59
24   won.                                                                    11:52:03
25      A.     Right.                                                        11:52:04


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1       Q.     And what do you understand him to mean                        11:52:05
2    by that, if anything?                                                   11:52:08
3       A.     He won the apparent standoff taking                           11:52:09
4    place.                                                                  11:52:18
5       Q.     Okay.    And do you have any understanding                    11:52:19
6    of what -- withdraw that.                                               11:52:21
7              What do you think the man in the Reds                         11:52:23
8    hat was saying Nathan Phillips had won?                                 11:52:25
9       A.     I don't know about all of -- Will, I                          11:52:30
10   guess, or something.                                                    11:52:34
11             I don't -- I don't know what there was                        11:52:35
12   to win.   I never looked at it as there was going                       11:52:38
13   to be a winner and a loser out of this.                                 11:52:42
14             As soon as I had the opportunity to                           11:52:46
15   leave and get on my bus, that's what I did.                             11:52:48
16             MR. SIEGEL:     Okay.    Let's keep going.    I               11:52:56
17   think you are going to hear what you were                               11:52:58
18   referring to before.                                                    11:53:00
19             MS. MEEK:     Starting at 3:07.                               11:53:02
20             (Thereupon, a video recording of Exhibit                      11:53:05
21   29 was played.)                                                         11:53:05
22   BY MR. SIEGEL:                                                          11:53:22
23      Q.     So there he goes -- you heard him say we                      11:53:22
24   won Grandpa, we F-ing won Grandpa?                                      11:53:27
25      A.     Right.                                                        11:53:31


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1       Q.       Okay.    And do you have any understanding                  11:53:31
2    of what he meant by that?                                               11:53:33
3                I'm going to rephrase that.         What do you             11:53:35
4    think he meant by that?                                                 11:53:37
5       A.       I think that -- by this point, I think                      11:53:39
6    that when he refers to him as Grandpa, I gather                         11:53:44
7    from that that these two know each other.             And by            11:53:48
8    the he got them, we won, or whatever, that they                         11:53:53
9    have me on camera or whatever and that they won                         11:53:59
10   or whatever because they are going to share this                        11:54:05
11   and, you know, edit it down and try to say what                         11:54:09
12   happened.                                                               11:54:15
13      Q.       Okay.    And do you have any -- well, do                    11:54:16
14   you have any specific facts supporting that                             11:54:28
15   belief that that's what the man in the red had                          11:54:32
16   was referring to?                                                       11:54:35
17      A.       No.                                                         11:54:36
18               MR. SIEGEL:     Okay.    Keep going.                        11:54:45
19               MS. MEEK:     Restarting at 3:24.                           11:54:47
20               (Thereupon, a video recording of Exhibit                    11:54:50
21   29 was played.)                                                         11:54:50
22               MS. MEEK:     Paused at 3:33.                               11:55:00
23   BY MR. SIEGEL:                                                          11:55:02
24      Q.       Do you understand why Nathan Phillips is                    11:55:02
25   hitting the drum in a circle like that?                                 11:55:06


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1       A.      No.                                                          11:55:08
2       Q.      Okay.    No, do you have any belief about                    11:55:09
3    why he's doing that?                                                    11:55:13
4       A.      My best guess is that he's celebrating,                      11:55:16
5    but I don't know.                                                       11:55:19
6       Q.      And celebrating what?                                        11:55:21
7       A.      Like they said, that they won.                               11:55:24
8       Q.      Okay.    And what do you think that Nathan                   11:55:29
9    Phillips -- if he was celebrating, what victory                         11:55:31
10   is it that he thought he was celebrating in your                        11:55:37
11   view?                                                                   11:55:40
12      A.      Over me, maybe.      But I -- whatever they                  11:55:40
13   are taking winning to mean, I would assume that                         11:55:44
14   he's celebrating that he won, however they view                         11:55:47
15   winning.                                                                11:55:51
16      Q.      Okay.    Now, maybe go to a frame where                      11:55:52
17   it's a little clearer.        You're -- it looks like                   11:56:00
18   you're off to the side now, talking to a couple                         11:56:03
19   of friends?                                                             11:56:06
20      A.      I'm talking to -- I'm there with Will,                       11:56:06
21   and I'm talking to Jake Kleier.                                         11:56:10
22      Q.      Yeah, Jake Kleier, who I admit, I keep                       11:56:12
23   thinking looks like a high school student.               There          11:56:20
24   you go.                                                                 11:56:22
25      A.      Yeah.                                                        11:56:22


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1    activist and appears at -- appears at rallies for                       12:59:13
2    many different causes.                                                  12:59:19
3       Q.     Okay.    How does that make him a                             12:59:20
4    professional protestor?       What does the word                        12:59:22
5    professional mean as you used it?                                       12:59:30
6       A.     He's very good at what he does.         As I                  12:59:32
7    said before, he -- he has a habit of getting on                         12:59:35
8    video or appearing in the headlines.                                    12:59:39
9       Q.     Okay.    And you said you referred to                         12:59:41
10   others with him as professional protestors in                           12:59:44
11   your speech.                                                            12:59:48
12      A.     Yes.                                                          12:59:49
13      Q.     And why did you say that?                                     12:59:50
14      A.     As I testified earlier, because I                             12:59:52
15   believe, when they approached me, they had --                           12:59:55
16   that there was -- it was somehow arranged for the                       13:00:00
17   camera to be filming before he approached me.                           13:00:03
18      Q.     Okay.    And that's what you were                             13:00:07
19   referring to when you were saying others were                           13:00:09
20   professional protestors?                                                13:00:11
21      A.     Yes.                                                          13:00:13
22             MR. SIEGEL:     Okay.    Let's go to 1:47.                    13:00:16
23             (Thereupon, a video recording of Exhibit                      13:00:46
24   31 was played.)                                                         13:00:46
25   BY MR. SIEGEL:                                                          13:00:46


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1    said?                                                                   13:07:19
2       A.     His name is Jacks, like --                                    13:07:19
3       Q.     And which one is that?                                        13:07:23
4       A.     In between Will and I.                                        13:07:25
5       Q.     Behind you?                                                   13:07:26
6       A.     Right there.                                                  13:07:27
7       Q.     Okay.     And do you know who the guy with                    13:07:28
8    the red, white and blue ski hat is?                                     13:07:31
9       A.     No.     I mean, I can't tell.                                 13:07:35
10             MR. SIEGEL:     Okay.    Okay.   Let's keep                   13:07:46
11   going.                                                                  13:07:48
12             (Thereupon, a video recording of Exhibit                      13:08:18
13   32 was played.)                                                         13:08:18
14             MS. MEEK:     I just paused at 30 seconds.                    13:08:18
15   BY MR. SIEGEL:                                                          13:08:21
16      Q.     Okay.     So when you were -- at the time,                    13:08:21
17   did you hear Nathan Phillips shouting any of                            13:08:24
18   that?                                                                   13:08:27
19      A.     It's possible.      I don't really remember                   13:08:28
20   paying attention to it.                                                 13:08:32
21      Q.     Okay.     Well, either then or watching it                    13:08:36
22   now, do you have a view of why Mr. Phillips was                         13:08:38
23   shouting relatives?                                                     13:08:49
24      A.     I just assume it's because he's                               13:08:50
25   referring to the people he's with.         But I don't                  13:08:53


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1    know.                                                                   13:08:55
2       Q.      Okay.    You are assuming it's referring                     13:08:56
3    to people -- Native Americans and any of the                            13:08:58
4    other people who were the --                                            13:09:01
5       A.      Yes.                                                         13:09:05
6       Q.      Okay.    And he said let's make America                      13:09:06
7    great, let's do that.                                                   13:09:13
8               Do you have any view of what he meant by                     13:09:14
9    that?                                                                   13:09:17
10      A.      No.                                                          13:09:17
11              MR. SIEGEL:     Okay.    Keep going.                         13:09:22
12              (Thereupon, a video recording of Exhibit                     13:09:27
13   32 was played.)                                                         13:09:27
14              MS. MEEK:     I paused at 56 seconds.                        13:09:53
15   BY MR. SIEGEL:                                                          13:09:56
16      Q.      The fellow who we see in the Owensboro                       13:09:56
17   sweatshirt, is that -- do you know what school he                       13:09:59
18   is from?                                                                13:10:07
19      A.      I would assume Owensboro Catholic.                           13:10:08
20      Q.      Okay.    So to your knowledge was he not a                   13:10:12
21   Covington student?                                                      13:10:15
22      A.      Yes.                                                         13:10:18
23      Q.      Okay.    Do you know who he is?                              13:10:19
24      A.      No idea.                                                     13:10:21
25      Q.      Okay.    Do you have any reaction to what                    13:10:22


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1              CERTIFICATE OF SHORTHAND REPORTER
2                          NOTARY PUBLIC
3              I, Dianna C. Kilgalen, the officer
4    before whom the foregoing deposition was
5    taken, do hereby certify that the foregoing
6    transcript is a true and correct record of
7    the testimony given; that said testimony was
8    taken by me stenographically and thereafter
9    reduced to typewriting under my direction;
10   that reading and signing was not requested;
11   and that I am neither counsel for, related
12   to, nor employed by any of the parties to
13   this case and have no interest, financial or
14   otherwise, in its outcome.
15             IN WITNESS WHEREOF, I have hereunto
16   set my hand and affixed my notarial seal this
17   23rd day of September, 2021.
18             My commission expires June 28th,
19   2025.
20
21
22   _______________________________________
23   NOTARY PUBLIC
24   IN AND FOR THE STATE OF MARYLAND
25   COUNTY OF HARFORD


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